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 Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                (Consolidated)

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED
     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
 A LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                          WE INFORM LLC, ET AL.
                                                    DEFENDANTS-APPELLANTS.

 On Appeal from the Order and Memorandum of the United States District Court
            for the District of New Jersey dated November 26, 2024

                            JOINT APPENDIX
                              Volume 2 of 4
                          (JA143 through JA481)
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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04037-HB


  ATLAS DATA PRIVACY CORPORATION et al v. WE INFORM,                                         Date Filed: 03/20/2024
  LLC et al                                                                                  Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01555
                      Superior Court of New Jersey, Morris County,
                      MRS-L-000379-24
  Cause: 28:1332 Diversity-Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by JESSICA A MEREJO
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               STE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-577-5500
                                                                                        Email: jmerejo@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             PEM LAW LLP
                                                                                             1 BOLAND DRIVE
                                                                                             SUITE 101
                                                                                             WEST ORANGE, NJ 07052
                                                                                             973-585-5330
                                                                                             Email: rparikh@pemlawfirm.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1, A LAW ENFORCEMENT                                          represented by JESSICA A MEREJO
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED
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  Plaintiff
  JANE DOE-2, A LAW ENFORCEMENT                                          represented by JESSICA A MEREJO
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  POLICE OFFICER SCOTT MALONEY                                           represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Defendant
  WE INFORM, LLC                                                         represented by ROBERT T. SZYBA
                                                                                        SEYFARTH SHAW LLP
                                                                                        620 EIGHTH AVENUE
                                                                                        32 FLOOR
                                                                                        NEW YORK, NY 10018
                                                                                        212-218-3351
                                                                                        Fax: 917-344-1174
                                                                                        Email: rszyba@seyfarth.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10, FICTITIOUS
  NAMES OF UNKNOWN INDIVIDUALS

  Defendant
  ABC COMPANIES 1-10, FICTITIOUS
  NAMES OF UNKNOWN ENTITIES

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             PATRICK JAMES MISALE
                                                                                             NJ OFFICE OF ATTORNEY GENERAL,
                                                                                             DIVISION OF LAW
                                                                                             DATA PRIVACY AND CYBERSECURITY
                                                                                             124 HALSEY ST
                                                                                             5TH FLOOR
                                                                                             NEWARK, NJ 07101
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118745651389669-L_1_0-1                                                       3/9

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                                                                                             609-696-4369
                                                                                             Email: patrick.misale@law.njoag.gov
                                                                                             ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/20/2024             1 NOTICE OF REMOVAL by WE INFORM, LLC from Superior Court of New Jersey,
                            Morris County, case number MRS-L-000379-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15199024), filed by WE INFORM, LLC. (Attachments: # 1 Exhibit A, # 2
                            Civil Cover Sheet)(SZYBA, ROBERT) (Entered: 03/20/2024)
   03/20/2024             2 Diversity Disclosure Statement by WE INFORM, LLC. (SZYBA, ROBERT) (Entered:
                            03/20/2024)
   03/20/2024             3 Corporate Disclosure Statement by WE INFORM, LLC. (SZYBA, ROBERT) (Entered:
                            03/20/2024)
   03/20/2024                 Case Assigned to Judge Claire C. Cecchi and Magistrate Judge Jessica S. Allen. (ak, )
                              (Entered: 03/21/2024)
   03/26/2024             4 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Defendant's time to answer, move, or otherwise respond to Complaint... (SZYBA,
                            ROBERT) (Entered: 03/26/2024)
   03/27/2024                 Clerk`s Text Order - The document 4 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by WE INFORM, LLC has been GRANTED. The
                              answer due date has been set for 4/10/2024. (ld, ) (Entered: 03/27/2024)
   04/02/2024             5 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Jessica S. Allen and Judge
                              Claire C. Cecchi no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/08/2024             6 ORDER scheduling status conference and staying action until 4/18/24, ( Status Conference
                            set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey Bartle
                            (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, ) (Entered:
                            04/08/2024)
   04/10/2024             7 TEXT ORDER REALLOCATING CASE. Case Number 2:24-cv-4037 reallocated to
                            Camden as 1:24-4037. So Ordered by Chief Judge Renee Marie Bumb on April 10, 2024.
                            (bf, ) (Entered: 04/10/2024)
   04/10/2024             8 STIPULATION And Proposed Consent Order extending Defendant's time to answer, move,
                            or otherwise respond to Plaintiffs' Complaint by WE INFORM, LLC. (SZYBA, ROBERT)
                            (Entered: 04/10/2024)
   04/18/2024             9 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney List) (db, ) (Entered: 04/19/2024)
   04/18/2024           10 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/24. (ar1, ) (Entered:
                           04/19/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118745651389669-L_1_0-1                                                             4/9

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   04/18/2024           11 ORDER scheduling status conference and staying matter through 5/7/24, ( Status
                           Conference set for 5/7/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                           Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on April 18, 2024. (bf, )
                           (Entered: 04/19/2024)
   04/22/2024           12 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           13 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   05/07/2024           14 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/08/2024)
   05/08/2024           15 ORDER setting deadlines for the filing of certain motions and briefs, and staying action
                           until further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/24.
                           (ar1, ) (Entered: 05/09/2024)
   05/09/2024           16 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/10/2024)
   05/09/2024           17 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   06/03/2024           18 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/11/2024           19 Letter from Robert T. Szyba, Esq. notifying the Court that Defendant joins the
                           Consolidated Motion to Dismiss Brief, which was filed today under ECF No. 27-33 in the
                           action captioned as Atlas Data Privacy Corporation, et al. v. Costar Group, Inc., et al., Civil
                           Action No. 1:24-cv-4111. (SZYBA, ROBERT) (Entered: 06/11/2024)
   06/11/2024           20 Letter from Robert T. Szyba of Seyfarth Shaw LLP on behalf of defendant We Inform,
                           LLC, clarifying that Defendant joins the Consolidated Motion which was filed under ECF
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                              No. 27 in the action captioned as Atlas Data Privacy Corporation, et al. v. Lightbox Parent,
                              L.P., et al., Civil Action No. 1:24-cv-4105 re 19 Letter,. (SZYBA, ROBERT) Modified on
                              6/11/2024 (js). (Entered: 06/11/2024)
   06/13/2024           21 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           22 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           23 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           24 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           25 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 23
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           26 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           27 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (db, ) (Entered:
                           10/02/2024)
   10/02/2024           28 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           29 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)


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   10/10/2024           30 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           31 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm)
                           (Entered: 11/27/2024)
   11/26/2024           32 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           33 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           34 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/05/2024           35 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/05/2024)
   12/06/2024           36 NOTICE of Appearance by PATRICK JAMES MISALE on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (MISALE, PATRICK) (Entered: 12/06/2024)
   12/10/2024           37 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm) (Entered: 12/10/2024)
   12/10/2024           38 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, A LAW ENFORCEMENT OFFICER, JANE DOE-2, A LAW ENFORCEMENT
                           OFFICER, JUSTYNA MALONEY, PATRICK COLLIGAN, PETER ANDREYEV
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           39 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           40 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           41 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/14/2025           42 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)

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                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/7/2025. Redacted Transcript
                              Deadline set for 3/17/2025. Release of Transcript Restriction set for 5/15/2025. (dmw)
                              (Entered: 02/14/2025)
   02/25/2025           43 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           44 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           45 MOTION to Dismiss by WE INFORM, LLC. Responses due by 4/7/2025. (Attachments: #
                           1 Memorandum Memorandum Brief, # 2 Declaration Declaration, # 3 Text of Proposed
                           Order Proposed Order)(SZYBA, ROBERT) (Entered: 03/18/2025)
   03/18/2025           46 Letter from Defendant We Inform. (SZYBA, ROBERT) (Entered: 03/18/2025)
   03/18/2025                 Set Deadlines as to 45 MOTION to Dismiss. Motion set for 4/21/2025 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (mag) (Entered: 03/19/2025)
   03/21/2025           47 NOTICE of Appearance by JESSICA A MEREJO on behalf of All Plaintiffs (MEREJO,
                           JESSICA) (Entered: 03/21/2025)
   03/24/2025           48 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/25/2025                 USCA Filing fee: $ 605, receipt number NEW51715. (js) (Entered: 03/25/2025)
   03/25/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/25/2025)
   03/26/2025           49 NOTICE OF APPEAL by WE INFORM, LLC. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (bf, ) (Entered:
                           03/26/2025)
   03/27/2025           50 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/31/2025           51 USCA Case Number 25-1555 for 49 Notice of Appeal (USCA), filed by WE INFORM,
                           LLC. USCA Case Manager Laurie (Document Restricted - Court Only) (lr) (Entered:
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118745651389669-L_1_0-1                                                         8/9

                                                                         JA150
                     Case: 25-1555               Document: 24                Page: 25             Date Filed: 04/14/2025
4/3/25, 12:03 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

                              03/31/2025)
   04/02/2025           52 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           53 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:03:20
                                    PACER                          Client
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                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-04037-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     8             Cost:          0.80
                                    Pages:




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                                                                         JA151
                     Case: 25-1555               Document: 24               Page: 26             Date Filed: 04/14/2025
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                                                                                                                            APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04041-HB


  ATLAS DATA PRIVACY CORPORATION et al v. INFOMATICS, Date Filed: 03/20/2024
  LLC et al                                                        Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                     Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                  Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01556
                      Superior Court of New Jersey, Bergen County,
                      BER-L-000872-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1, A LAW ENFORCEMENT                                          represented by JANE DOE-1, A LAW ENFORCEMENT
  OFFICER                                                                               OFFICER
                                                                                        PRO SE

  Plaintiff
  JANE DOE-2, A LAW ENFORCEMENT                                          represented by RAJIV D. PARIKH
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?793641854631829-L_1_0-1                                                           1/7

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  Defendant
  INFOMATICS, LLC                                                        represented by ROBERT T. SZYBA
                                                                                        SEYFARTH SHAW LLP
                                                                                        620 EIGHTH AVENUE
                                                                                        32 FLOOR
                                                                                        NEW YORK, NY 10018
                                                                                        212-218-3351
                                                                                        Fax: 917-344-1174
                                                                                        Email: rszyba@seyfarth.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10, FICTITIOUS
  NAMES OF UNKNOWN INDIVIDUALS

  Defendant
  ABC COMPANIES 1-10 FICTITIOUS
  NAMES OF UNKNOWN ENTITIES

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Interested Party
  Genova Burns LLC
  494 Broad Street
  6th Floor
  Newark, NJ 07102
  9735330777


   Date Filed            #    Docket Text
   03/20/2024             1 NOTICE OF REMOVAL by INFOMATICS, LLC from Superior Court of New Jersey,
                            Bergen County, case number BER-L-000872-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15199452), filed by INFOMATICS, LLC. (Attachments: # 1 Exhibit A, #
                            2 Civil Cover Sheet)(SZYBA, ROBERT) (Entered: 03/20/2024)
   03/20/2024             2 Diversity Disclosure Statement by INFOMATICS, LLC. (SZYBA, ROBERT) (Entered:
                            03/20/2024)
   03/20/2024             3 Corporate Disclosure Statement by INFOMATICS, LLC. (SZYBA, ROBERT) (Entered:
                            03/20/2024)


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                     Case: 25-1555               Document: 24               Page: 28             Date Filed: 04/14/2025
4/3/25, 12:06 PM                                         CM/ECF LIVE - U.S. District Court for the District of New Jersey

   03/20/2024                 Case Assigned to Judge Claire C. Cecchi and Magistrate Judge James B. Clark. (ak, )
                              (Entered: 03/21/2024)
   03/26/2024             4 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Defendant's time to answer, move, or otherwise respond to Complaint... (SZYBA,
                            ROBERT) (Entered: 03/26/2024)
   03/27/2024                 Clerk`s Text Order - The document 4 submitted by INFOMATICS, LLC has been
                              GRANTED. The answer due date has been set for 4/10/2024. (sm) (Entered: 03/27/2024)
   04/02/2024             5 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Judge Claire C. Cecchi and Magistrate Judge
                              James B. Clark no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/08/2024             6 ORDER scheduling status conference and staying action until 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/08/2024)
   04/10/2024             7 TEXT ORDER REALLOCATING CASE. Case Number 2:24-cv-4041 reallocated to
                            Camden as 1:24-4041.. So Ordered by Chief Judge Renee Marie Bumb on April 10, 2024.
                            (bf, ) (Entered: 04/10/2024)
   04/10/2024             8 STIPULATION And Proposed Consent Order Extending Defendant's time to answer,
                            move, or otherwise respond to Plaintiffs' Complaint. by INFOMATICS, LLC. (SZYBA,
                            ROBERT) (Entered: 04/10/2024)
   04/18/2024             9 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney List) (db, ) (Entered: 04/19/2024)
   04/18/2024           10 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/24. (ar1, ) (Entered:
                           04/19/2024)
   04/18/2024           11 ORDER scheduling status conference and staying matter through 5/7/24, ( Status
                           Conference set for 5/7/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                           Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on April 18, 2024. (bf, )
                           (Entered: 04/19/2024)
   04/22/2024           12 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)

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   04/22/2024           13 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   05/07/2024           14 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/08/2024)
   05/08/2024           15 ORDER setting deadlines for the filing of certain motions and briefs, and staying action
                           until further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/24.
                           (ar1, ) (Entered: 05/09/2024)
   05/09/2024           16 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/10/2024)
   05/09/2024           17 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   06/03/2024           18 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/11/2024           19 Letter from Robert T. Szyba, Esq. notifying the Court that Defendant joins the
                           Consolidated Motion to Dismiss Brief, which was filed today under ECF No. 27-33 in the
                           action captioned as Atlas Data Privacy Corporation, et al. v. Costar Group, Inc., et al., Civil
                           Action No. 1:24-cv-4111. (SZYBA, ROBERT) (Entered: 06/11/2024)
   06/11/2024           20 Letter from Robert T. Szyba of Seyfarth Shaw LLP on behalf of defendant Infomatics,
                           LLC, clarifying that Defendant joins the Consolidated Motion which was filed under ECF
                           No. 27 in the action captioned as Atlas Data Privacy Corporation, et al. v. Lightbox Parent,
                           L.P., et al., Civil Action No. 1:24-cv-4105 re 19 Letter,. (SZYBA, ROBERT) (Entered:
                           06/11/2024)
   06/13/2024           21 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)


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   07/10/2024           22 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           23 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           24 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc.. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           25 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 23
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           26 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           27 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (db, ) (Entered:
                           10/02/2024)
   10/02/2024           28 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           29 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           30 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           31 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           32 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           33 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)

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   12/02/2024           34 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           35 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           36 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm) (Entered: 12/10/2024)
   12/10/2024           37 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, A LAW ENFORCEMENT OFFICER, JANE DOE-2, A LAW ENFORCEMENT
                           OFFICER, PETER ANDREYEV identifying Atlas Data Privacy Corporation as Corporate
                           Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           38 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           39 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           40 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           41 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           42 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
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   03/11/2025           43 NOTICE by Genova Burns LLC (BURNS, JAMES) (Entered: 03/11/2025)
   03/18/2025           44 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           45 Letter from Defendant Informatics. (SZYBA, ROBERT) (Entered: 03/18/2025)
   03/18/2025           46 MOTION to Dismiss by INFOMATICS, LLC. Responses due by 4/7/2025. (Attachments:
                           # 1 Memorandum Memorandum Brief, # 2 Declaration Declaration, # 3 Text of Proposed
                           Order Proposed Order)(SZYBA, ROBERT) (Entered: 03/18/2025)
   03/24/2025           47 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/25/2025                 USCA Filing fee: $605, receipt number NEW51718. (sms2) (Entered: 03/25/2025)
   03/25/2025                 Notice to Court of Appeals re USCA Filing Fee Received. (sms2) (Entered: 03/25/2025)
   03/27/2025           48 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           49 NOTICE OF APPEAL by INFOMATICS, LLC. Filing fee $ 605. The Clerk's Office
                           hereby certifies the record and the docket sheet available through ECF to be the certified
                           list in lieu of the record and/or the certified copy of the docket entries. (bf, ) (Entered:
                           03/28/2025)
   03/31/2025           50 USCA Case Number 25-1556 for 49 Notice of Appeal (USCA), filed by INFOMATICS,
                           LLC. USCA Case Manager Laurie (Document Restricted - Court Only) (lr) (Entered:
                           03/31/2025)
   04/02/2025           51 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           52 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:06:17
                                    PACER                         Client
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                                    Login:                        Code:
                                                     Docket       Search         1:24-cv-04041-HB Start date:
                                    Description:
                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     6            Cost:          0.60
                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04045-HB


  ATLAS DATA PRIVACY CORPORATION et al v. THE PEOPLE                                         Date Filed: 03/20/2024
  SEARCHERS, LLC et al                                                                       Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01557
                      Superior Court of New Jersey, Morris County,
                      MRS-L-000257-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1, A LAW ENFORCEMENT                                          represented by RAJIV D. PARIKH
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2, A LAW ENFORCEMENT                                          represented by RAJIV D. PARIKH
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by EDWIN MALDONADO
                                                                                        PRO SE

  Plaintiff
  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  THE PEOPLE SEARCHERS, LLC                                              represented by ROBERT T. SZYBA
                                                                                        SEYFARTH SHAW LLP
                                                                                        620 EIGHTH AVENUE
                                                                                        32 FLOOR
                                                                                        NEW YORK, NY 10018
                                                                                        212-218-3351
                                                                                        Fax: 917-344-1174
                                                                                        Email: rszyba@seyfarth.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10, FICTITIOUS
  NAMES OF UNKNOWN INDIVIDUALS

  Defendant
  ABC COMPANIES 1-10 FICTITIOUS
  NAMES OF UNKNOWN ENTITIES

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

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  V.
  Interested Party
  Genova Burns LLC
  494 Broad Street
  6th Floor
  Newark, NJ 07102
  9735330777


   Date Filed            #    Docket Text
   03/20/2024             1 NOTICE OF REMOVAL by THE PEOPLE SEARCHERS, LLC from Superior Court of
                            New Jersey, Morris County, case number MRS-L-000257-24. ( Filing and Admin fee $ 405
                            receipt number ANJDC-15199546), filed by THE PEOPLE SEARCHERS, LLC.
                            (Attachments: # 1 Exhibit A, # 2 Civil Cover Sheet)(SZYBA, ROBERT) (Entered:
                            03/20/2024)
   03/20/2024             2 Diversity Disclosure Statement by THE PEOPLE SEARCHERS, LLC. (SZYBA,
                            ROBERT) (Entered: 03/20/2024)
   03/20/2024             3 Corporate Disclosure Statement by THE PEOPLE SEARCHERS, LLC. (SZYBA,
                            ROBERT) (Entered: 03/20/2024)
   03/20/2024                 Case Assigned to Judge William J. Martini and Magistrate Judge Leda D. Wettre. (ak, )
                              (Entered: 03/21/2024)
   03/26/2024             4 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Defendant's time to answer, move, or otherwise respond to Complaint... (SZYBA,
                            ROBERT) (Entered: 03/26/2024)
   03/27/2024                 Clerk`s Text Order - The document 4 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by THE PEOPLE SEARCHERS, LLC has been
                              GRANTED. The answer due date has been set for 4/10/2024. (lag, ) (Entered: 03/27/2024)
   04/02/2024             5 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Judge William J. Martini and Magistrate Judge
                              Leda D. Wettre no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/08/2024             6 ORDER scheduling status conference and staying action until 4/18/24, ( Status Conference
                            set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey Bartle
                            (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, ) (Entered:
                            04/08/2024)
   04/10/2024             7 TEXT ORDER Case Number 2:24-cv-4045 reallocated to Camden as 1:24-cv-4045. So
                            Ordered by Chief Judge Renee Marie Bumb on April 10, 2024. (bf, ) (Entered: 04/10/2024)
   04/10/2024             8 STIPULATION And Proposed Consent Order Extending Defendant's time to answer,
                            move, or otherwise respond to Plaintiffs' Complaint by THE PEOPLE SEARCHERS,
                            LLC. (SZYBA, ROBERT) (Entered: 04/10/2024)




https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?116600172170988-L_1_0-1                                                       3/8

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   04/18/2024             9 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney List) (db, ) (Entered: 04/19/2024)
   04/18/2024           10 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/24. (ar1, ) (Entered:
                           04/19/2024)
   04/22/2024           11 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           12 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   05/07/2024           13 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/08/2024)
   05/08/2024           14 ORDER setting deadlines for the filing of certain motions and briefs, and staying action
                           until further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/24.
                           (ar1, ) (Entered: 05/09/2024)
   05/09/2024           15 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/10/2024)
   05/09/2024           16 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   06/03/2024           17 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/11/2024           18 Letter from Robert T. Szyba, Esq. notifying the Court that Defendant joins the
                           Consolidated Motion to Dismiss Brief, which was filed today under ECF No. 27-33 in the
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?116600172170988-L_1_0-1                                                       4/8

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                              action captioned as Atlas Data Privacy Corporation, et al. v. Costar Group, Inc., et al., Civil
                              Action No. 1:24-cv-4111. (SZYBA, ROBERT) (Entered: 06/11/2024)
   06/11/2024           19 Letter from Robert T. Szyba of Seyfarth Shaw LLP on behalf of defendant The People
                           Searchers, LLC clarifying that Defendant joins the Consolidated Motion which was filed
                           under ECF No. 27 in the action captioned as Atlas Data Privacy Corporation, et al. v.
                           Lightbox Parent, L.P., et al., Civil Action No. 1:24-cv-4105 re 18 Letter,. (SZYBA,
                           ROBERT) (Entered: 06/11/2024)
   06/13/2024           20 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           21 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           22 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           23 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           24 Letter from regarding Notice of Supplemental Submission re 22 Brief. (Attachments: # 1
                           Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)(PARIKH, RAJIV) (Entered:
                           08/20/2024)
   08/27/2024           25 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           26 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           Attorney List) (db, ) (Entered: 10/02/2024)
   10/02/2024           27 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           28 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?116600172170988-L_1_0-1                                                          5/8

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                              Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (lm, ) (Entered: 10/09/2024)
   10/10/2024           29 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           30 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           31 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           32 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           33 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           34 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           35 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           36 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, A LAW ENFORCEMENT OFFICER, JANE DOE-2, A LAW ENFORCEMENT
                           OFFICER, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA MALONEY,
                           PETER ANDREYEV, WILLIAM SULLIVAN identifying Atlas Data Privacy Corporation
                           as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           37 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           38 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           39 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           40 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?116600172170988-L_1_0-1                                                       6/8

                                                                         JA164
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                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
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                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                              Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                              (Entered: 02/18/2025)
   02/25/2025           41 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/11/2025           42 NOTICE by Genova Burns LLC (BURNS, JAMES) (Entered: 03/11/2025)
   03/18/2025           43 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           44 MOTION to Dismiss by THE PEOPLE SEARCHERS, LLC. Responses due by 4/7/2025.
                           (Attachments: # 1 Memorandum Memorandum Brief, # 2 Declaration Declaration, # 3
                           Text of Proposed Order Proposed Order)(SZYBA, ROBERT) (Entered: 03/18/2025)
   03/18/2025           45 Letter from Defendant Peoples Searchers. (SZYBA, ROBERT) (Entered: 03/18/2025)
   03/24/2025           46 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/25/2025                 USCA Filing fee: $605, receipt number NEW51717. (sms2) (Entered: 03/25/2025)
   03/25/2025                 Notice to Court of Appeals re USCA Filing Fee Received. (sms2) (Entered: 03/25/2025)
   03/27/2025           47 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           48 NOTICE OF APPEAL by THE PEOPLE SEARCHERS, LLC. Filing fee $ 605. The
                           Clerk's Office hereby certifies the record and the docket sheet available through ECF to be
                           the certified list in lieu of the record and/or the certified copy of the docket entries. (bf, )
                           (Entered: 03/28/2025)
   03/31/2025           49 USCA Case Number 25-1557 for 48 Notice of Appeal (USCA), filed by THE PEOPLE
                           SEARCHERS, LLC. USCA Case Manager Laurie (Document Restricted - Court Only) (lr)
                           (Entered: 03/31/2025)
   04/02/2025           50 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)


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   04/02/2025           51 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:08:09
                                    PACER                          Client
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                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-04045-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7             Cost:          0.70
                                    Pages:




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                                                                                                                                APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04075-HB


  ATLAS DATA PRIVACY CORPORATION et al v. DM GROUP,                                         Date Filed: 03/21/2024
  INC. et al                                                                                Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                           Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01558
                      Superior Court of New Jersey - Middlesex
                      County, MID-L-000990-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE -1                                                            represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  POLICE OFFICER SCOTT MALONEY                                           represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  POLICE OFFICER SCOTT MALONEY                                           represented by SCOTT MALONEY
                                                                                        PRO SE

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  DM GROUP, INC.                                                         represented by MELISSA ANNE CHUDEREWICZ
                                                                                        TROUTMAN PEPPER LOCKE LLP
                                                                                        301 CARNEIGIE CENTER BOULEVARD
                                                                                        SUITE 4000
                                                                                        PRINCETON, NJ 08543
                                                                                        609-951-4118
                                                                                        Fax: 609-452-1147
                                                                                        Email: melissa.chuderewicz@troutman.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            STEPHANIE L. JONAITIS
                                                                                            TROUTMAN PEPPER LOCKE LLP
                                                                                            301 CARNEGIE CENTER
                                                                                            SUITE 400
                                                                                            PRINCETON, NJ 08543
                                                                                            609-951-4212
                                                                                            Email: stephanie.jonaitis@troutman.com
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            ANGELO A. STIO , III
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?950864405662626-L_1_0-1                                                               2/10

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                                                                                            TROUTMAN PEPPER LOCKE LLP
                                                                                            301 CARNEGIE CENTER
                                                                                            STE 400
                                                                                            PRINCETON, NJ 08648
                                                                                            609-452-0808
                                                                                            Fax: 609-451-1147
                                                                                            Email: angelo.stio@troutman.com
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10

  Defendant
  COMPANIES 1-10

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/21/2024             1 NOTICE OF REMOVAL by DM GROUP, INC. from Superior Court of New Jersey -
                            Middlesex County, case number MID-L-000990-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15203225), filed by DM GROUP, INC.. (Attachments: # 1 Exhibit Copy
                            of Complaint, # 2 Exhibit Service Package)(STIO, ANGELO) (Entered: 03/21/2024)
   03/21/2024             2 DECLARATION of Angelo A. Stio III re 1 Notice of Removal, by DM GROUP, INC..
                            (Attachments: # 1 Exhibit 1, # 2 Civil Cover Sheet 2)(STIO, ANGELO) (Entered:
                            03/21/2024)
   03/21/2024                 Case Assigned to Judge Evelyn Padin and Magistrate Judge Leda D. Wettre. (ak, )
                              (Entered: 03/22/2024)
   03/22/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (lag, ) (Entered: 03/22/2024)
   03/22/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (lag, ) (Entered: 03/22/2024)

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   03/22/2024             3 Diversity Disclosure Statement by DM GROUP, INC.. (STIO, ANGELO) (Entered:
                            03/22/2024)
   03/26/2024             4 Exhibit to 1 Notice of Removal, Civil Cover Sheet by DM GROUP, INC.. (STIO,
                            ANGELO) (Entered: 03/26/2024)
   03/27/2024             5 Application and Proposed Order for Clerk's Order to extend time to answer as to DM
                            Group, Inc... (STIO, ANGELO) (Entered: 03/27/2024)
   03/27/2024             6 NOTICE of Appearance by MELISSA ANNE CHUDEREWICZ on behalf of DM
                            GROUP, INC. (CHUDEREWICZ, MELISSA) (Entered: 03/27/2024)
   03/28/2024                 Clerk`s Text Order - The document 5 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by DM GROUP, INC. has been GRANTED. The
                              answer due date has been set for 4/11/2024. (lag, ) (Entered: 03/28/2024)
   04/02/2024             7 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Judge Evelyn Padin and Magistrate Judge Leda D.
                              Wettre no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/03/2024             8 APPLICATION/PETITION for Extension of Time for by DM GROUP, INC.. (STIO,
                            ANGELO) (Entered: 04/03/2024)
   04/08/2024             9 ORDER scheduling status conference and staying matter until 4/18/24, ( Status Conference
                            set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey Bartle
                            (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, ) (Entered:
                            04/09/2024)
   04/10/2024           10 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case Number 2:24-cv-
                           4075 reallocated to Camden as 1:24-cv-4075. Case reassigned to Judge Harvey Bartle
                           (EDPA), III for all further proceedings. Judge Evelyn Padin and Magistrate Judge Leda D.
                           Wettre no longer assigned to case. So Ordered by Chief Judge Renee Marie Bumb on
                           4/10/2024. (alg) (Entered: 04/10/2024)
   04/10/2024           11 APPLICATION/PETITION for Pro Hac Vice Admission of Ronald I Raether for by DM
                           GROUP, INC.. (Attachments: # 1 Declaration of A Stio, # 2 Declaration of R. Raether, # 3
                           Text of Proposed Order, # 4 Certificate of Service)(STIO, ANGELO) (Entered:
                           04/10/2024)
   04/11/2024                 CLERK'S QUALITY CONTROL MESSAGE - The Request for Pro Hac Vic admission
                              filed by Angelo Stio on 4/10/2024 was submitted incorrectly as an Application/Petition 11 .
                              PLEASE SUBMIT a Motion using the Motion to Appear Pro Hac Vice event. This
                              submission will remain on the docket unless otherwise ordered by the court. (dmr)
                              (Entered: 04/11/2024)
   04/11/2024           12 Consent MOTION for Leave to Appear Pro Hac Vice (Consent Application of Ronald
                           Raether to Appear Pro Hac Vice) by DM GROUP, INC.. (Attachments: # 1 Declaration of
                           A Stio, # 2 Declaration of R. Raether, # 3 Text of Proposed Order, # 4 Certificate of
                           Service)(STIO, ANGELO) (Entered: 04/11/2024)
   04/11/2024                 Set Deadlines as to 12 Consent MOTION for Leave to Appear Pro Hac Vice (Consent
                              Application of Ronald Raether to Appear Pro Hac Vice). Motion set for 5/6/2024 before
                              Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will
                              be decided on the papers and no appearances are required. Note that this is an

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                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 04/11/2024)
   04/12/2024           13 Consent MOTION for Leave to Appear Pro Hac Vice (Consent Application of Michael
                           Schwartz to Appear Pro Hac Vice) by DM GROUP, INC.. (Attachments: # 1 Declaration of
                           A Stio, # 2 Declaration of A. M. Schwartz, # 3 Text of Proposed Order, # 4 Certificate of
                           Service)(STIO, ANGELO) (Entered: 04/12/2024)
   04/15/2024                 Set Deadlines as to 13 Consent MOTION for Leave to Appear Pro Hac Vice (Consent
                              Application of Michael Schwartz to Appear Pro Hac Vice). Motion set for 5/6/2024 before
                              Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will
                              be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jab) (Entered: 04/15/2024)
   04/15/2024           14 ORDER granting 12 Motion for Leave to Appear Pro Hac Vice Ronald Raether. Signed by
                           Judge Harvey Bartle (EDPA), III on 4/15/2024. (aji, ) (Entered: 04/16/2024)
   04/15/2024           15 ORDER granting 13 Motion for Leave to Appear Pro Hac Vice as to Michael Schwartz.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/15/2024. (aji, ) (Entered: 04/16/2024)
   04/17/2024           16 Letter from Signatory Defendants regarding CMC. (STIO, ANGELO) (Entered:
                           04/17/2024)
   04/17/2024           17 Notice of Request by Pro Hac Vice Michael A. Schwartz to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15292568.) (STIO, ANGELO)
                           (Entered: 04/17/2024)
   04/18/2024                 Pro Hac Vice counsel, MICHAEL A. SCHWARTZ, has been added to receive Notices of
                              Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                              file papers, enter appearances and receive payments on judgments, decrees or orders. (dmr)
                              (Entered: 04/18/2024)
   04/18/2024           18 Notice of Request by Pro Hac Vice Ronald I Raether to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15295368.) (STIO, ANGELO)
                           (Entered: 04/18/2024)
   04/18/2024                 Pro Hac Vice counsel, RONALD I. RAETHER, has been added to receive Notices of
                              Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                              file papers, enter appearances and receive payments on judgments, decrees or orders.
                              (sms2) (Entered: 04/18/2024)
   04/18/2024           19 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) . (Entered: 04/19/2024)
   04/18/2024           20 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/24. (ar1, ) (Entered:
                           04/19/2024)
   04/22/2024           21 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
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                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                              Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                              (Entered: 04/22/2024)
   04/22/2024           22 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   05/06/2024           23 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding May 7, 2024 Case
                           Management Conference. (STIO, ANGELO) (Entered: 05/06/2024)
   05/07/2024           24 Letter from from Rajiv D. Parikh regarding status and case management. (PARIKH,
                           RAJIV) (Entered: 05/07/2024)
   05/07/2024           25 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/08/2024)
   05/08/2024           27 ORDER setting deadlines for the filing of certain motions and briefs, and staying action
                           until further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/24.
                           (ar1, ) (Entered: 05/09/2024)
   05/09/2024           26 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding Joint Request to
                           Extend Time to Submit Requests for Production of Documents and Rule 30(B)(6) Notice.
                           (STIO, ANGELO) (Entered: 05/09/2024)
   05/09/2024           28 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/10/2024)
   05/09/2024           30 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   05/10/2024           29 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding Jurisdictional
                           Discovery. (STIO, ANGELO) (Entered: 05/10/2024)
   05/31/2024           31 Letter from Angelo A. Stio, III. (Attachments: # 1 Exhibit A to letter, # 2 Exhibit B to
                           letter, # 3 Exhibit C to letter, # 4 Exhibit D to letter)(STIO, ANGELO) (Entered:
                           05/31/2024)
   06/03/2024           32 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/10/2024           33 Letter from Angelo Stio - Joinder in Defendants' Consolidated Motion to Dismiss
                           Plaintiffs' Complaint. (STIO, ANGELO) (Entered: 06/10/2024)


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   06/13/2024           34 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           35 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   07/26/2024           36 NOTICE of Appearance by STEPHANIE L. JONAITIS on behalf of DM GROUP, INC.
                           (JONAITIS, STEPHANIE) (Entered: 07/26/2024)
   08/06/2024           37 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/09/2024           38 Letter from Angelo A. Stio, III. (STIO, ANGELO) (Entered: 08/09/2024)
   08/15/2024           39 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           40 Letter from regarding Notice of Supplemental Submission re 37 Brief. (Attachments: # 1
                           Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)(PARIKH, RAJIV) (Entered:
                           08/20/2024)
   08/27/2024           41 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           42 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (1) Attorney List)
                           (db). (Entered: 10/02/2024)
   10/02/2024           43 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           44 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)

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   10/10/2024           45 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           46 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm)
                           (Entered: 11/27/2024)
   11/26/2024           47 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           48 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           49 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           50 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           51 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           52 Corporate Disclosure Statement by WILLIAM SULLIVAN, ATLAS DATA PRIVACY
                           CORPORATION, JANE DOE -1, JANE DOE-2, EDWIN MALDONADO, SCOTT
                           MALONEY, JUSTYNA MALONEY, PETER ANDREYEV identifying Atlas Data Privacy
                           Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           53 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           54 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           55 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           56 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
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                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                              Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                              (Entered: 02/18/2025)
   02/25/2025           57 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           58 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           59 MOTION to Dismiss (Consolidated) by DM GROUP, INC.. (Attachments: # 1 Brief, # 2
                           Declaration of A. Stio, # 3 Exhibit A to A. Stio Declaration, # 4 Exhibit B to A. Stio
                           Declaration, # 5 Exhibit C to A. Stio Declaration, # 6 Text of Proposed Order, # 7
                           Certificate of Service)(STIO, ANGELO) (Entered: 03/18/2025)
   03/18/2025                 Set Deadlines as to 59 MOTION to Dismiss (Consolidated). Motion set for 4/21/2025
                              before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this
                              motion will be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (mag) (Entered: 03/19/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number NEW51678. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           60 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           61 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           62 NOTICE OF APPEAL by DM GROUP, INC.. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (bf, ) (Entered:
                           03/28/2025)
   03/31/2025           63 USCA Case Number 25-1558 for 62 Notice of Appeal (USCA), filed by DM GROUP,
                           INC.. USCA Case Manager Laurie (Document Restricted - Court Only) (lr) (Entered:
                           03/31/2025)
   04/02/2025           64 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)



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   04/02/2025           65 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:10:00
                                    PACER                         Client
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                                    Login:                        Code:
                                                     Docket       Search         1:24-cv-04075-HB Start date:
                                    Description:
                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
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                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04080-HB


  ATLAS DATA PRIVACY CORPORATION et al v. DELUXE                                             Date Filed: 03/21/2024
  CORPORATION et al                                                                          Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01559
                      Superior Court of New Jersey - Bergen
                      County, BER-L-000821-24
  Cause: 28:1332 Diversity-Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  POLICE OFFICER SCOTT MALONEY                                           represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  DELUXE CORPORATION                                                     represented by MELISSA ANNE CHUDEREWICZ
                                                                                        TROUTMAN PEPPER LOCKE LLP
                                                                                        301 CARNEIGIE CENTER BOULEVARD
                                                                                        SUITE 4000
                                                                                        PRINCETON, NJ 08543
                                                                                        609-951-4118
                                                                                        Fax: 609-452-1147
                                                                                        Email: melissa.chuderewicz@troutman.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             STEPHANIE L. JONAITIS
                                                                                             TROUTMAN PEPPER LOCKE LLP
                                                                                             301 CARNEGIE CENTER
                                                                                             SUITE 400
                                                                                             PRINCETON, NJ 08543
                                                                                             609-951-4212
                                                                                             Email: stephanie.jonaitis@troutman.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             ANGELO A. STIO , III
                                                                                             TROUTMAN PEPPER LOCKE LLP
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?119863009027954-L_1_0-1                                                                2/11

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                                                                                             301 CARNEGIE CENTER
                                                                                             STE 400
                                                                                             PRINCETON, NJ 08648
                                                                                             609-452-0808
                                                                                             Fax: 609-451-1147
                                                                                             Email: angelo.stio@troutman.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10

  Defendant
  COMPANIES 1-10

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/21/2024             1 NOTICE OF REMOVAL by DELUXE CORPORATION from Superior Court of New
                            Jersey - Bergen County, case number BER-L-000821-24. ( Filing and Admin fee $ 405
                            receipt number ANJDC-15203293), filed by DELUXE CORPORATION. (Attachments: #
                            1 Exhibit A, # 2 Index B)(STIO, ANGELO) (Entered: 03/21/2024)
   03/21/2024             2 DECLARATION of Angelo A. Stio III re 1 Notice of Removal, by DELUXE
                            CORPORATION. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(STIO,
                            ANGELO) (Entered: 03/21/2024)
   03/21/2024             3 Corporate Disclosure Statement by DELUXE CORPORATION identifying None as
                            Corporate Parent.. (STIO, ANGELO) (Entered: 03/21/2024)
   03/21/2024                 Case Assigned to Judge Claire C. Cecchi and Magistrate Judge Andre M. Espinosa. (ak, )
                              (Entered: 03/22/2024)
   03/22/2024             4 Diversity Disclosure Statement by DELUXE CORPORATION. (STIO, ANGELO)
                            (Entered: 03/22/2024)
   03/26/2024             5 Exhibit to 1 Notice of Removal, Civil Cover Sheet by DELUXE CORPORATION. (STIO,
                            ANGELO) (Entered: 03/26/2024)
   03/27/2024             6 Application and Proposed Order for Clerk's Order to extend time to answer as to Deluxe
                            Corporation.. (STIO, ANGELO) (Entered: 03/27/2024)
   03/27/2024             7 NOTICE of Appearance by MELISSA ANNE CHUDEREWICZ on behalf of DELUXE
                            CORPORATION (CHUDEREWICZ, MELISSA) (Entered: 03/27/2024)
   03/28/2024                 Clerk`s Text Order - The 6 Application for Clerk's Order to Ext Answer/Proposed Order
                              submitted by DELUXE CORPORATION has been GRANTED. The answer due date has
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?119863009027954-L_1_0-1                                                         3/11

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                              been set for 4/11/2024. (mxw, ) (Entered: 03/28/2024)
   04/02/2024             8 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Judge Claire C. Cecchi and Magistrate Judge
                              Andre M. Espinosa no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/04/2024             9 Letter from Angelo A. Stio III. (STIO, ANGELO) (Entered: 04/04/2024)
   04/08/2024           10 ORDER scheduling status conference and staying action through 4/18/24, ( Status
                           Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                           Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                           (Entered: 04/09/2024)
   04/10/2024           11 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case Number 2:24-cv-
                           4080 reallocated to Camden as 1:24-cv-4080. Case reassigned to Judge Harvey Bartle
                           (EDPA), III for all further proceedings. Judge Claire C. Cecchi and Magistrate Judge
                           Andre M. Espinosa no longer assigned to case. So Ordered by Chief Judge Renee Marie
                           Bumb on 4/10/2024. (alg) (Entered: 04/10/2024)
   04/11/2024           12 Consent MOTION for Leave to Appear Pro Hac Vice (Consent Application of Ronald
                           Raether to Appear Pro Hac Vice) by DELUXE CORPORATION. (Attachments: # 1
                           Declaration of A Stio, # 2 Declaration of R. Raether, # 3 Text of Proposed Order, # 4
                           Certificate of Service)(STIO, ANGELO) (Entered: 04/11/2024)
   04/12/2024                 Set Deadlines as to 12 Consent MOTION for Leave to Appear Pro Hac Vice (Consent
                              Application of Ronald Raether to Appear Pro Hac Vice). Motion set for 5/6/2024 before
                              Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will
                              be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 04/12/2024)
   04/12/2024           13 Consent MOTION for Leave to Appear Pro Hac Vice (Consent Application of Alan
                           Wingfield to Appear Pro Hac Vice) by DELUXE CORPORATION. (Attachments: # 1
                           Declaration of A Stio, # 2 Declaration of A. Wingfield, # 3 Text of Proposed Order, # 4
                           Certificate of Service)(STIO, ANGELO) (Entered: 04/12/2024)
   04/15/2024                 Set Deadlines as to 13 Consent MOTION for Leave to Appear Pro Hac Vice (Consent
                              Application of Alan Wingfield to Appear Pro Hac Vice). Motion set for 5/6/2024 before
                              Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will
                              be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jab) (Entered: 04/15/2024)
   04/16/2024           14 ORDER Granting 12 Motion for Leave to Appear Pro Hac Vice as to Ronald I. Raether, Jr.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/15/2024. (js) (Entered: 04/16/2024)
   04/16/2024           15 ORDER Granting 13 Motion for Leave to Appear Pro Hac Vice as to Alan D. Wingfield.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/15/2024. (js) (Entered: 04/16/2024)
   04/16/2024           16 MOTION for Leave to Appear Pro Hac Vice by All Plaintiffs. (Attachments: # 1
                           Certification In support of PHV Motion, # 2 Text of Proposed Order)(PARIKH, RAJIV)
                           (Entered: 04/16/2024)
   04/16/2024           17 MOTION for Leave to Appear Pro Hac Vice by All Plaintiffs. (Attachments: # 1
                           Certification In support of PHV Motion, # 2 Text of Proposed Order)(PARIKH, RAJIV)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?119863009027954-L_1_0-1                                                       4/11

                                                                         JA180
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                              (Entered: 04/16/2024)
   04/16/2024           18 MOTION for Leave to Appear Pro Hac Vice by All Plaintiffs. (Attachments: # 1
                           Certification In support of PHV Motion, # 2 Text of Proposed Order)(PARIKH, RAJIV)
                           (Entered: 04/16/2024)
   04/16/2024           19 MOTION for Leave to Appear Pro Hac Vice by All Plaintiffs. (Attachments: # 1
                           Certification In support of PHV Motion, # 2 Text of Proposed Order)(PARIKH, RAJIV)
                           (Entered: 04/16/2024)
   04/17/2024                 Set Deadlines as to 16 MOTION for Leave to Appear Pro Hac Vice, 17 MOTION for
                              Leave to Appear Pro Hac Vice, 18 MOTION for Leave to Appear Pro Hac Vice, 19
                              MOTION for Leave to Appear Pro Hac Vice. Motion set for 5/20/2024 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (sms2) (Entered: 04/17/2024)
   04/17/2024                 CLERK'S QUALITY CONTROL MESSAGE - In the future when choosing parties please
                              choose each party individually. Do NOT select the ALL PLAINTIFFS or ALL
                              DEFENDANTS button. (sms2) (Entered: 04/17/2024)
   04/17/2024           20 Letter from Signatory Defendants regarding CMC. (STIO, ANGELO) (Entered:
                           04/17/2024)
   04/17/2024           22 ORDER granting 17 Motion for Leave to Appear Pro Hac Vice as to James Lee. Signed by
                           Judge Harvey Bartle (EDPA), III on 4/17/2024. (aji, ) (Entered: 04/18/2024)
   04/17/2024           23 ORDER granting 18 Motion for Leave to Appear Pro Hac Vice as to Hsiao (Mark) C. Mao.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/17/2024. (aji, ) (Entered: 04/18/2024)
   04/17/2024           24 ORDER granting 19 Motion for Leave to Appear Pro Hac Vice as to Adam Shaw. Signed
                           by Judge Harvey Bartle (EDPA), III on 4/17/2024. (aji, ) (Entered: 04/18/2024)
   04/18/2024                 CLERK'S QUALITY CONTROL MESSAGE - The Motions for Leave to Appear Pro Hac
                              Vice 16 and 19 submitted by RAJIV D. PARIKH on 4/16/2024 appear to be duplicates.
                              The 16 Motion with the incorrect case number listed has been terminated. These
                              submissions will remain on the docket unless otherwise ordered by the court. This message
                              is for informational purposes only. (jab) (Entered: 04/18/2024)
   04/18/2024                 Reset Deadlines as to 18 MOTION for Leave to Appear Pro Hac Vice , 17 MOTION for
                              Leave to Appear Pro Hac Vice , 19 MOTION for Leave to Appear Pro Hac Vice . Motion
                              set for 5/20/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the
                              Court, this motion will be decided on the papers and no appearances are required. Note that
                              this is an automatically generated message from the Clerk`s Office and does not supersede
                              any previous or subsequent orders from the Court. (jab) (Entered: 04/18/2024)
   04/18/2024           21 Notice of Request by Pro Hac Vice Alan D. Wingfield to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15294690.) (STIO, ANGELO)
                           (Entered: 04/18/2024)
   04/18/2024           25 Notice of Request by Pro Hac Vice Ronald I Raether to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15295980.) (STIO, ANGELO)
                           (Entered: 04/18/2024)
   04/18/2024                 Pro Hac Vice counsel, ALAN D. WINGFIELD and RONALD I. RAETHER, have been
                              added to receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local
                              counsel are entitled to sign and file papers, enter appearances and receive payments on
                              judgments, decrees or orders. (sms2) (Entered: 04/18/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?119863009027954-L_1_0-1                                                       5/11

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   04/18/2024           27 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           29 ORDER directing parties to file any motions to remand & supporting briefs on or before
                           5/3/24 and provide to each defendant and defendant's counsel a list of covered persons
                           under Daniel's Law who requested deletion of certain information on or before 5/17/24.
                           Signed by Judge Harvey Bartle (EDPA), III on April 18, 2024. (bf, ) (Entered: 04/23/2024)
   04/22/2024           26 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   04/22/2024           28 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/25/2024                 Pro Hac Vice fee: ADAM SHAW, JAMES LEE, and HSIAO (MARK) MAO $ 750, receipt
                              number TRE138235. (mlh) (Entered: 04/25/2024)
   05/01/2024           30 Notice of Request by Pro Hac Vice Adam R. Shaw, Esq. to receive Notices of Electronic
                           Filings. (PARIKH, RAJIV) (Entered: 05/01/2024)
   05/02/2024                 Pro Hac Vice counsel, ADAM R. SHAW, has been added to receive Notices of Electronic
                              Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and file papers,
                              enter appearances and receive payments on judgments, decrees or orders. (dmr) (Entered:
                              05/02/2024)
   05/06/2024           31 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding May 7, 2024 Case
                           Management Conference. (STIO, ANGELO) (Entered: 05/06/2024)
   05/07/2024           32 Letter from from Rajiv D. Parikh regarding status and case management. (PARIKH,
                           RAJIV) (Entered: 05/07/2024)
   05/08/2024           37 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/14/2024)
   05/09/2024           33 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding Joint Request to
                           Extend Time to Submit Requests for Production of Documents and Rule 30(B)(6) Notice.
                           (STIO, ANGELO) (Entered: 05/09/2024)
   05/09/2024           35 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?119863009027954-L_1_0-1                                                       6/11

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                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/14/2024)
   05/09/2024           36 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   05/10/2024           34 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding Jurisdictional
                           Discovery. (STIO, ANGELO) (Entered: 05/10/2024)
   05/31/2024           38 Letter from Angelo A. Stio, III. (Attachments: # 1 Exhibit A to letter, # 2 Exhibit B to
                           letter, # 3 Exhibit C to letter, # 4 Exhibit D to letter)(STIO, ANGELO) (Entered:
                           05/31/2024)
   06/03/2024           39 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/10/2024           40 Letter from Angelo Stio - Joinder in Defendants' Consolidated Motion to Dismiss
                           Plaintiffs' Complaint. (STIO, ANGELO) (Entered: 06/10/2024)
   06/13/2024           41 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           42 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   07/26/2024           43 NOTICE of Appearance by STEPHANIE L. JONAITIS on behalf of DELUXE
                           CORPORATION (JONAITIS, STEPHANIE) (Entered: 07/26/2024)
   08/06/2024           44 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/09/2024           45 Letter from Angelo A. Stio, III. (STIO, ANGELO) (Entered: 08/09/2024)
   08/15/2024           46 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           47 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 44
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/23/2024           48 First MOTION for Leave to Appear Pro Hac Vice Eric Palmer by ATLAS DATA
                           PRIVACY CORPORATION. (Attachments: # 1 Certification Eric Palmer, # 2 Certification
                           Rajiv D. Parikh, # 3 Text of Proposed Order)(PARIKH, RAJIV) (Entered: 08/23/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?119863009027954-L_1_0-1                                                       7/11

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   08/26/2024                 Set Deadlines as to 48 First MOTION for Leave to Appear Pro Hac Vice Eric Palmer.
                              Motion set for 9/16/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise
                              directed by the Court, this motion will be decided on the papers and no appearances are
                              required. Note that this is an automatically generated message from the Clerk`s Office and
                              does not supersede any previous or subsequent orders from the Court. (sms2) (Entered:
                              08/26/2024)
   08/27/2024           49 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   09/30/2024           50 MOTION for Leave to Appear Pro Hac Vice by All Plaintiffs. (Attachments: # 1
                           Certification of Rajiv Parikh, # 2 Certification of Eric Palmer, # 3 Text of Proposed Order,
                           # 4 Certificate of Service)(PARIKH, RAJIV) (Entered: 09/30/2024)
   09/30/2024           51 ORDER granting 50 Motion for Leave to Appear Pro Hac Vice as to Eric Palmer, Esq., etc.
                           Signed by Judge Harvey Bartle (EDPA), III on 9/30/2024. (lm) (Entered: 09/30/2024)
   10/01/2024           52 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (db, ) (Entered:
                           10/02/2024)
   10/02/2024           53 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           54 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           55 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/15/2024           56 Consent MOTION for Leave to Appear Pro Hac Vice (Consent Application of Timothy St.
                           George to Appear Pro Hac Vice) by DELUXE CORPORATION. (Attachments: # 1
                           Declaration of A. Stio, # 2 Declaration of T. St. George, # 3 Text of Proposed Order, # 4
                           Certificate of Service)(STIO, ANGELO) (Entered: 11/15/2024)
   11/18/2024                 Set Deadlines as to 56 Consent MOTION for Leave to Appear Pro Hac Vice (Consent
                              Application of Timothy St. George to Appear Pro Hac Vice). Motion set for 12/16/2024
                              before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this
                              motion will be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 11/18/2024)
   11/26/2024           57 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)


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   11/26/2024           58 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           59 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           60 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           66 ORDER granting 61 Motion for Leave to Appear Pro Hac Vice as to Timothy J. St.
                           George, Esq. Signed by Judge Harvey Bartle (EDPA), III on 12/12/2024. (aji, ) (Entered:
                           12/12/2024)
   12/02/2024           67 ORDER granting Pro Hac Vice as to JULIA BRONT. Motion for Pro Hac Vice not filed by
                           Counsel in this case. Signed by Judge Harvey Bartle (EDPA), III on 12/13/2024. (aji, )
                           (Entered: 12/13/2024)
   12/06/2024           61 Consent MOTION for Leave to Appear Pro Hac Vice of Timothy J. St. George by
                           DELUXE CORPORATION. (Attachments: # 1 Declaration of A Stio, # 2 Declaration of T.
                           St. George, # 3 Text of Proposed Order, # 4 Certificate of Service)(STIO, ANGELO)
                           (Entered: 12/06/2024)
   12/06/2024                 Set Deadlines as to 61 Consent MOTION for Leave to Appear Pro Hac Vice of Timothy J.
                              St. George. Motion set for 1/6/2025 before Judge Harvey Bartle (EDPA) III. Unless
                              otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (js) (Entered: 12/06/2024)
   12/06/2024           62 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           63 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           64 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           65 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   12/13/2024           68 Notice of Request by Pro Hac Vice Timothy St. George to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15875982.) (STIO, ANGELO)
                           (Entered: 12/13/2024)
   12/13/2024                 Pro Hac Vice counsel, TIMOTHY J. ST. GEORGE, has been added to receive Notices of
                              Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?119863009027954-L_1_0-1                                                       9/11

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                              file papers, enter appearances and receive payments on judgments, decrees or orders.
                              (mag) (Entered: 12/13/2024)
   12/19/2024           69 NOTICE by DELUXE CORPORATION withdrawal of appearance, including electronic
                           notification, of Pro Hac Vice counsel Alan D. Wingfield (STIO, ANGELO) (Entered:
                           12/19/2024)
   01/14/2025           70 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           71 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           72 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           73 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           74 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           75 Letter from Angelo A. Stio III. (STIO, ANGELO) (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number NEW51681. (js) Modified on 3/21/2025 (js).
                              (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received (js) (Entered: 03/21/2025)
   03/24/2025           76 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)

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   03/27/2025           77 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           78 NOTICE OF APPEAL by DELUXE CORPORATION. Filing fee $ 605. The Clerk's
                           Office hereby certifies the record and the docket sheet available through ECF to be the
                           certified list in lieu of the record and/or the certified copy of the docket entries. (bf, )
                           (Entered: 03/28/2025)
   03/31/2025           79 USCA Case Number 25-1559 for 78 Notice of Appeal (USCA), filed by DELUXE
                           CORPORATION. USCA Case Manager Laurie (Document Restricted - Court Only) (lr)
                           (Entered: 03/31/2025)
   04/02/2025           80 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           81 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:11:38
                                    PACER                          Client
                                                     chuderem                     544877.010130
                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-04080-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     10            Cost:          1.00
                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04098-HB


  ATLAS DATA PRIVACY CORPORATION v. QUANTARIUM                                               Date Filed: 03/22/2024
  ALLIANCE, LLC et al                                                                        Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01560
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1, A LAW ENFORCEMENT                                          represented by RAJIV D. PARIKH
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2, A LAW ENFORCEMENT                                          represented by RAJIV D. PARIKH
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  QUANTARIUM ALLIANCE, LLC                                               represented by CLAIR ELIZABETH WISCHUSEN
                                                                                        GORDON & REES
                                                                                        290 W MT PLEASANT AVENUE
                                                                                        SUITE 3310
                                                                                        LIVINGSTON, NJ 07039
                                                                                        973-549-2500
                                                                                        Email: cwischusen@grsm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             THOMAS MICHAEL KENNY
                                                                                             SPIRO HARRISON & NELSON
                                                                                             363 BLOOMFIELD AVENUE
                                                                                             SUITE 2C
                                                                                             MONTCLAIR, NJ 07042
                                                                                             973-232-0881
                                                                                             Email: tkenny@shnlegal.com
                                                                                             TERMINATED: 12/10/2024
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  QUANTARIUM GROUP, LLC                                                  represented by CLAIR ELIZABETH WISCHUSEN
                                                                                        (See above for address)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118166205426443-L_1_0-1                                                       2/8

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             FRANCESCA SIMONE
                                                                                             Spiro Harrison & Nelson
                                                                                             363 Bloomfield Avenue
                                                                                             Suite 2c
                                                                                             Montclair, NJ 07042
                                                                                             973-744-2100
                                                                                             Fax: 973-232-0887
                                                                                             Email: fsimone@shnlegal.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             THOMAS MICHAEL KENNY
                                                                                             (See above for address)
                                                                                             TERMINATED: 12/10/2024
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10, FICTITIOUS
  NAMES OF UNKNOWN INDIVIDUALS

  Defendant
  ABC COMPANIES 1-10 FICTITIOUS
  NAMES OF UNKNOWN ENTITIES

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/22/2024             1 NOTICE OF REMOVAL by QUANTARIUM ALLIANCE, LLC, QUANTARIUM
                            GROUP, LLC from Superior Court of New Jersey, Law Division, Bergen County, case
                            number BER-L-00878-24. ( Filing and Admin fee $ 405 receipt number CNJDC-
                            15205267), filed by QUANTARIUM ALLIANCE, LLC, QUANTARIUM GROUP, LLC.
                            (Attachments: # 1 Exhibit A, Initial Service Documents, # 2 Exhibit B, Affidavit of
                            Service, # 3 Civil Cover Sheet)(KENNY, THOMAS) (Entered: 03/22/2024)
   03/22/2024             2 Corporate Disclosure Statement by QUANTARIUM ALLIANCE, LLC, QUANTARIUM
                            GROUP, LLC. (KENNY, THOMAS) (Entered: 03/22/2024)
   03/22/2024                 Case Assigned to Judge Stanley R. Chesler and Magistrate Judge Andre M. Espinosa. (ak, )
                              (Entered: 03/25/2024)
   03/26/2024             3 Application and Proposed Order for Clerk's Order to extend time to answer. (KENNY,
                            THOMAS) (Entered: 03/26/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118166205426443-L_1_0-1                                                       3/8

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   03/26/2024                 Clerk`s Text Order - The document 3 submitted by QUANTARIUM GROUP, LLC,
                              QUANTARIUM ALLIANCE, LLC has been GRANTED. The answer due date has been
                              set for 4/15/2024. (sm) (Entered: 03/26/2024)
   04/02/2024             4 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/03/2024                 Judge Harvey Bartle (EDPA), III added. Judge Stanley R. Chesler and Magistrate Judge
                              Andre M. Espinosa no longer assigned to case. (aw, ) (Entered: 04/03/2024)
   04/08/2024             5 ORDER scheduling status conference and staying matter through 4/18/24, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/10/2024             6 TEXT ORDER REALLOCATING CASE to Camden; Case Number 3:24-cv-4098
                            reallocated to Camden as Case Number 1:24-cv-4098. So Ordered by Chief Judge Renee
                            Marie Bumb on 4/10/2024. (eaj) (Entered: 04/10/2024)
   04/18/2024             7 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney List) (db, ) (Entered: 04/19/2024)
   04/18/2024             8 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                            before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                            under Daniel's Law who requested deletion of any privacy information, etc. on or before
                            5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/24. (ar1, ) (Entered:
                            04/19/2024)
   04/19/2024             9 NOTICE of Appearance by FRANCESCA SIMONE on behalf of QUANTARIUM
                            GROUP, LLC (SIMONE, FRANCESCA) (Entered: 04/19/2024)
   04/22/2024           10 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           11 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   05/08/2024           14 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/14/2024)
   05/09/2024           12 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118166205426443-L_1_0-1                                                       4/8

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                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/14/2024)
   05/09/2024           13 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   06/03/2024           15 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/11/2024           16 Letter from Thomas M. Kenny. (KENNY, THOMAS) (Entered: 06/11/2024)
   06/13/2024           17 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           18 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           19 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           20 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           21 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 19
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           22 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           23 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           Attorney List) (db, ) (Entered: 10/02/2024)
   10/02/2024           24 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118166205426443-L_1_0-1                                                         5/8

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                              Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           25 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           26 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           27 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           28 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           29 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           30 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           31 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           32 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           33 Substitution of Attorney - Attorney THOMAS MICHAEL KENNY terminated. Attorney
                           CLAIR ELIZABETH WISCHUSEN for QUANTARIUM ALLIANCE, LLC,CLAIR
                           ELIZABETH WISCHUSEN for QUANTARIUM GROUP, LLC added.. (WISCHUSEN,
                           CLAIR) (Entered: 12/10/2024)
   12/10/2024           34 Corporate Disclosure Statement by JANE DOE-2, A LAW ENFORCEMENT OFFICER,
                           EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA MALONEY, PATRICK
                           COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN, ATLAS DATA PRIVACY
                           CORPORATION, JANE DOE-1, A LAW ENFORCEMENT OFFICER identifying Atlas
                           Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           35 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           36 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118166205426443-L_1_0-1                                                       6/8

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                              # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           37 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           38 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           39 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           40 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           41 MOTION to Dismiss for Lack of Jurisdiction (Supplemental Memorandum to
                           Consolidated Motion to Dismiss for Lack of Personal Jurisdiction) by QUANTARIUM
                           ALLIANCE, LLC, QUANTARIUM GROUP, LLC. (WISCHUSEN, CLAIR) (Entered:
                           03/18/2025)
   03/18/2025           42 Letter re 41 MOTION to Dismiss for Lack of Jurisdiction (Supplemental Memorandum to
                           Consolidated Motion to Dismiss for Lack of Personal Jurisdiction). (WISCHUSEN,
                           CLAIR) (Entered: 03/18/2025)
   03/19/2025           43 AFFIDAVIT in Support filed by QUANTARIUM ALLIANCE, LLC, QUANTARIUM
                           GROUP, LLC re 41 MOTION to Dismiss for Lack of Jurisdiction (Supplemental
                           Memorandum to Consolidated Motion to Dismiss for Lack of Personal Jurisdiction)
                           (WISCHUSEN, CLAIR) (Entered: 03/19/2025)
   03/24/2025           44 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)



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   03/26/2025                 Notice of Appeal Filing fee: $ 605, receipt number TRE143259 paid by Ronald Giller. (jal,
                              ) Modified on 3/26/2025 (jal, ). (Entered: 03/26/2025)
   03/26/2025                 Notice to Court of Appeals re Filing Fee Received. (jal, ) (Entered: 03/26/2025)
   03/27/2025           45 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           46 NOTICE OF APPEAL by QUANTARIUM ALLIANCE, LLC, QUANTARIUM GROUP,
                           LLC. Filing fee $ 605. The Clerk's Office hereby certifies the record and the docket sheet
                           available through ECF to be the certified list in lieu of the record and/or the certified copy
                           of the docket entries. (bf, ) (Entered: 03/28/2025)
   03/31/2025           47 USCA Case Number 25-1560 for 46 Notice of Appeal (USCA), filed by QUANTARIUM
                           ALLIANCE, LLC, QUANTARIUM GROUP, LLC. USCA Case Manager Laurie
                           (Document Restricted - Court Only) (lr) (Entered: 03/31/2025)
   04/02/2025           48 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           49 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:13:07
                                    PACER                          Client
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                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-04098-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7             Cost:          0.70
                                    Pages:




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                                                                                                                            APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04103-HB


  ATLAS DATA PRIVACY CORPORATION et al v. YARDI                   Date Filed: 03/22/2024
  SYSTEMS, INC. et al                                             Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                    Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                 Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01561
                      Superior Court of New Jersey, BER-L-000856-
                      24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  YARDI SYSTEMS, INC.                                                    represented by ANTHONY J. STALTARI
                                                                                        QUINN EMANUAL URQUHART &
                                                                                        SULLIVAN, LLP
                                                                                        295 5TH AVE
                                                                                        NEW YORK, NY 10016
                                                                                        212-849-7000
                                                                                        Email: anthonystaltari@quinnemanuel.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov


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                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/22/2024             1 NOTICE OF REMOVAL by YARDI SYSTEMS, INC. from Superior Court of New Jersey,
                            Bergen County, case number BER-L-000856-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15206162), filed by YARDI SYSTEMS, INC.. (Attachments: # 1 Exhibit
                            A, # 2 Civil Cover Sheet)(Staltari, Anthony) (Entered: 03/22/2024)
   03/22/2024             2 Corporate Disclosure Statement by YARDI SYSTEMS, INC.. (Staltari, Anthony) (Entered:
                            03/22/2024)
   03/22/2024             3 Diversity Disclosure Statement by YARDI SYSTEMS, INC.. (Staltari, Anthony) (Main
                            Document 3 replaced on 3/25/2024) (dam, ). (Entered: 03/22/2024)
   03/22/2024                 Case Assigned to Judge Susan D. Wigenton and Magistrate Judge Michael A. Hammer.
                              (ak, ) (Entered: 03/25/2024)
   03/25/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 3 Diversity Disclosure Statement filed
                              by Anthony Staltari on 3/22/2024 was uploaded prior to being flattened. Before uploading
                              fillable forms to ECF you must flatten the file to prevent other users from manipulating or
                              editing the information. The easiest way to flatten a PDF form is by selecting Print to PDF
                              and saving the flattened form, other PDF software may differ. Please visit our website
                              under Flattening PDF Forms for guidance. Your document has been corrected. This
                              message is for informational purposes only. (dam) (Entered: 03/25/2024)
   03/25/2024             4 Diversity Disclosure Statement by YARDI SYSTEMS, INC.. (Staltari, Anthony) (Entered:
                            03/25/2024)
   03/25/2024             5 Application and Proposed Order for Clerk's Order to extend time to answer as to Yardi
                            Systems, Inc. Attorney Anthony J. Staltari for YARDI SYSTEMS, INC. added. (Staltari,
                            Anthony) (Entered: 03/25/2024)
   03/26/2024                 Clerk`s Text Order - The document 5 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by YARDI SYSTEMS, INC. has been GRANTED. The
                              answer due date has been set for 4/12/2024. (adc, ) (Entered: 03/26/2024)
   04/02/2024             6 ORDER ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN
                            ANOTHER DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the
                            United States District Court for the Eastern District of Pennsylvania designated. Signed by
                            Chief Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Michael A. Hammer and Judge
                              Susan D. Wigenton no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/05/2024             7 NOTICE of Appearance by Anthony J. Staltari on behalf of YARDI SYSTEMS, INC.
                            (Staltari, Anthony) (Entered: 04/05/2024)
   04/05/2024             8 Letter from Anthony J. Staltari to Judge Bartle re: Request for Extension of time for
                            Defendant Yardi Systems, Inc. to answer, move or otherwise respond to the Complaint.
                            (Attachments: # 1 Text of Proposed Order)(Staltari, Anthony) (Entered: 04/05/2024)
   04/08/2024             9 ORDER scheduling status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)

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   04/09/2024           10 Letter from Anthony J. Staltari to Hon. Harvey Bartle III re: pro hac vice admission of
                           Viola Trebicka, John Wall Baumann, and Xi ("Tracy") Gao. (Attachments: # 1 Declaration
                           of Anthony J. Staltari, # 2 Declaration of Viola Trebicka, # 3 Declaration of John
                           Baumann, # 4 Declaration of Xi ("Tracy") Gao, # 5 Text of Proposed Order)(Staltari,
                           Anthony) (Entered: 04/09/2024)
   04/10/2024           11 TEXT ORDER REALLOCATING CASE to Camden; Case Number 3:24-cv-4096
                           reallocated to Camden as Case Number 1:24-cv-4103. So Ordered by Chief Judge Renee
                           Marie Bumb on 4/10/2024. (eaj) (Entered: 04/10/2024)
   04/18/2024           12 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) . (Entered: 04/19/2024)
   04/18/2024           13 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/24. (ar1, ) (Entered:
                           04/19/2024)
   04/22/2024           14 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           15 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   04/24/2024           16 MOTION for Leave to Appear Pro Hac Vice by YARDI SYSTEMS, INC.. (Attachments: #
                           1 Declaration of Anthony J. Staltari, # 2 Declaration of Viola Trebicka, # 3 Declaration of
                           John Baumann, # 4 Declaration of Ella Hallwass, # 5 Declaration of Xi ("Tracy") Gao, # 6
                           Text of Proposed Order)(Staltari, Anthony) (Entered: 04/24/2024)
   04/25/2024                 Set Deadlines as to 16 MOTION for Leave to Appear Pro Hac Vice . Motion set for
                              5/20/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jab) (Entered: 04/25/2024)
   04/29/2024           17 ORDER granting 16 Motion for Leave to Appear Pro Hac Vice as to Viola Trebicka, John
                           Wall Baumann, Ella Hallwass and Xi ("Tracy") Gao. Signed by Judge Harvey Bartle
                           (EDPA), III on 4/25/2024. (dmw) (Entered: 04/29/2024)
   05/07/2024           22 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/09/2024)
   05/08/2024           23 ORDER setting deadlines for the filing of certain motions and briefs, and staying action
                           until further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/24.
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?144122944069417-L_1_0-1                                                       4/8

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                              (ar1, ) (Entered: 05/09/2024)
   05/09/2024           18 Notice of Request by Pro Hac Vice Viola Trebicka to receive Notices of Electronic Filings.
                           ( Pro Hac Vice fee $ 250 receipt number ANJDC-15353392.) (Staltari, Anthony) (Entered:
                           05/09/2024)
   05/09/2024           19 Notice of Request by Pro Hac Vice John Wall Baumann to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15353616.) (Staltari, Anthony)
                           (Entered: 05/09/2024)
   05/09/2024           20 Notice of Request by Pro Hac Vice Ella Hallwass to receive Notices of Electronic Filings. (
                           Pro Hac Vice fee $ 250 receipt number ANJDC-15353694.) (Staltari, Anthony) (Entered:
                           05/09/2024)
   05/09/2024           21 Notice of Request by Pro Hac Vice Xi Gao to receive Notices of Electronic Filings. ( Pro
                           Hac Vice fee $ 250 receipt number ANJDC-15353783.) (Staltari, Anthony) (Entered:
                           05/09/2024)
   05/09/2024                 Pro Hac Vice counsel, ELLA HALLWASS, VIOLA TREBICKA, JOHN WALL
                              BAUMANN and XI GAO, has been added to receive Notices of Electronic Filing.
                              Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and file papers, enter
                              appearances and receive payments on judgments, decrees or orders. (sms2) (Entered:
                              05/09/2024)
   05/09/2024           24 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/10/2024)
   05/09/2024           25 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   06/03/2024           26 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/10/2024           27 Letter from Anthony J. Staltari to the Honorable Harvey Bartle III, Re: Yardi joins in the
                           consolidated motion to dismiss. (Staltari, Anthony) (Entered: 06/10/2024)
   06/13/2024           28 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?144122944069417-L_1_0-1                                                       5/8

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   07/10/2024           29 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           30 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           31 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           32 Letter from Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental
                           Submission re 30 Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir.
                           Opinion)(PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           33 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           34 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           Attorney List) (db, ) (Entered: 10/02/2024)
   10/02/2024           35 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           36 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
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                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           37 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           38 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           39 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           40 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?144122944069417-L_1_0-1                                                      6/8

                                                                         JA201
                     Case: 25-1555               Document: 24               Page: 76             Date Filed: 04/14/2025
4/3/25, 12:14 PM                                         CM/ECF LIVE - U.S. District Court for the District of New Jersey

   12/02/2024           41 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           42 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           43 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           44 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV identifying Atlas Data Privacy
                           Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           45 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           46 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           47 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           48 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           49 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?144122944069417-L_1_0-1                                                      7/8

                                                                         JA202
                     Case: 25-1555               Document: 24               Page: 77             Date Filed: 04/14/2025
4/3/25, 12:14 PM                                         CM/ECF LIVE - U.S. District Court for the District of New Jersey

   03/18/2025           50 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           51 Letter from re: Yardi Systems, Inc.'s joinder in the consolidated motion to dismiss.
                           (STALTARI, ANTHONY) (Entered: 03/18/2025)
   03/20/2025           52 NOTICE OF INTERLOCUTORY APPEAL by YARDI SYSTEMS, INC.. Filing fee $ 605,
                           receipt number ANJDC-16106501. The Clerk's Office hereby certifies the record and the
                           docket sheet available through ECF to be the certified list in lieu of the record and/or the
                           certified copy of the docket entries. (STALTARI, ANTHONY) (Entered: 03/20/2025)
   03/24/2025           53 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           54 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/31/2025           55 USCA Case Number 25-1561 for 52 Notice of Interlocutory Appeal, filed by YARDI
                           SYSTEMS, INC.. USCA Case Manager Laurie (Document Restricted - Court Only) (lr)
                           (Entered: 03/31/2025)
   04/02/2025           56 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           57 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:14:45
                                    PACER                         Client
                                                     chuderem                    544877.010130
                                    Login:                        Code:
                                                     Docket       Search         1:24-cv-04103-HB Start date:
                                    Description:
                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     8            Cost:          0.80
                                    Pages:




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                                                                         JA203
                     Case: 25-1555               Document: 24               Page: 78             Date Filed: 04/14/2025
4/3/25, 12:18 PM                                         CM/ECF LIVE - U.S. District Court for the District of New Jersey

                                                                                                                                APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04141-HB


  ATLAS DATA PRIVACY CORPORATION et al v. DIGITAL                                           Date Filed: 03/25/2024
  SAFETY PRODUCTS, LLC                                                                      Jury Demand: Both
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                           Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01562
                      SUPERIOR COURT OF NEW JERSEY,
                      MIDDLESEX COUNTY, MID L 814 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  on behalf of                                                                          1 BOLAND DRIVE
  individuals who are Covered Persons.                                                  SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?963675257667753-L_1_0-1                                                                1/8

                                                                         JA204
                     Case: 25-1555               Document: 24               Page: 79             Date Filed: 04/14/2025
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  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  DIGITAL SAFETY PRODUCTS, LLC                                           represented by ERIC HARRIS LUBIN
                                                                                        LOMURRO MUNSON COMER BROWN
                                                                                        & SCHOTTLAND
                                                                                        4 Paragon Way, Suite 100
                                                                                        SUITE 100
                                                                                        FREEHOLD, NJ 07728
                                                                                        732-414-0300
                                                                                        Email: elubin@lomurrolaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            ANDREW BLAKE BROOME
                                                                                            Lomurro Law
                                                                                            4 Paragon Way
                                                                                            Suite 100
                                                                                            Freehold, NJ 07728
                                                                                            742-414-0300
                                                                                            Email: abroome@lomurrolaw.com
                                                                                            ATTORNEY TO BE NOTICED

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Interested Party
  Genova Burns LLC
  494 Broad Street
  6th Floor
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/25/2024             1 NOTICE OF REMOVAL by DIGITAL SAFETY PRODUCTS, LLC from New Jersey
                            Superior Court, Middlesex County, case number MID-L-814-24. ( Filing and Admin fee $
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?963675257667753-L_1_0-1                                                      2/8

                                                                         JA205
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4/3/25, 12:18 PM                                         CM/ECF LIVE - U.S. District Court for the District of New Jersey

                              405 receipt number ANJDC-15209111), filed by DIGITAL SAFETY PRODUCTS, LLC.
                              (LUBIN, ERIC) (Entered: 03/25/2024)
   03/25/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed did not
                              include a Civil Cover Sheet (JS-44), which is required to be submitted along with the
                              initial pleading, as indicated in the Attorney Case Opening Guide. Please complete and file
                              a Civil Cover Sheet using the event Exhibit (to Document) found under Civil/Other
                              Filings/Other Documents. Please refer to the Attorney Case Opening Guide for processing
                              electronically filed cases. (jjc, ) (Entered: 03/25/2024)
   03/25/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (jjc, ) (Entered: 03/25/2024)
   03/25/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (jjc, ) (Entered: 03/25/2024)
   03/26/2024             2 Corporate Disclosure Statement by DIGITAL SAFETY PRODUCTS, LLC. (LUBIN,
                            ERIC) (Main Document 2 replaced on 3/26/2024) (amv). (Entered: 03/26/2024)
   03/26/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jdg)
                              (Entered: 03/26/2024)
   03/26/2024             3 Diversity Disclosure Statement by DIGITAL SAFETY PRODUCTS, LLC. (LUBIN,
                            ERIC) (Entered: 03/26/2024)
   03/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - The Corporate Disclosure Statement 2
                              filed by ERIC LUBIN on 3/26/24 was uploaded prior to being flattened. Before uploading
                              fillable forms to ECF you must flatten the file to prevent other users from manipulating or
                              editing the information. The easiest way to flatten a PDF form is by selecting Print to PDF
                              and saving the flattened form, other PDF software may differ. Please visit our website
                              under Flattening PDF Forms for guidance. Your document has been corrected. This
                              message is for informational purposes only. (amv) (Entered: 03/26/2024)
   03/28/2024             4 Application and Proposed Order for Clerk's Order to extend time to answer as to Digital
                            Safety Products, LLC.. (LUBIN, ERIC) (Entered: 03/28/2024)
   04/01/2024                 Clerk`s Text Order - The document 4 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by DIGITAL SAFETY PRODUCTS, LLC has been
                              GRANTED. The answer due date has been set for 4/15/2024. (jal, ) (Entered: 04/01/2024)
   04/01/2024             5 Exhibit to 1 Notice of Removal, QC - Civil Cover Sheet JS44,, by DIGITAL SAFETY
                            PRODUCTS, LLC. (LUBIN, ERIC) (Entered: 04/01/2024)
   04/02/2024             6 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)



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                                                                         JA206
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   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/04/2024             7 NOTICE of Appearance by ANDREW BLAKE BROOME on behalf of DIGITAL
                            SAFETY PRODUCTS, LLC (BROOME, ANDREW) (Entered: 04/04/2024)
   04/08/2024             8 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             9 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case Number 3:24-cv-
                            4141 reallocated to Camden as 1:24-cv-4141. Case reassigned to Judge Harvey Bartle
                            (EDPA), III for all further proceedings. Judge Michael A. Shipp and Magistrate Judge
                            Tonianne J. Bongiovanni no longer assigned to case. So Ordered by Chief Judge Renee
                            Marie Bumb on 4/9/2024. (alg) (Entered: 04/09/2024)
   04/18/2024           10 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/19/2024)
   04/18/2024           11 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered Persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/24. (ar1, ) (Entered:
                           04/19/2024)
   04/22/2024           12 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           13 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   05/07/2024           14 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           15 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           16 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?963675257667753-L_1_0-1                                                      4/8

                                                                         JA207
                     Case: 25-1555               Document: 24               Page: 82             Date Filed: 04/14/2025
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                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/14/2024)
   05/09/2024           17 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   06/03/2024           18 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/10/2024           19 Letter from Eric H. Lubin. (LUBIN, ERIC) (Entered: 06/10/2024)
   06/13/2024           20 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           21 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           22 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           23 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           24 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 22
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           25 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           26 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           27 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           28 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?963675257667753-L_1_0-1                                                       5/8

                                                                         JA208
                     Case: 25-1555               Document: 24               Page: 83             Date Filed: 04/14/2025
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                              REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (lm, ) (Entered: 10/09/2024)
   10/10/2024           29 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           30 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           31 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           32 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           33 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           34 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           35 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           36 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, PATRICK
                           COLLIGAN, PETER ANDREYEV, EDWIN MALDONADO, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           37 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           38 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           39 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?963675257667753-L_1_0-1                                                         6/8

                                                                         JA209
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                              this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                              01/22/2025)
   02/18/2025           40 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           41 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           42 NOTICE by Genova Burns LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           43 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number NEW51683. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           44 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           45 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           46 NOTICE OF APPEAL by DIGITAL SAFETY PRODUCTS, LLC. Filing fee $ 605. The
                           Clerk's Office hereby certifies the record and the docket sheet available through ECF to be
                           the certified list in lieu of the record and/or the certified copy of the docket entries. (bf, )
                           (Entered: 03/28/2025)
   03/31/2025           47 USCA Case Number 25-1562 for 46 Notice of Appeal (USCA), filed by DIGITAL
                           SAFETY PRODUCTS, LLC. USCA Case Manager Laurie (Document Restricted - Court
                           Only) (lr (Entered: 03/31/2025)
   04/02/2025           48 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)


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   04/02/2025           49 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:18:41
                                    PACER                         Client
                                                     chuderem                    544877.010130
                                    Login:                        Code:
                                                     Docket       Search         1:24-cv-04141-HB Start date:
                                    Description:
                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7            Cost:          0.70
                                    Pages:




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                                                                                                                                APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04143-HB


  ATLAS DATA PRIVACY CORPORATION et al v. CIVIL DATA                                        Date Filed: 03/25/2024
  RESEARCH                                                                                  Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                           Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01563
                      SUPERIOR COURT OF NEW JERSEY
                      MERCER COUNTY, MER L 00292 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  POLICE OFFICER SCOTT MALONEY                                           represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by JANE DOE-1
  a law enforcement officer                                                             PRO SE

  Plaintiff
  JANE DOE- 2                                                            represented by JANE DOE- 2
  law enforcement officer                                                               PRO SE


  V.
  Defendant
  CIVIL DATA RESEARCH, LLC                                               represented by ERIC HARRIS LUBIN
                                                                                        LOMURRO MUNSON COMER BROWN
                                                                                        & SCHOTTLAND
                                                                                        4 Paragon Way, Suite 100
                                                                                        SUITE 100
                                                                                        FREEHOLD, NJ 07728
                                                                                        732-414-0300
                                                                                        Email: elubin@lomurrolaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            ANDREW BLAKE BROOME
                                                                                            Lomurro Law
                                                                                            4 Paragon Way
                                                                                            Suite 100
                                                                                            Freehold, NJ 07728
                                                                                            742-414-0300
                                                                                            Email: abroome@lomurrolaw.com
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor


https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?107499933423013-L_1_0-1                                                      2/8

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  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/25/2024             1 NOTICE OF REMOVAL by CIVIL DATA RESEARCH from Superior Court of New
                            Jersey, Mercer County, case number MER-L-292-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15209266), filed by CIVIL DATA RESEARCH.(LUBIN, ERIC) (Entered:
                            03/25/2024)
   03/25/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed did not
                              include a Civil Cover Sheet (JS-44), which is required to be submitted along with the
                              initial pleading, as indicated in the Attorney Case Opening Guide. Please complete and file
                              a Civil Cover Sheet using the event Exhibit (to Document) found under Civil/Other
                              Filings/Other Documents. Please refer to the Attorney Case Opening Guide for processing
                              electronically filed cases. (jjc, ) (Entered: 03/25/2024)
   03/25/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (jjc, ) (Entered: 03/25/2024)
   03/25/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (jjc, ) (Entered: 03/25/2024)
   03/26/2024             2 Corporate Disclosure Statement by CIVIL DATA RESEARCH. (LUBIN, ERIC) (Entered:
                            03/26/2024)
   03/26/2024             3 Diversity Disclosure Statement by CIVIL DATA RESEARCH. (LUBIN, ERIC) (Entered:
                            03/26/2024)
   03/26/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jal, )
                              (Entered: 03/26/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?107499933423013-L_1_0-1                                                         3/8

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   03/28/2024             4 Application and Proposed Order for Clerk's Order to extend time to answer as to Civil Data
                            Research, LLC.. (LUBIN, ERIC) (Entered: 03/28/2024)
   04/01/2024             5 Exhibit to 1 Notice of Removal, QC - Civil Cover Sheet JS44,, by CIVIL DATA
                            RESEARCH, LLC. (LUBIN, ERIC) (Entered: 04/01/2024)
   04/01/2024                 Clerk`s Text Order - The 4 Application for Clerk's Order Extending Time to Answer
                              submitted by CIVIL DATA RESEARCH, LLC has been GRANTED. The answer due date
                              has been set for 4/15/2024. (jdg) (Entered: 04/01/2024)
   04/02/2024             6 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/04/2024             7 NOTICE of Appearance by ANDREW BLAKE BROOME on behalf of CIVIL DATA
                            RESEARCH, LLC (BROOME, ANDREW) (Entered: 04/04/2024)
   04/08/2024             8 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             9 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case Number 3:24-cv-
                            4143 reallocated to Camden as 1:24-cv-4143. Case reassigned to Judge Harvey Bartle
                            (EDPA), III for all further proceedings. Judge Michael A. Shipp and Magistrate Judge
                            Tonianne J. Bongiovanni no longer assigned to case. So Ordered by Chief Judge Renee
                            Marie Bumb on 4/9/2024. (Entered: 04/09/2024)
   04/18/2024           10 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           15 ORDER directing parties to file any motions to remand & supporting briefs on or before
                           5/3/24 and provide to each defendant and defendant's counsel a list of covered persons
                           under Daniel's Law who requested deletion of certain information on or before 5/17/24.
                           Signed by Judge Harvey Bartle (EDPA), III on April 18, 2024. (bf, ) (Entered: 04/23/2024)
   04/22/2024           11 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           12 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)

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   04/23/2024           14 ORDER directing parties to file any motions to remand & supporting briefs on or before
                           5/3/24 and provide to each defendant and defendant's counsel a list of covered persons
                           under Daniel's Law who requested deletion of certain information on or before 5/17/24.
                           Signed by Judge Harvey Bartle (EDPA), III on April 18, 2024. (bf, ) (Entered: 04/23/2024)
   05/07/2024           16 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           17 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           18 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   05/09/2024           19 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (sms2) (Entered: 05/14/2024)
   06/03/2024           20 ORDER directing any entity seeking to file an amicus brief regarding the facial challenge
                           to the constitutionality of Daniel's Law, file a petition with brief on or before 6/15/24.
                           Signed by Judge Harvey Bartle (EDPA), III on June 3, 2024. (bf, ) (Entered: 06/03/2024)
   06/10/2024           21 Letter from Eric H. Lubin. (LUBIN, ERIC) (Entered: 06/10/2024)
   06/13/2024           22 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           23 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           24 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)




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                                                                         JA216
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   08/15/2024           25 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           26 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 24
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           27 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           28 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           29 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           30 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           31 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           32 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           33 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           34 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           35 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           36 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)


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   12/10/2024           37 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           38 Corporate Disclosure Statement by WILLIAM SULLIVAN, ATLAS DATA PRIVACY
                           CORPORATION, JANE DOE-1, JANE DOE- 2, EDWIN MALDONADO, SCOTT
                           MALONEY, JUSTYNA MALONEY, PATRICK COLLIGAN identifying Atlas Data
                           Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           39 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           40 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           41 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           42 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           43 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           44 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           45 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number NEW51684. (js) (Entered: 03/21/2025)


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   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           46 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           47 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           48 NOTICE OF APPEAL by CIVIL DATA RESEARCH, LLC. Filing fee $ 605. The Clerk's
                           Office hereby certifies the record and the docket sheet available through ECF to be the
                           certified list in lieu of the record and/or the certified copy of the docket entries. (bf, )
                           (Entered: 03/28/2025)
   03/31/2025           49 USCA Case Number 25-1563 for 48 Notice of Appeal (USCA), filed by CIVIL DATA
                           RESEARCH, LLC. USCA Case Manager Laurie (Document Restricted - Court Only) (lr)
                           (Entered: 03/31/2025)
   04/02/2025           50 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           51 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:20:30
                                    PACER                         Client
                                                     chuderem                    544877.010130
                                    Login:                        Code:
                                                     Docket       Search         1:24-cv-04143-HB Start date:
                                    Description:
                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7            Cost:          0.70
                                    Pages:




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                                                                                                                                APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04160-HB


  ATLAS DATA PRIVACY CORPORATION et al v. SCALABLE                                          Date Filed: 03/25/2024
  COMMERCE, LLC et al                                                                       Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                           Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01564
                      New Jersey Superior Court, Bergen County,
                      BER-L-771-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE 1-10 DOE                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  POLICE OFFICER SCOTT MALONEY                                           represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  SCALABLE COMMERCE, LLC                                                 represented by ERIC HARRIS LUBIN
                                                                                        LOMURRO MUNSON COMER BROWN
                                                                                        & SCHOTTLAND
                                                                                        4 Paragon Way, Suite 100
                                                                                        SUITE 100
                                                                                        FREEHOLD, NJ 07728
                                                                                        732-414-0300
                                                                                        Email: elubin@lomurrolaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            ANDREW BLAKE BROOME
                                                                                            Lomurro Law
                                                                                            4 Paragon Way
                                                                                            Suite 100
                                                                                            Freehold, NJ 07728
                                                                                            742-414-0300
                                                                                            Email: abroome@lomurrolaw.com
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  NATIONAL DATA ANALYTICS, LLC                                           represented by ANDREW BLAKE BROOME
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            ERIC HARRIS LUBIN

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                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/25/2024             1 NOTICE OF REMOVAL by SCALABLE COMMERCE, LLC, NATIONAL DATA
                            ANALYTICS, LLC from Superior Court of New Jersey, Bergen County, case number
                            BER-L-771-24. ( Filing and Admin fee $ 405 receipt number ANJDC-15209999), filed by
                            SCALABLE COMMERCE, LLC, NATIONAL DATA ANALYTICS, LLC.(LUBIN,
                            ERIC) (Entered: 03/25/2024)
   03/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (jr) (Entered: 03/26/2024)
   03/26/2024                 Case assigned to Judge Susan D. Wigenton and Magistrate Judge James B. Clark. (jr)
                              (Entered: 03/26/2024)
   03/26/2024             2 Corporate Disclosure Statement by SCALABLE COMMERCE, LLC. (LUBIN, ERIC)
                            (Entered: 03/26/2024)
   03/26/2024             3 Corporate Disclosure Statement by NATIONAL DATA ANALYTICS, LLC. (LUBIN,
                            ERIC) (Entered: 03/26/2024)
   03/26/2024             4 Diversity Disclosure Statement by NATIONAL DATA ANALYTICS, LLC, SCALABLE
                            COMMERCE, LLC. (LUBIN, ERIC) (Entered: 03/26/2024)
   03/28/2024             5 Application and Proposed Order for Clerk's Order to extend time to answer as to Scalable
                            Commerce, LLC and National Data Analytics, LLC.. (LUBIN, ERIC) (Entered:
                            03/28/2024)
   04/01/2024                 Clerk`s Text Order - The 5 Application for Clerk's Order to Ext Answer/Proposed Order
                              submitted by SCALABLE COMMERCE, LLC, NATIONAL DATA ANALYTICS, LLC
                              has been GRANTED. The answer due date has been set for 4/15/2024. (mxw, ) (Entered:
                              04/01/2024)
   04/01/2024             6 Exhibit to 1 Notice of Removal, by NATIONAL DATA ANALYTICS, LLC, SCALABLE
                            COMMERCE, LLC. (LUBIN, ERIC) (Entered: 04/01/2024)
   04/02/2024             7 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)


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   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge James B. Clark and Judge Susan
                              D. Wigenton no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/04/2024             8 NOTICE of Appearance by ANDREW BLAKE BROOME on behalf of NATIONAL
                            DATA ANALYTICS, LLC, SCALABLE COMMERCE, LLC (BROOME, ANDREW)
                            (Entered: 04/04/2024)
   04/08/2024             9 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/10/2024           10 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case Number 2:24-cv-
                           4160 reallocated to Camden as 1:24-cv-4160. Case reassigned to Judge Harvey Bartle
                           (EDPA), III for all further proceedings. Judge Susan D. Wigenton and Magistrate Judge
                           James B. Clark no longer assigned to case. So Ordered by Chief Judge Renee Marie Bumb
                           on 4/10/2024. (alg) (Entered: 04/10/2024)
   04/18/2024           11 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           14 ORDER directing parties to file any motions to remand & supporting briefs on or before
                           5/3/24 and provide to each defendant and defendant's counsel a list of covered persons
                           under Daniel's Law who requested deletion of certain information on or before 5/17/24.
                           Signed by Judge Harvey Bartle (EDPA), III on April 18, 2024. (bf, ) (Entered: 04/23/2024)
   04/22/2024           12 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           13 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs.'
                           motions to remand, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   05/07/2024           15 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           16 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           17 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
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                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/14/2024)
   05/09/2024           18 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   06/03/2024           19 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           20 Letter from Eric H. Lubin. (LUBIN, ERIC) (Entered: 06/10/2024)
   06/13/2024           21 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           22 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           23 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           24 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           25 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 23
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           26 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           27 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           28 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)


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                                                                         JA224
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   10/08/2024           29 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           30 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           31 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           32 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           33 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           34 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           35 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           36 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           37 Corporate Disclosure Statement by PATRICK COLLIGAN, PETER ANDREYEV,
                           WILLIAM SULLIVAN, ATLAS DATA PRIVACY CORPORATION, JANE 1-10 DOE,
                           EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA MALONEY identifying Atlas
                           Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           38 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           39 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           40 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?145386080594825-L_1_0-1                                                      6/8

                                                                         JA225
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                              supporting briefs the court will schedule a status conference to discuss the next steps to be
                              taken; and(4) These actions are stayed pending further order of court, except as set forth in
                              this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                              01/22/2025)
   02/18/2025           41 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           42 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           43 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number NEW51682. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           44 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           45 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           46 NOTICE OF APPEAL by SCALABLE COMMERCE, LLC. Filing fee $ 605. The Clerk's
                           Office hereby certifies the record and the docket sheet available through ECF to be the
                           certified list in lieu of the record and/or the certified copy of the docket entries. (bf, )
                           (Entered: 03/28/2025)
   03/31/2025           47 USCA Case Number 25-1564 for 46 Notice of Appeal (USCA), filed by SCALABLE
                           COMMERCE, LLC. USCA Case Manager Laurie (Document Restricted - Court Only) (lr)
                           (Entered: 03/31/2025)
   04/02/2025           48 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)

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   04/02/2025           49 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:22:10
                                    PACER                         Client
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                                    Login:                        Code:
                                                     Docket       Search         1:24-cv-04160-HB Start date:
                                    Description:
                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7            Cost:          0.70
                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04174-HB


  ATLAS DATA PRIVACY CORPORATION et al v. LABELS &                                           Date Filed: 03/25/2024
  LISTS, INC                                                                                 Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01565
                      N.J. Superior Court - Bergen County, BER-L-
                      812-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by JESSICA A MEREJO
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               STE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-577-5500
                                                                                        Email: jmerejo@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             PEM LAW LLP
                                                                                             1 BOLAND DRIVE
                                                                                             SUITE 101
                                                                                             WEST ORANGE, NJ 07052
                                                                                             973-585-5330
                                                                                             Email: rparikh@pemlawfirm.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED
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  Plaintiff
  POLICE OFFICER SCOTT MALONEY                                           represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  LABELS & LISTS, INC                                                    represented by RYAN JOHN COOPER
                                                                                        COOPER, LLC
                                                                                        108 N. UNION AVE.
                                                                                        SUITE 4
                                                                                        CRANFORD, NJ 07016
                                                                                        908-514-8830
                                                                                        Email: ryan@cooperllc.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/25/2024             1 NOTICE OF REMOVAL by LABELS & LISTS, INC from N.J. Superior Court - Bergen
                            County, case number BER-L-812-24. ( Filing and Admin fee $ 405 receipt number
                            BNJDC-15210894), filed by LABELS & LISTS, INC. (Attachments: # 1 Declaration of J
                            Criddle w exhibit)(COOPER, RYAN) (Entered: 03/25/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118877403426667-L_1_0-1                                                       3/10

                                                                         JA230
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   03/25/2024             2 MOTION for Recusal by LABELS & LISTS, INC. (Attachments: # 1 Brief, # 2
                            Declaration of M Isaak, # 3 Text of Proposed Order)(COOPER, RYAN) (Entered:
                            03/25/2024)
   03/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed did not
                              include a Civil Cover Sheet (JS-44), which is required to be submitted along with the
                              initial pleading, as indicated in the Attorney Case Opening Guide. Please complete and file
                              a Civil Cover Sheet using the event Exhibit (to Document) found under Civil/Other
                              Filings/Other Documents. Please refer to the Attorney Case Opening Guide for processing
                              electronically filed cases. (jr) (Entered: 03/26/2024)
   03/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (jr) (Entered: 03/26/2024)
   03/26/2024                 Case assigned to Judge William J. Martini and Magistrate Judge James B. Clark. (jr)
                              (Entered: 03/26/2024)
   03/26/2024             3 Exhibit to 1 Notice of Removal, Civil Cover Sheet by LABELS & LISTS, INC.
                            (COOPER, RYAN) (Entered: 03/26/2024)
   03/26/2024             4 Corporate Disclosure Statement by LABELS & LISTS, INC. (COOPER, RYAN) (Entered:
                            03/26/2024)
   03/26/2024                 Set Deadlines as to 2 MOTION for Recusal. Motion set for 5/6/2024 before Magistrate
                              Judge James B. Clark. Unless otherwise directed by the Court, this motion will be decided
                              on the papers and no appearances are required. Note that this is an automatically generated
                              message from the Clerk`s Office and does not supersede any previous or subsequent orders
                              from the Court. (jd, ) (Entered: 03/26/2024)
   03/26/2024             5 Letter from M Isaak & R Cooper re 2 MOTION for Recusal . (COOPER, RYAN) (Entered:
                            03/26/2024)
   03/27/2024                 CLERK'S QUALITY CONTROL MESSAGE - The State Court Complaint at ECF No. 1
                              -1 - Exhibit 1, pg. 17 submitted on 3/25/2024 appears to have address information that
                              does not match the court's records for this case as to RAJIV D. PARIKH, Counsel for
                              Plaintiff. Please refer to the court's website at www.njd.uscourts.gov for information and
                              instructions on maintaining your account. (jd, ) Modified on 3/27/2024 (jd, ). (Entered:
                              03/27/2024)
   03/28/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (jd, ) (Entered: 03/28/2024)
   03/28/2024             6 Diversity Disclosure Statement by LABELS & LISTS, INC. (COOPER, RYAN) (Entered:
                            03/28/2024)
   03/28/2024             7 CERTIFICATE OF SERVICE by LABELS & LISTS, INC re 1 Notice of Removal, 2
                            MOTION for Recusal (COOPER, RYAN) (Entered: 03/28/2024)


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   03/29/2024             8 Application and Proposed Order for Clerk's Order to extend time to answer as to Plaintiffs'
                            Complaint.. (COOPER, RYAN) (Entered: 03/29/2024)
   04/01/2024                 Clerk`s Text Order - The document 8 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by LABELS & LISTS, INC has been GRANTED. The
                              answer due date has been set for 4/15/2024. (qa, ) (Entered: 04/01/2024)
   04/02/2024             9 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge James B. Clark and Judge
                              William J. Martini no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/03/2024           10 TEXT ORDER terminating 2 Motion for Recusal as moot. SO ORDERED by Chief Judge
                           Renee Marie Bumb on 4/3/2024. (eaj, ) (Entered: 04/03/2024)
   04/08/2024           11 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                           Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                           Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                           (Entered: 04/09/2024)
   04/10/2024           12 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case Number 2:24-cv-
                           4174 reallocated to Camden as 1:24-cv-4174. Case reassigned to Judge Harvey Bartle
                           (EDPA), III for all further proceedings. Judge William J. Martini and Magistrate Judge
                           James B. Clark no longer assigned to case. So Ordered by Chief Judge Renee Marie Bumb
                           on 4/10/2024. (alg) (Entered: 04/10/2024)
   04/18/2024           13 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           17 ORDER directing parties to file any motions to remand & supporting briefs on or before
                           5/3/24 and provide to each defendant and defendant's counsel a list of covered persons
                           under Daniel's Law who requested deletion of certain information on or before 5/17/24.
                           Signed by Judge Harvey Bartle (EDPA), III on April 18, 2024. (bf, ) (Entered: 04/23/2024)
   04/22/2024           14 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           15 ORDER scheduling status conference and staying action through 5/7/24 except
                           pltfs.'motions to remand,, ( Status Conference set for 5/7/2024 at 02:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on April 22, 2024. (bf, ) (Entered: 04/22/2024)
   04/22/2024           16 Consent MOTION for Leave to Appear Pro Hac Vice by M Isaak, J Kilcup, and A Giza by
                           LABELS & LISTS, INC. (Attachments: # 1 Declaration of R Cooper, # 2 Declaration of M

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                              Isaak, # 3 Declaration of J Kilcup, # 4 Declaration of A Giza, # 5 Text of Proposed Order)
                              (COOPER, RYAN) (Entered: 04/22/2024)
   04/24/2024                 Set Deadlines as to 16 Consent MOTION for Leave to Appear Pro Hac Vice by M Isaak, J
                              Kilcup, and A Giza. Motion set for 5/20/2024 before Judge Harvey Bartle (EDPA) III.
                              Unless otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (jab) (Entered: 04/24/2024)
   04/24/2024           18 ORDER, Granting 16 Motion for Leave to Appear Pro Hac Vice (Misha Isaak, James
                           Kilcup and Alexandra Giza). Signed by Judge Harvey Bartle (EDPA), III on 4/24/2024. (js)
                           (Entered: 04/24/2024)
   04/29/2024                 Pro Hac Vice fee received as to Misha Isaak, James Kilcup and Alexandra Giza: $ 750,
                              receipt number 138261 (jdg) (Entered: 04/29/2024)
   04/29/2024           19 Notice of Request by Pro Hac Vice M Isaak to receive Notices of Electronic Filings.
                           (COOPER, RYAN) (Entered: 04/29/2024)
   04/29/2024           20 Notice of Request by Pro Hac Vice J Kilcup to receive Notices of Electronic Filings.
                           (COOPER, RYAN) (Entered: 04/29/2024)
   04/29/2024           21 Notice of Request by Pro Hac Vice A Giza to receive Notices of Electronic Filings.
                           (COOPER, RYAN) (Entered: 04/29/2024)
   04/30/2024                 Pro Hac Vice counsel, MISHA ISAAK, JAMES A, KILCUP and ALEXANDRA GIZA,
                              have been added to receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only
                              local counsel are entitled to sign and file papers, enter appearances and receive payments
                              on judgments, decrees or orders. (dmr) (Entered: 04/30/2024)
   05/07/2024           22 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018)) (bf, )
                           (Entered: 05/13/2024)
   05/08/2024           23 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           24 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   05/09/2024           25 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)




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   06/03/2024           26 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           27 MOTION to Dismiss by LABELS & LISTS, INC. Responses due by 7/15/2024.
                           (COOPER, RYAN) (Entered: 06/10/2024)
   06/11/2024                 Set Deadlines as to 27 MOTION to Dismiss . Motion set for 7/15/2024 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (dmr) (Entered: 06/11/2024)
   06/13/2024           28 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           29 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           30 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           31 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           32 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 30
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           33 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           34 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           35 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           36 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?118877403426667-L_1_0-1                                                       7/10

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                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (lm, ) (Entered: 10/09/2024)
   10/10/2024           37 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           38 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           39 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           40 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           41 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           42 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           43 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           44 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, EDWIN
                           MALDONADO, JANE DOE-1, JANE DOE-2, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           45 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           46 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           47 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in

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                              this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                              01/22/2025)
   02/18/2025           48 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           49 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           50 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           51 MOTION to Dismiss by LABELS & LISTS, INC. (COOPER, RYAN) (Entered:
                           03/18/2025)
   03/18/2025                 Set Deadlines as to 51 MOTION to Dismiss. Motion set for 4/21/2025 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (mag) (Entered: 03/19/2025)
   03/20/2025           52 NOTICE of Appearance by JESSICA A MEREJO on behalf of All Plaintiffs (MEREJO,
                           JESSICA) (Entered: 03/20/2025)
   03/20/2025           53 NOTICE OF INTERLOCUTORY APPEAL as to 39 Order, by LABELS & LISTS, INC.
                           Filing fee $ 605, receipt number ANJDC-16105410. The Clerk's Office hereby certifies the
                           record and the docket sheet available through ECF to be the certified list in lieu of the
                           record and/or the certified copy of the docket entries. Appeal Record due by 4/1/2025.
                           (COOPER, RYAN) (Entered: 03/20/2025)
   03/24/2025           54 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           55 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)


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   03/31/2025           56 USCA Case Number 25-1565 for 53 Notice of Interlocutory Appeal, filed by LABELS &
                           LISTS, INC. USCA Case Manager Laurie (Document Restricted - Court Only) (lr)
                           (Entered: 03/31/2025)
   04/02/2025           57 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           58 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                                     Docket        Search         1:24-cv-04174-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     9             Cost:          0.90
                                    Pages:




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                                                                                                                                APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04176-HB


  ATLAS DATA PRIVACY CORPORATION et al. v. INNOVIS                                          Date Filed: 03/25/2024
  DATA SOLUTIONS INC. et al.                                                                Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                           Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01566
                      SUPERIOR COURT OF NEW JERSEY,
                      MORRIS COUNTY, MRS L 000285 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by JESSICA A MEREJO
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               STE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-577-5500
                                                                                        Email: jmerejo@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            PEM LAW LLP
                                                                                            1 BOLAND DRIVE
                                                                                            SUITE 101
                                                                                            WEST ORANGE, NJ 07052
                                                                                            973-585-5330
                                                                                            Email: rparikh@pemlawfirm.com
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED
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  Plaintiff
  SCOTT MALONEY                                                          represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)

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                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED


  V.
  Defendant
  INNOVIS DATA SOLUTIONS, INC.                                           represented by JILL ANN GULDIN
                                                                                        PIERSON FERDINAND LLP
                                                                                        ONE LIBERTY PLACE
                                                                                        1650 MARKET STREET
                                                                                        SUITE 3600
                                                                                        PHILADELPHIA, PA 19103
                                                                                        609-896-4096
                                                                                        Fax: 856-494-1566
                                                                                        Email: jill.guldin@pierferd.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?908258035421282-L_1_0-1                                                      3/10

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                                                                                            NEWARK, NJ 07101
                                                                                            908-705-3958
                                                                                            Email: kashif.chand@law.njoag.gov
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC                                                      represented by JAMES M. BURNS
                                                                                        GENOVA BURNS LLC
                                                                                        494 BROAD STREET
                                                                                        NEWARK, NJ 07102
                                                                                        973-535-7101
                                                                                        Email: jburns@genovaburns.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   04/18/2023           14 ORDER: Plaintiffs, on or before May 3, 2024, shall file any motions to remand and any
                           supporting briefs. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, )
                           (Entered: 04/23/2024)
   03/25/2024             1 NOTICE OF REMOVAL by INNOVIS DATA SOLUTIONS INC. from Morris County
                            Superior Court, case number MRS-L-000285-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15210997), filed by INNOVIS DATA SOLUTIONS INC.. (Attachments:
                            # 1 Exhibit Ex A - Morris County Complaint, # 2 Exhibit Ex B - State Court Notice)
                            (GULDIN, JILL) (Entered: 03/25/2024)
   03/25/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (mlh)
                              (Entered: 03/28/2024)
   03/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Party Information is to be
                              entered in CAPITAL LETTERS. DO NOT select a party if it is not in CAPITAL
                              LETTERS or if it does not reflect the EXACT name as is found in the pleading, Create a
                              new party. . The Clerk's Office has made the appropriate changes. Please refer to the
                              Attorney Case Opening Guide for processing electronically filed cases. (jjc, ) (Entered:
                              03/26/2024)
   03/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed did not
                              include a Civil Cover Sheet (JS-44), which is required to be submitted along with the
                              initial pleading, as indicated in the Attorney Case Opening Guide. Please complete and file
                              a Civil Cover Sheet using the event Exhibit (to Document) found under Civil/Other
                              Filings/Other Documents. Please refer to the Attorney Case Opening Guide for processing
                              electronically filed cases. (jjc, ) (Entered: 03/26/2024)
   03/26/2024             2 Exhibit to 1 Notice of Removal, QC - Civil Cover Sheet JS44,, by INNOVIS DATA
                            SOLUTIONS INC.. (GULDIN, JILL) (Entered: 03/26/2024)
   03/27/2024             3 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            DEFENDANT INNOVIS DATA SOLUTIONS, INC... (GULDIN, JILL) (Entered:
                            03/27/2024)


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   03/28/2024                 Clerk`s Text Order - The document 3 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by INNOVIS DATA SOLUTIONS, INC. has been
                              GRANTED. The answer due date has been set for 4/15/2024. (mlh) (Entered: 03/28/2024)
   04/02/2024             4 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/08/2024             5 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             6 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case Number 3:24-cv-
                            4176 reallocated to Camden as 1:24-cv-4176. Case reassigned to Judge Harvey Bartle
                            (EDPA), III for all further proceedings. Judge Michael A. Shipp and Magistrate Judge
                            Tonianne J. Bongiovanni no longer assigned to case. So Ordered by Chief Judge Renee
                            Marie Bumb on 4/9/2024. (alg) (Entered: 04/09/2024)
   04/10/2024             7 MOTION for Leave to Appear Pro Hac Vice by INNOVIS DATA SOLUTIONS, INC..
                            (Attachments: # 1 Certification of Jason A. Spak, Esq., # 2 Certification of Jill A. Guldin,
                            Esq., # 3 Text of Proposed Order)(GULDIN, JILL) (Entered: 04/10/2024)
   04/10/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 7 Motion for Leave to Appear Pro
                              Hac Vice submitted by JILL ANN GULDIN on 4/10/2024 contains an improper signature.
                              Only the filing user is permitted to sign electronically filed documents with an s/. PLEASE
                              RESUBMIT THE Certification of Jason A. Spak ONLY WITH A SCANNED
                              SIGNATURE. This submission will remain on the docket unless otherwise ordered by the
                              court. (sms2) (Entered: 04/10/2024)
   04/10/2024                 Set Deadlines as to 7 MOTION for Leave to Appear Pro Hac Vice . Motion set for
                              5/6/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (sms2) (Entered: 04/10/2024)
   04/10/2024             8 Certification on behalf of INNOVIS DATA SOLUTIONS, INC. Re 7 Motion for Leave to
                            Appear Pro Hac Vice, QC - Electronic signature does not match e-filer,. (GULDIN, JILL)
                            (Entered: 04/10/2024)
   04/16/2024             9 Letter from Jill A. Guldin, Esq.. (GULDIN, JILL) (Entered: 04/16/2024)
   04/16/2024           10 ORDER Granting 7 Motion for Leave to Appear Pro Hac Vice as to Jason A. Spak. Signed
                           by Judge Harvey Bartle (EDPA), III on 4/15/2024. (js) (Entered: 04/16/2024)
   04/18/2024           11 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/22/2024           12 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?908258035421282-L_1_0-1                                                      5/10

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                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                              Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                              (Entered: 04/22/2024)
   04/22/2024           13 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/26/2024                 Pro Hac Vice fee as to Jason A. Spak: $ 250, receipt number CAM14997 (dmr) (Entered:
                              04/26/2024)
   04/30/2024           15 Notice of Request by Pro Hac Vice JASON A. SPAK to receive Notices of Electronic
                           Filings. (GULDIN, JILL) (Entered: 04/30/2024)
   05/01/2024                 Pro Hac Vice counsel, JASON A. SPAK, has been added to receive Notices of Electronic
                              Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and file papers,
                              enter appearances and receive payments on judgments, decrees or orders. (jab) (Entered:
                              05/01/2024)
   05/07/2024           16 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           17 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/13/2024)
   05/09/2024           18 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           19 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   06/03/2024           20 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/11/2024           21 Letter from Defendant re Joinder in Consolidated Motion to Dismiss. (GULDIN, JILL)
                           (Entered: 06/11/2024)
   06/13/2024           22 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN

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                              TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                              (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                              Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                              redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                              Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                              Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                              by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                              Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           23 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           24 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           25 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           26 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 24
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           27 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           28 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           29 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           30 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           31 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           32 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           33 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is

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                              unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                              11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           34 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           35 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           36 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           37 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           38 Corporate Disclosure Statement by WILLIAM SULLIVAN, JANE DOE-1, JANE DOE-2,
                           ATLAS DATA PRIVACY CORPORATION, EDWIN MALDONADO, SCOTT
                           MALONEY, JUSTYNA MALONEY, PATRICK COLLIGAN, PETER ANDREYEV
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           39 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           40 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           41 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           42 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           43 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?908258035421282-L_1_0-1                                                      8/10

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                              REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                              Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                              (Entered: 02/25/2025)
   03/13/2025           44 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           45 MOTION to Dismiss by INNOVIS DATA SOLUTIONS, INC.. Responses due by
                           4/7/2025. (Attachments: # 1 Exhibit Declaration of J. Spak, # 2 Exhibit INNOVIS PAGES,
                           # 3 Exhibit SITES WE REMOVE, # 4 Exhibit ATLAS FOR LEO, # 5 Exhibit Brief in
                           Support of Motion, # 6 Exhibit proposed Order)(GULDIN, JILL) (Entered: 03/18/2025)
   03/18/2025                 Set Deadlines as to 45 MOTION to Dismiss. Motion set for 4/21/2025 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (sms2) (Entered: 03/18/2025)
   03/18/2025           46 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number CAM15386. (mag) (Entered: 03/20/2025)
   03/20/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (mag) (Entered: 03/20/2025)
   03/24/2025           47 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/25/2025           48 NOTICE of Appearance by JESSICA A MEREJO on behalf of All Plaintiffs (MEREJO,
                           JESSICA) (Entered: 03/25/2025)
   03/27/2025           49 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           50 NOTICE OF APPEAL by INNOVIS DATA SOLUTIONS, INC.. Filing fee $ 605. The
                           Clerk's Office hereby certifies the record and the docket sheet available through ECF to be
                           the certified list in lieu of the record and/or the certified copy of the docket entries. (bf, )
                           (Entered: 03/28/2025)
   03/31/2025           51 USCA Case Number 25-1566 for 50 Notice of Appeal (USCA), filed by INNOVIS DATA
                           SOLUTIONS, INC.. USCA Case Manager Laurie (Document Restricted - Court Only) (lr)
                           (Entered: 03/31/2025)
   04/02/2025           52 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           53 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                    Login:                        Code:
                                                     Docket       Search         1:24-cv-04176-HB Start date:
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                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04178-HB


  ATLAS DATA PRIVACY CORPORATION et al v. ACCURATE                                           Date Filed: 03/25/2024
  APPEND, INC. et al                                                                         Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01567
                      Superior Court of New Jersey, Middlesex
                      County, MID-L-000848-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  ACCURATE APPEND, INC.                                                  represented by JOHN E. MACDONALD
                                                                                        CONSTANGY, BROOKS, SMITH &
                                                                                        PROPHETE, LLP.
                                                                                        3120 PRINCETON PIKE
                                                                                        SUITE 301
                                                                                        LAWRENCEVILLE, NJ 08648
                                                                                        609-357-1183
                                                                                        Fax: 609-844-1102
                                                                                        Email:
                                                                                        JMACDONALD@CONSTANGY.COM
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?182906064111563-L_1_0-1                                                       2/8

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  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/25/2024             1 NOTICE OF REMOVAL by ACCURATE APPEND, INC. from Superior Court of
                            Middlesex County, case number MID-L-000848-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15211064), filed by ACCURATE APPEND, INC.. (Attachments: # 1
                            Exhibit A (State Court Complaint & Documents Served), # 2 Declaration of John E.
                            MacDonald, Esq., # 3 Exhibit 1-5 to Declaration of JEM)(MACDONALD, JOHN)
                            (Entered: 03/25/2024)
   03/26/2024             2 Corporate Disclosure Statement by ACCURATE APPEND, INC.. (MACDONALD,
                            JOHN) (Entered: 03/26/2024)
   03/28/2024             3 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Defendant Accurate Append, Inc.. Attorney JOHN E. MACDONALD for ACCURATE
                            APPEND, INC. added. (MACDONALD, JOHN) (Entered: 03/28/2024)
   03/30/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jjc, )
                              (Entered: 03/30/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Plaintiff Attorney
                              Information,Cause of Action,Nature of Suit,Party Information . The Clerk's Office has
                              made the appropriate changes. Please refer to the Attorney Case Opening Guide for
                              processing electronically filed cases. (amv) (Entered: 04/01/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed did not
                              include a Civil Cover Sheet (JS-44), which is required to be submitted along with the
                              initial pleading, as indicated in the Attorney Case Opening Guide. Please complete and file
                              a Civil Cover Sheet using the event Exhibit (to Document) found under Civil/Other
                              Filings/Other Documents. Please refer to the Attorney Case Opening Guide for processing
                              electronically filed cases. (amv) (Entered: 04/01/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?182906064111563-L_1_0-1                                                         3/8

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                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (amv) (Entered: 04/01/2024)
   04/01/2024                 Clerk`s Text Order - The 3 Application for Clerk's Order to Ext Answer/Proposed Order
                              submitted by ACCURATE APPEND, INC. has been GRANTED. The answer due date has
                              been set for 4/15/2024. (amv) (Entered: 04/01/2024)
   04/01/2024             4 Exhibit to QC - Civil Cover Sheet JS44,, 1 Notice of Removal, by ACCURATE APPEND,
                            INC.. (MACDONALD, JOHN) (Entered: 04/01/2024)
   04/01/2024             5 Diversity Disclosure Statement by ACCURATE APPEND, INC.. (MACDONALD, JOHN)
                            (Entered: 04/01/2024)
   04/02/2024             6 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/08/2024             7 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/10/2024             8 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case Number 3:24-cv-
                            4178 reallocated to Camden as 1:24-cv-4178. Case reassigned to Judge Harvey Bartle
                            (EDPA), III for all further proceedings. Judge Michael A. Shipp and Magistrate Judge
                            Tonianne J. Bongiovanni no longer assigned to case. So Ordered by Chief Judge Renee
                            Marie Bumb on 4/10/2024. (alg) (Entered: 04/10/2024)
   04/18/2024           10 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           11 ORDER: Plaintiffs, on or before May 3, 2024, shall file any motions to remand and any
                           supporting briefs. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, )
                           (Entered: 04/23/2024)
   04/22/2024             9 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                            motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                            Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                            (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           12 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/24/2024)

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   05/08/2024           15 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/14/2024)
   05/09/2024           13 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           14 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   06/03/2024           16 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/11/2024           17 MOTION for Joinder of Consolidated Motion to Dismiss by ACCURATE APPEND, INC..
                           (MACDONALD, JOHN) (Entered: 06/11/2024)
   06/12/2024                 Set Deadlines as to 17 MOTION for Joinder of Consolidated Motion to Dismiss. Motion
                              set for 7/15/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the
                              Court, this motion will be decided on the papers and no appearances are required. Note that
                              this is an automatically generated message from the Clerk`s Office and does not supersede
                              any previous or subsequent orders from the Court. (dmr) (Entered: 06/12/2024)
   06/13/2024           18 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   06/17/2024           19 Supplemental MOTION for Joinder of Consolidated Motion to Dismiss by ACCURATE
                           APPEND, INC.. (MACDONALD, JOHN) (Entered: 06/17/2024)
   06/20/2024                 Set Deadlines as to 19 Supplemental MOTION for Joinder of Consolidated Motion to
                              Dismiss. Motion set for 7/15/2024 before Judge Harvey Bartle (EDPA) III. Unless
                              otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (sms2) (Entered: 06/20/2024)


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   07/10/2024           20 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (bf, ) (Entered:
                           07/10/2024)
   08/06/2024           21 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           22 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           23 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 21
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           24 ORDER scheduling Oral Argument on defts.' motions to dismiss for 10/1/2024 at 01:30
                           PM in Camden - Courtroom 1 before Judge Harvey Bartle (EDPA) III.). Signed by Judge
                           Harvey Bartle (EDPA), III on August 27, 2024. (bf, ) (Entered: 08/27/2024)
   10/01/2024           25 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           26 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           27 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           28 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           29 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm)
                           (Entered: 11/27/2024)
   11/26/2024           30 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           31 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)

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   12/02/2024           32 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           33 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           34 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           35 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           36 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           37 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           38 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           39 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           40 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript

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                                                                         JA254
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                              Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                              (Entered: 02/25/2025)
   03/13/2025           41 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           42 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/19/2025           43 Letter from John E. MacDonald, Esq.. (MACDONALD, JOHN) (Entered: 03/19/2025)
   03/21/2025                 Filing fee: $605, receipt number NEW51700. (sms2) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals re Filing Fee Received. (sms2) (Entered: 03/21/2025)
   03/24/2025           44 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           45 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           46 NOTICE OF APPEAL by ACCURATE APPEND, INC.. Filing fee $ 605. The Clerk's
                           Office hereby certifies the record and the docket sheet available through ECF to be the
                           certified list in lieu of the record and/or the certified copy of the docket entries. (bf, )
                           (Entered: 03/28/2025)
   03/31/2025           47 USCA Case Number 25-1567 for 46 Notice of Appeal (USCA), filed by ACCURATE
                           APPEND, INC. USCA Case Manager Laurie (LMR) (Document Restricted - Court Only).
                           (ca3cjg ) (Entered: 03/31/2025)
   04/02/2025           48 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           49 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:28:20
                                    PACER                          Client
                                                     chuderem                     544877.010130
                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-04178-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     8             Cost:          0.80
                                    Pages:




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                                                                                                                             APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04256-HB


  ATLAS DATA PRIVACY CORPORATION v. ZILLOW, INC. et al Date Filed: 03/27/2024
  Assigned to: Judge Harvey Bartle (EDPA), III                Jury Demand: None
  Related Case: 1:24-cv-11023-HB                              Nature of Suit: 440 Civil Rights: Other
  Case in other court: Third Circuit, 25-01568                Jurisdiction: Diversity
                      Superior Court of New Jersey, County of
                      Bergen, BER-L-000874-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by JESSICA A MEREJO
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               STE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-577-5500
                                                                                        Email: jmerejo@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             PEM LAW LLP
                                                                                             1 BOLAND DRIVE
                                                                                             SUITE 101
                                                                                             WEST ORANGE, NJ 07052
                                                                                             973-585-5330
                                                                                             Email: rparikh@pemlawfirm.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE 1                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE 2                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?103619246081117-L_1_0-1                                                           1/10

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                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                          represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by JESSICA A MEREJO
                                                                                        (See above for address)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?103619246081117-L_1_0-1                                                       2/10

                                                                         JA257
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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Defendant
  ZILLOW, INC.                                                           represented by MELISSA JEAN BAYLY
                                                                                        BUCHANAN INGERSOLL & ROONEY
                                                                                        550 BROAD STREET
                                                                                        SUITE 810
                                                                                        NEWARK, NJ 07102
                                                                                        973-424-5604
                                                                                        Email: melissa.bayly@bipc.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KRISTA ANN ROSE
                                                                                             Buchanan Ingersoll & Rooney PC
                                                                                             Litigation
                                                                                             50 S 16th Street
                                                                                             Suite 3200
                                                                                             Philadelphia, PA 19102
                                                                                             215-665-5334
                                                                                             Email: krista.rose@bipc.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             JACQUELINE M. WEYAND
                                                                                             BUCHANAN INGERSOLL & ROONEY
                                                                                             PC
                                                                                             550 BROAD STREET
                                                                                             SUITE 810
                                                                                             NEWARK, NJ 07102-4582
                                                                                             212-440-4488
                                                                                             Email: jacqueline.weyand@bipc.com
                                                                                             TERMINATED: 09/05/2024
                                                                                             ATTORNEY TO BE NOTICED


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  Defendant
  ZILLOW GROUP, INC.                                                     represented by MELISSA JEAN BAYLY
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KRISTA ANN ROSE
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             JACQUELINE M. WEYAND
                                                                                             (See above for address)
                                                                                             TERMINATED: 09/05/2024
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES l-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/27/2024             1 NOTICE OF REMOVAL by ZILLOW GROUP, INC., ZILLOW, INC. from Superior
                            Court of New Jersey, Bergen County, case number BER-L-000874-24. ( Filing and Admin
                            fee $ 405 receipt number ANJDC-15218703), filed by ZILLOW GROUP, INC., ZILLOW,
                            INC.. (Attachments: # 1 Exhibit A - Copy of the Complaint and commencement
                            documents, # 2 Certificate of Service, # 3 Civil Cover Sheet)(WEYAND, JACQUELINE)
                            (Entered: 03/27/2024)
   03/27/2024             2 Corporate Disclosure Statement by ZILLOW, INC. identifying Zillow Group, Inc. as
                            Corporate Parent.. (WEYAND, JACQUELINE) (Entered: 03/27/2024)
   03/27/2024             3 Corporate Disclosure Statement by ZILLOW GROUP, INC. identifying NONE as
                            Corporate Parent.. (WEYAND, JACQUELINE) (Entered: 03/27/2024)




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                                                                         JA259
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   03/29/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Party Information - when
                              entering parties, enter all the parties in the latest complaint. The Clerk's Office has made
                              the appropriate changes. Please refer to the Attorney Case Opening Guide for processing
                              electronically filed cases. (jr) (Entered: 03/29/2024)
   03/29/2024                 Case assigned to Judge Evelyn Padin and Magistrate Judge Michael A. Hammer. (jr)
                              (Entered: 03/29/2024)
   04/02/2024             4 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Complaint.. (Attachments: # 1 Certificate of Service)(WEYAND, JACQUELINE)
                            (Entered: 04/02/2024)
   04/02/2024                 Clerk`s Text Order - The document 4 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by ZILLOW GROUP, INC., ZILLOW, INC. has been
                              GRANTED. The answer due date has been set for 4/17/2024. (qa, ) (Entered: 04/02/2024)
   04/02/2024             5 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Michael A. Hammer and Judge
                              Evelyn Padin no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/04/2024             6 Letter from Defendants Requesting Status Conference and Other Relief. (WEYAND,
                            JACQUELINE) (Entered: 04/04/2024)
   04/08/2024             7 Letter from Rajiv D. Parikh, Esq. in response to defendants letter re 6 Letter. (PARIKH,
                            RAJIV) (Entered: 04/08/2024)
   04/08/2024             8 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/10/2024             9 TEXT ORDER REALLOCATING CASE. Case Number 2:24-cv-4256 reallocated to
                            Camden as 1:24-cv-4256. So Ordered by Chief Judge Renee Marie Bumb on 4/10/2024.
                            (gxh) (Entered: 04/10/2024)
   04/16/2024           10 MOTION for Leave to Appear Pro Hac Vice regarding Samantha Southall by ZILLOW
                           GROUP, INC., ZILLOW, INC.. (Attachments: # 1 Certification of Jacqueline M. Weyand
                           in Support of Application for Pro Hac Vice Admission regarding Samantha Southall, # 2
                           Certification of Samantha Southall in Support of Application for her Pro Hac Vice
                           Admission, # 3 Text of Proposed Order)(WEYAND, JACQUELINE) (Entered:
                           04/16/2024)
   04/16/2024                 Set Deadlines as to 10 MOTION for Leave to Appear Pro Hac Vice regarding Samantha
                              Southall. Motion set for 5/20/2024 before Judge Harvey Bartle (EDPA) III. Unless
                              otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (sms2) (Entered: 04/16/2024)
   04/18/2024           11 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) . (Entered: 04/22/2024)


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   04/18/2024           14 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/22/2024           12 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           13 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/24/2024           15 ORDER Denying without prejudice 10 Motion for Leave to Appear Pro Hac Vice as to
                           Samantha Southall. Signed by Judge Harvey Bartle (EDPA), III on 4/24/2024. (dmr)
                           (Entered: 04/24/2024)
   05/01/2024           16 MOTION for Leave to Appear Pro Hac Vice regarding Samantha Southall by ZILLOW
                           GROUP, INC., ZILLOW, INC.. (Attachments: # 1 Certification of Samantha Southall in
                           Support of Application for Pro Hac Vice Admission, # 2 Text of Proposed Order)
                           (WEYAND, JACQUELINE) (Entered: 05/01/2024)
   05/02/2024                 Set Deadlines as to 16 MOTION for Leave to Appear Pro Hac Vice regarding Samantha
                              Southall. Motion set for 6/3/2024 before Judge Harvey Bartle (EDPA) III. Unless
                              otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (dmr) (Entered: 05/02/2024)
   05/07/2024           17 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/10/2024)
   05/08/2024           19 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           18 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript

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                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/10/2024)
   05/09/2024           21 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/14/2024           20 ORDER Granting 16 Motion for Leave to Appear Pro Hac Vice as to Samantha Southall.
                           Signed by Judge Harvey Bartle (EDPA), III on 5/2/2024. (dmr) (Entered: 05/14/2024)
   06/03/2024           22 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           23 Letter from Zillow Defendants Joining Consolidated Motion to Dismiss. (WEYAND,
                           JACQUELINE) (Entered: 06/10/2024)
   06/13/2024           24 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           25 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           26 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           27 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on August 15, 2024. (bf, ) (Entered: 08/15/2024)
   08/20/2024           28 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 26
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           29 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/05/2024           30 NOTICE of Appearance by MELISSA JEAN BAYLY on behalf of ZILLOW GROUP,
                           INC., ZILLOW, INC. (BAYLY, MELISSA) (Entered: 09/05/2024)
   09/05/2024           31 Substitution of Attorney - Attorney JACQUELINE M. WEYAND terminated. Attorney
                           MELISSA JEAN BAYLY for ZILLOW GROUP, INC.,MELISSA JEAN BAYLY for
                           ZILLOW, INC. added.. (BAYLY, MELISSA) (Entered: 09/05/2024)

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   09/13/2024           32 Letter from Melissa J. Bayly re Joinder in Defendants' Consolidated Reply. (BAYLY,
                           MELISSA) (Entered: 09/13/2024)
   09/26/2024           33 NOTICE of Appearance by KRISTA ANN ROSE on behalf of ZILLOW GROUP, INC.,
                           ZILLOW, INC. (ROSE, KRISTA) (Entered: 09/26/2024)
   10/01/2024           34 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           35 ORDER, The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (db, ) (Entered: 10/02/2024)
   10/08/2024           36 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/10/2024           37 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/14/2024           38 Letter from Zillow Joining Supplemental Memorandum of Law. (BAYLY, MELISSA)
                           (Entered: 10/14/2024)
   11/26/2024           39 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm)
                           (Entered: 11/27/2024)
   11/26/2024           42 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm, ) (Entered: 12/03/2024)
   12/02/2024           40 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           41 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           43 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           44 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)


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   12/10/2024           45 Corporate Disclosure Statement by JANE DOE 1, JANE DOE 2, ATLAS DATA
                           PRIVACY CORPORATION, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           46 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           47 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           48 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           49 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           50 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           51 Letter from Zillow, Inc. and Zillow Group, Inc. Joining the Consolidated Motion to
                           Dismiss Brief. (ROSE, KRISTA) (Entered: 03/18/2025)
   03/18/2025           52 MOTION to Dismiss Plaintiffs' Complaint by ZILLOW GROUP, INC., ZILLOW, INC..
                           (Attachments: # 1 Declaration, # 2 Text of Proposed Order)(ROSE, KRISTA) (Entered:
                           03/18/2025)
   03/18/2025           53 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)

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   03/19/2025                 Set Deadlines as to 52 MOTION to Dismiss Plaintiffs' Complaint. Motion set for
                              4/21/2025 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 03/19/2025)
   03/20/2025           54 NOTICE of Appearance by JESSICA A MEREJO on behalf of All Plaintiffs (MEREJO,
                           JESSICA) (Entered: 03/20/2025)
   03/21/2025                 USCA Filing Fee: $ 605, receipt number NEW51686. (mag) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (mag) (Entered: 03/21/2025)
   03/24/2025           55 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           56 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           57 NOTICE OF APPEAL by ZILLOW GROUP, INC., ZILLOW, INC.. Filing fee $ 605. The
                           Clerk's Office hereby certifies the record and the docket sheet available through ECF to be
                           the certified list in lieu of the record and/or the certified copy of the docket entries. (bf, )
                           (Entered: 03/28/2025)
   03/31/2025           58 USCA Case Number 25-1568 for 57 Notice of Appeal (USCA), filed by ZILLOW
                           GROUP, INC., ZILLOW, INC. USCA Case Manager Laurie (LMR) (Document Restricted
                           - Court Only). (ca3cjg) (Entered: 03/31/2025)
   04/02/2025           59 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           60 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:30:10
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                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-04256-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     9             Cost:          0.90
                                    Pages:




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                                                                                                                                APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04261-HB


  ATLAS DATA PRIVACY CORPORATION v EQUIMINE, INC.                                           Date Filed: 03/27/2024
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Jury Demand: None
  Related Cases: 1:24-cv-11023-HB                                                           Nature of Suit: 440 Civil Rights: Other
                  1:24-cv-10600-HB                                                          Jurisdiction: Diversity
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01569
                      SUPERIOR COURT OF NEW JERSEY,
                      MONMOUTH COUNTY, MON L 000535 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff


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  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           (See above for address)
  as assignee of individuals who are Covered                                            LEAD ATTORNEY
  Persons                                                                               ATTORNEY TO BE NOTICED


  V.
  Defendant
  EQUIMINE, INC.                                                         represented by FREDERICK W. ALWORTH
  doing business as                                                                     GIBBONS, PC
  PROPSTREAM                                                                            ONE GATEWAY CENTER
                                                                                        NEWARK, NJ 07102-5310
                                                                                        (973) 596-4500
                                                                                        Email: falworth@gibbonslaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            KEVIN REED REICH
                                                                                            GIBBONS PC
                                                                                            ONE GATEWAY CENTER
                                                                                            NEWARK, NJ 07102
                                                                                            973-596-4689
                                                                                            Email: kreich@gibbonslaw.com
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?157650969183435-L_1_0-1                                                      2/8

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  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/27/2024             1 NOTICE OF REMOVAL by EQUIMINE, INC. D/B/A PROPSTREAM from Superior
                            Court of New Jersey, Monmouth County, case number MON-L-535-24. ( Filing and
                            Admin fee $ 405 receipt number ANJDC-15219063), filed by EQUIMINE, INC. D/B/A
                            PROPSTREAM. (Attachments: # 1 Exhibit A - Copies of all State Court filings, # 2
                            Exhibit B - Declaration of Kevin R. Reich with exhibits, # 3 Exhibit C - Notice of Filing
                            Notice of Removal, # 4 Civil Cover Sheet, # 5 Certification Pursuant to Local Civil Rule
                            11.2, # 6 Certificate of Service)(REICH, KEVIN) (Entered: 03/27/2024)
   03/27/2024             2 Corporate Disclosure Statement by EQUIMINE, INC. D/B/A PROPSTREAM identifying
                            Stewart Information Services Corp. as Corporate Parent.. (REICH, KEVIN) (Entered:
                            03/27/2024)
   03/27/2024             3 Diversity Disclosure Statement by EQUIMINE, INC. D/B/A PROPSTREAM. (REICH,
                            KEVIN) (Entered: 03/27/2024)
   03/27/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (mlh)
                              (Entered: 03/28/2024)
   04/01/2024             4 Application and Proposed Order for Clerk's Order to extend time to answer as to Plaintiff's
                            Complaint.. (Attachments: # 1 Certificate of Service)(REICH, KEVIN) (Entered:
                            04/01/2024)
   04/01/2024                 Clerk`s Text Order - The 4 Application for Clerk's Order Extending Time to Answer
                              Proposed Order submitted by EQUIMINE, INC. has been GRANTED. The answer due
                              date has been set for 4/17/2024. (jdg) (Entered: 04/01/2024)
   04/02/2024             5 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United


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                              States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                              Judge Michael A. Chagares (USCA) on 4/2/2024. (gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/08/2024             6 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             7 TEXT ORDER REALLOCATING CASE. Case Number 3:24-cv-4261 reallocated to
                            Camden as 1:24-cv-4261. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                            (eaj) (Entered: 04/10/2024)
   04/18/2024             8 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney List) (db, ) . (Entered: 04/22/2024)
   04/18/2024           11 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/22/2024             9 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                            Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                            REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                            MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                            with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                            Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                            or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                            utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                            Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                            Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                            (Entered: 04/22/2024)
   04/22/2024           10 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   05/07/2024           12 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           13 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/13/2024)
   05/09/2024           14 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           15 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?157650969183435-L_1_0-1                                                       4/8

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                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/14/2024)
   06/03/2024           16 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           17 Letter from Kevin R. Reich, Esq. joining Consolidated Motion to Dismiss Plaintiffs'
                           Complaint. (REICH, KEVIN) (Entered: 06/10/2024)
   06/13/2024           18 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           19 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           20 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           21 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           22 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 20
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           23 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   10/01/2024           24 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           25 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
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   10/08/2024           26 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (lm, ) (Entered: 10/09/2024)
   10/08/2024           27 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (db, ) (Entered: 10/09/2024)
   10/09/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please note the Transcript attached to
                              docket entry 27 filed by the Clerk's office on 10/8/2024 was docketed in error as
                              duplicative. Please disregard. (tf, ) (Entered: 10/09/2024)
   10/10/2024           28 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           29 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm)
                           (Entered: 11/27/2024)
   11/26/2024           30 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           31 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           32 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           33 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           34 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           35 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
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                              MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                              identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                              (Entered: 12/10/2024)
   12/12/2024           36 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           37 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           38 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           39 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           40 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           41 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           42 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           43 Letter from Kevin R. Reich, Esq. joining Consolidated Motions to Dismiss Plaintiffs'
                           Complaint. (REICH, KEVIN) (Entered: 03/18/2025)
   03/18/2025           44 BRIEF , Supplemental Brief in Support of Defendants' Consolidated Motion to Dismiss the
                           Complaint for Lack of Personal Jurisdiction (Attachments: # 1 Declaration of Brian
                           Tepfer, # 2 Certificate of Service)(REICH, KEVIN) (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number CAM143171. (js) (Entered: 03/20/2025)
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   03/20/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/20/2025)
   03/24/2025           45 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/24/2025           46 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           47 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           48 NOTICE OF APPEAL by EQUIMINE, INC.. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (bf, ) (Entered:
                           03/28/2025)
   03/31/2025           49 USCA Case Number 25-1569 for 48 Notice of Appeal (USCA), filed by EQUIMINE,
                           INC.. USCA Case Manager Laurie (LMR) (Document Restricted - Court Only). (ca3cjg)
                           (Entered: 03/31/2025)
   04/02/2025           50 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           51 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                                     Docket       Search         1:24-cv-04261-HB Start date:
                                    Description:
                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7            Cost:          0.70
                                    Pages:




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                                                                                                                                APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04269-HB


  ATLAS DATA PRIVACY CORPORATION et al v. THOMSON                                           Date Filed: 03/27/2024
  REUTERS CORPORATION et al                                                                 Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Nature of Suit: 440 Civil Rights: Other
  Related Case: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
  Case in other court: Third Circuit, 25-01570
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
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                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  THOMSON REUTERS                                                        represented by MICHAEL LOUIS BERRY
  CORPORATION                                                                           Ballard Spahr LLP
                                                                                        1735 Market St.
                                                                                        51st Floor
                                                                                        Philadelphia, PA 19103
                                                                                        215-988-9773
                                                                                        Email: berrym@ballardspahr.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            MARCEL S. PRATT
                                                                                            BALLARD SPAHR LLP
                                                                                            1735 MARKET STREET
                                                                                            51ST FLOOR
                                                                                            PHILADELPHIA, PA 19103
                                                                                            215-864-8506
                                                                                            Email: prattm@ballardspahr.com
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  THOMSON REUTERS HOLDINGS                                               represented by MICHAEL LOUIS BERRY
  INC.                                                                                  (See above for address)
  TERMINATED: 12/10/2024                                                                ATTORNEY TO BE NOTICED

                                                                                            MARCEL S. PRATT
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

  Defendant

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  THOMSON REUTERS CANADA                                                 represented by MICHAEL LOUIS BERRY
  LIMITED                                                                               (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            MARCEL S. PRATT
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  THOMSON REUTERS APPLICATIONS                                           represented by MICHAEL LOUIS BERRY
  INC.                                                                                  (See above for address)
  TERMINATED: 12/10/2024                                                                ATTORNEY TO BE NOTICED

                                                                                            MARCEL S. PRATT
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Defendant
  THOMSON REUTERS ENTERPRISE                                             represented by MICHAEL LOUIS BERRY
  CENTRE GMBH                                                                           (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            MARCEL S. PRATT
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  WEST PUBLISHING CORPORATION                                            represented by MICHAEL LOUIS BERRY
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            MARCEL S. PRATT
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/27/2024             1 NOTICE OF REMOVAL by THOMSON REUTERS CANADA LIMITED, THOMSON
                            REUTERS HOLDINGS, INC., THOMSON REUTERS APPLICATIONS, INC.,
                            THOMSON REUTERS CORPORATION from Superior Court of New Jersey Morris
                            County, case number MRS L 000320 24. ( Filing and Admin fee $ 405 receipt number
                            ANJDC-15219326), filed by THOMSON REUTERS CANADA LIMITED, THOMSON
                            REUTERS HOLDINGS, INC., THOMSON REUTERS APPLICATIONS, INC.,
                            THOMSON REUTERS CORPORATION. (Attachments: # 1 Civil Cover Sheet, # 2

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                              Exhibit A - State Court Docket, # 3 Exhibit B - Declaration)(PRATT, MARCEL) (Entered:
                              03/27/2024)
   03/29/2024                 Case assigned to Judge Evelyn Padin and Magistrate Judge Michael A. Hammer. (jr)
                              (Entered: 03/29/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (wh) (Entered: 04/01/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a corporate disclosure statement is required to be filed by a nongovernmental
                              corporate party or intervenor. Please refer to the Court's website at www.njd.uscourts.gov
                              for a form and filing instructions. (wh) (Entered: 04/01/2024)
   04/01/2024             2 Application and Proposed Order for Clerk's Order to extend time to answer as to Plaintiffs'
                            Complaint.. (Attachments: # 1 Text of Proposed Order, # 2 Certificate of Service)(PRATT,
                            MARCEL) (Entered: 04/01/2024)
   04/02/2024                 Clerk`s Text Order - The document 2 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by THOMSON REUTERS CANADA LIMITED,
                              THOMSON REUTERS HOLDINGS INC., THOMSON REUTERS APPLICATIONS
                              INC., and THOMSON REUTERS CORPORATION has been GRANTED. The answer due
                              date has been set for 4/17/2024. (wh) (Entered: 04/02/2024)
   04/02/2024             3 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Michael A. Hammer and Judge
                              Evelyn Padin no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/03/2024             4 Corporate Disclosure Statement by THOMSON REUTERS APPLICATIONS INC.,
                            THOMSON REUTERS CANADA LIMITED, THOMSON REUTERS CORPORATION,
                            THOMSON REUTERS HOLDINGS INC.. (PRATT, MARCEL) (Entered: 04/03/2024)
   04/08/2024             5 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             6 TEXT ORDER REALLOCATING CASE. Case Number 2:24-cv-4269 reallocated to
                            Camden as 1:24-cv-4269. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                            (gxh) (Entered: 04/09/2024)
   04/17/2024             7 MOTION for Leave to Appear Pro Hac Vice for John W. Scott by THOMSON REUTERS
                            APPLICATIONS INC., THOMSON REUTERS CANADA LIMITED, THOMSON
                            REUTERS CORPORATION, THOMSON REUTERS HOLDINGS INC.. (PRATT,
                            MARCEL) (Entered: 04/17/2024)



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   04/17/2024             8 Letter from Marcel Pratt to Honorable Judge Bartle. (PRATT, MARCEL) (Entered:
                            04/17/2024)
   04/17/2024             9 ORDER granting 7 Motion for Leave to Appear Pro Hac Vice as to John W. Scott. Signed
                            by Judge Harvey Bartle (EDPA), III on 4/17/2024. (lm) (Entered: 04/18/2024)
   04/18/2024                 Set Deadlines as to 7 MOTION for Leave to Appear Pro Hac Vice for John W. Scott.
                              Motion set for 5/20/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise
                              directed by the Court, this motion will be decided on the papers and no appearances are
                              required. Note that this is an automatically generated message from the Clerk`s Office and
                              does not supersede any previous or subsequent orders from the Court. (dmr) (Entered:
                              04/18/2024)
   04/18/2024           10 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           13 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/22/2024           11 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/22/2024           12 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/25/2024           14 Notice of Request by Pro Hac Vice John W. Scott to receive Notices of Electronic Filings. (
                           Pro Hac Vice fee $ 250 receipt number ANJDC-15318395.) (PRATT, MARCEL) (Entered:
                           04/25/2024)
   04/26/2024                 Pro Hac Vice counsel, JOHN W. SCOTT, has been added to receive Notices of Electronic
                              Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and file papers,
                              enter appearances and receive payments on judgments, decrees or orders. (sms2) (Entered:
                              04/26/2024)
   05/03/2024           15 MOTION to Remand (consolidated) by All Plaintiffs. (Attachments: # 1 Brief, # 2
                           Certification of Rajiv D. Parikh, # 3 Exhibit A - F to certification, # 4 Certification
                           pursuant to L. Civ. R. 11.2, # 5 Text of Proposed Order)(PARIKH, RAJIV) (Entered:
                           05/03/2024)
   05/07/2024           16 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/09/2024)

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   05/08/2024           17 ORDER setting deadlines for the filing of certain motions and briefs, and staying action
                           until further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/24.
                           (ar1, ) (Entered: 05/09/2024)
   05/09/2024           18 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/10/2024)
   05/14/2024           19 ORDER: The Court will conduct a Status Conference on 6/3/2024 at 10:00 AM in Camden
                           - Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/13/2024. (eh, ) (Entered: 05/14/2024)
   06/03/2024           20 Letter from Rajiv D. Parikh, Esq. regarding Subject Matter Jurisdiction Discovery
                           Disputes. (Attachments: # 1 Text of Proposed Order regarding Jurisdiction Discovery)
                           (PARIKH, RAJIV) (Entered: 06/03/2024)
   06/03/2024           21 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 6/3/2024. Order to be entered. (Court Reporter, John Kurz (856-576-
                           7094)) (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm) (Entered: 06/03/2024)
   06/03/2024           22 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/03/2024           23 ORDER setting deadlines for production of certain documents, parties to meet and briefs
                           to be filed. Signed by Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered:
                           06/05/2024)
   06/10/2024           24 Letter from Marcel Pratt - - Joinder in Defendants' Consolidated Motion to Dismiss
                           Plaintiffs' Complaint. (PRATT, MARCEL) (Entered: 06/10/2024)
   06/13/2024           25 ORDER directing parties to report status of discussions regarding pltfs.' production of a
                           privilege log on or before 6/20/24. Signed by Judge Harvey Bartle (EDPA), III on
                           6/13/2024. (bf, ) (Entered: 06/13/2024)
   06/13/2024           26 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   06/14/2024           27 NOTICE of Appearance by MICHAEL LOUIS BERRY on behalf of THOMSON
                           REUTERS APPLICATIONS INC., THOMSON REUTERS CANADA LIMITED,
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?172696710936491-L_1_0-1                                                      6/12

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                              THOMSON REUTERS CORPORATION, THOMSON REUTERS HOLDINGS INC.
                              (BERRY, MICHAEL) (Entered: 06/14/2024)
   06/14/2024           28 NOTICE by THOMSON REUTERS APPLICATIONS INC., THOMSON REUTERS
                           CANADA LIMITED, THOMSON REUTERS CORPORATION, THOMSON REUTERS
                           HOLDINGS INC. of Supplemental Brief in Support of Consolidated Motion to Dismiss
                           (BERRY, MICHAEL) (Entered: 06/14/2024)
   06/20/2024           29 ORDER directing pltfs. to produce a privilege log to defts. on or before 7/31/2024 purs. to
                           terms set forth in letter dated 6/19/24. Signed by Judge Harvey Bartle (EDPA), III on
                           6/20/2024. (db, ) (Entered: 06/20/2024)
   07/10/2024           30 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   07/24/2024           31 ORDER vacating 6/3/2024 Order re: discovery & subject matter jurisdiction briefing;
                           setting briefing schedule for opposition to motion for remand, etc. Signed by Judge Harvey
                           Bartle (EDPA), III on 7/24/2024. (lm, ) (Entered: 07/24/2024)
   08/06/2024           32 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           33 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           34 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 32
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           35 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/13/2024           36 BRIEF in Support of Defendants' Consolidated Motion to Dismiss Plaintiff's Complaint
                           (BERRY, MICHAEL) (Entered: 09/13/2024)
   09/16/2024           37 RESPONSE in Opposition filed by THOMSON REUTERS APPLICATIONS INC.,
                           THOMSON REUTERS CANADA LIMITED, THOMSON REUTERS CORPORATION,
                           THOMSON REUTERS HOLDINGS INC. re 15 MOTION to Remand (consolidated)
                           (Attachments: # 1 Exhibit 1)(BERRY, MICHAEL)

                              NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single, consolidated
                              motion to seal shall be filed within 14 days following the completed briefing of the materials sought to be
                              sealed, or within 14 days following the date on which the last of such materials was filed under temporary seal
                              if the motion is resolved, unless otherwise directed by the Court. (Entered: 09/16/2024)

   09/16/2024           38 RESPONSE in Opposition filed by THOMSON REUTERS APPLICATIONS INC.,
                           THOMSON REUTERS CANADA LIMITED, THOMSON REUTERS CORPORATION,
                           THOMSON REUTERS HOLDINGS INC. re 15 MOTION to Remand (consolidated)
                           (Attachments: # 1 Exhibit 1-3)(BERRY, MICHAEL) (Entered: 09/16/2024)
   09/26/2024           39 ORDER, The Court will hold Oral Argument on Tuesday, October 22, 2024 at 10:00 a.m.
                           in Courtroom No. 1 in the United States Courthouse in Camden, New Jersey regarding the

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                              motions of Plaintiffs to remand the above actions to the Superior Court of New Jersey.
                              Signed by Judge Harvey Bartle (EDPA), III on 09/26/2024. (db, ) (Entered: 09/26/2024)
   09/30/2024           40 NOTICE by THOMSON REUTERS APPLICATIONS INC., THOMSON REUTERS
                           CANADA LIMITED, THOMSON REUTERS CORPORATION, THOMSON REUTERS
                           HOLDINGS INC. Withdrawal of Appearance of John Scott (PRATT, MARCEL) (Entered:
                           09/30/2024)
   10/01/2024           41 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           42 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           43 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (db, ) (Entered: 10/09/2024)
   10/10/2024           44 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/10/2024           45 RESPONSE in Support filed by All Plaintiffs re 15 MOTION to Remand (consolidated)
                           (Attachments: # 1 Certification of Rajiv Parikh, # 2 Exhibit A, # 3 Certificate of Service)
                           (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/11/2024           46 BRIEF (Supplemental) of the Thomson Reuters Defendants in Support of Their Motion to
                           Dismiss Plaintiff's Complaint (BERRY, MICHAEL) (Entered: 10/11/2024)
   10/22/2024           47 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Motion
                           Hearing held on 10/22/2024 re 15 MOTION to Remand (consolidated) filed by PETER
                           ANDREYEV, SCOTT MALONEY, WILLIAM SULLIVAN, JUSTYNA MALONEY,
                           ATLAS DATA PRIVACY CORPORATION, PATRICK COLLIGAN, EDWIN
                           MALDONADO, JANE DOE-1, JANE DOE-2. Motion taken under advisement. (Court
                           Reporter, Sharon Ricci (267-249-8780)) (lm, ) (Additional attachment(s) added on
                           10/22/2024: # 1 ATTORNEY SIGN-IN SHEET) (lm). (Entered: 10/22/2024)




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   10/28/2024           48 Transcript of Motion hearing held on 10/22/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 11/18/2024. Redacted
                           Transcript Deadline set for 12/2/2024. Release of Transcript Restriction set for 1/27/2025.
                           (lm) (Entered: 10/29/2024)
   11/13/2024           49 Proposed Order to Seal Documents Filed in Connection with Plaintiffs' Motion to Remand
                           by All Plaintiffs. (Attachments: # 1 Exhibit 1 to Proposed Order to Seal Documents)
                           (MEREJO, JESSICA) (Entered: 11/13/2024)
   11/20/2024           51 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/20/2024. (lm)
                           (Entered: 11/21/2024)
   11/20/2024           52 ORDER granting 15 Motion to Remand. Signed by Judge Harvey Bartle (EDPA), III on
                           11/20/2024. (lm, ) (Entered: 11/21/2024)
   11/21/2024           50 Letter from Marcel S. Pratt and Michael Berry Seeking Stay of Transmittal to State Court.
                           (Attachments: # 1 Text of Proposed Order)(BERRY, MICHAEL) (Entered: 11/21/2024)
   11/21/2024           53 Transmittal Letter for remanded case to Morris County Courthouse
                           Washington & Court Streets
                           Morristown, NJ 07963-0910 State No: MRS-L-000320-24. Mailed certified copy of the
                           Order remanding case. (lm, ) (Entered: 11/21/2024)
   11/21/2024                 ***Civil Case Terminated. (lm, ) (Entered: 11/21/2024)
   11/21/2024           54 Letter from Marcel S. Pratt, Michael Berry. (Attachments: # 1 Exhibit A)(BERRY,
                           MICHAEL) (Entered: 11/21/2024)
   11/21/2024           55 ORDER re Important Notice scheduling a telephone conference for 11/21/2024 at 12:00
                           p.m. (EST) before the Honorable Harvey Bartle III. Signed by Judge Harvey Bartle
                           (EDPA), III on 11/21/2024. (dmr) (Entered: 11/21/2024)
   11/21/2024           56 ORDER: (1) The Clerk's Office shall refrain from mailing a certified copy of the Remand
                           Order in this action to the Superior Court of New Jersey, Law Division in Morris County
                           until further notice; (2) Defendants shall file any Motion for Reconsideration together with
                           a supporting brief on or before December 2, 2024; and (3) Plaintiffs shall file any opposing
                           brief on or before December 10, 2024. Signed by Judge Harvey Bartle (EDPA), III on
                           11/21/2024. (lm) (Entered: 11/21/2024)
   12/02/2024           57 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           58 MOTION for Reconsideration re 52 Order on Motion to Remand by THOMSON
                           REUTERS CORPORATION, THOMSON REUTERS HOLDINGS INC., THOMSON
                           REUTERS CANADA LIMITED, THOMSON REUTERS APPLICATIONS INC..
                           (Attachments: # 1 Brief, # 2 Ex. 1- transcript excerpt, # 3 Proposed Order)(PRATT,
                           MARCEL) (Entered: 12/02/2024)
   12/02/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised the 58 -2 Motion for
                              Reconsideration submitted by MARCEL S. PRATT on 12/2/2024 is not filed pursuant to

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?172696710936491-L_1_0-1                                                      9/12

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                              the Courts Transcript Policy. Only certified official court reporters or transcription agencies
                              are permitted to electronically file official court transcripts. The Clerk's Office has sealed
                              the transcript exhibit pursuant to the procedure of the Court and at the Courts direction.
                              This message is for informational purposes. (sms2) (Entered: 12/02/2024)
   12/02/2024                 Set Deadlines as to 58 MOTION for Reconsideration re 52 Order on Motion to Remand.
                              Motion set for 1/6/2025 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed
                              by the Court, this motion will be decided on the papers and no appearances are required.
                              Note that this is an automatically generated message from the Clerk`s Office and does not
                              supersede any previous or subsequent orders from the Court. (sms2) (Entered: 12/02/2024)
   12/10/2024           59 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           60 STIPULATION (Amended) and Proposed Order Regarding Substitution of Parties by
                           THOMSON REUTERS HOLDINGS INC., THOMSON REUTERS APPLICATIONS
                           INC.. (BERRY, MICHAEL) (Entered: 12/10/2024)
   12/10/2024           61 Corporate Disclosure Statement by PETER ANDREYEV, WILLIAM SULLIVAN, JANE
                           DOE-1, JANE DOE-2, ATLAS DATA PRIVACY CORPORATION, EDWIN
                           MALDONADO, PATRICK COLLIGAN, SCOTT MALONEY, JUSTYNA MALONEY
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/10/2024           62 AMENDED STIPULATION AND ORDER REGARDING SUBSTITUTION OF
                           PARTIES PURSUANT TO FED. R. CIV. P. 21. Signed by Judge Harvey Bartle (EDPA),
                           III on 12/10/2024. (sms2) (Entered: 12/11/2024)
   12/12/2024           63 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   12/16/2024           64 ORDER unsealing certain listed materials and maintaining other listed materials under seal
                           until further Order of the Court. Signed by Judge Harvey Bartle (EDPA), III on
                           12/16/2024. (lm) (Entered: 12/17/2024)
   12/17/2024           65 Exhibit to 38 Response in Opposition to Motion, Ex. 1 redacting irrelevant material
                           pursuant to Court Order by THOMSON REUTERS ENTERPRISE CENTRE GMBH,
                           WEST PUBLISHING CORPORATION. (BERRY, MICHAEL) (Entered: 12/17/2024)
   12/20/2024           66 Corporate Disclosure Statement by THOMSON REUTERS ENTERPRISE CENTRE
                           GMBH, WEST PUBLISHING CORPORATION identifying Thomson Reuters Corp. as
                           Corporate Parent.. (BERRY, MICHAEL) (Entered: 12/20/2024)
   01/14/2025           67 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           68 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?172696710936491-L_1_0-1                                                      10/12

                                                                         JA283
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   02/18/2025           69 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                           (Entered: 02/18/2025)
   02/25/2025           70 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           71 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           72 MOTION to Dismiss by THOMSON REUTERS CANADA LIMITED, THOMSON
                           REUTERS CORPORATION, THOMSON REUTERS ENTERPRISE CENTRE GMBH,
                           WEST PUBLISHING CORPORATION. (Attachments: # 1 Brief, # 2 Text of Proposed
                           Order)(PRATT, MARCEL) (Entered: 03/18/2025)
   03/18/2025           73 Letter from Marcel S. Pratt. (PRATT, MARCEL) (Entered: 03/18/2025)
   03/18/2025                 Set Deadlines as to 72 MOTION to Dismiss. Motion set for 4/21/2025 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (mag) (Entered: 03/19/2025)
   03/19/2025                 USCA Filing fee: $ 605, receipt number CAM143154. (js) (Entered: 03/20/2025)
   03/20/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/20/2025)
   03/24/2025           74 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           75 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           76 NOTICE OF APPEAL by THOMSON REUTERS APPLICATIONS INC., THOMSON
                           REUTERS CANADA LIMITED, THOMSON REUTERS CORPORATION, THOMSON
                           REUTERS ENTERPRISE CENTRE GMBH, THOMSON REUTERS HOLDINGS INC.,
                           WEST PUBLISHING CORPORATION. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?172696710936491-L_1_0-1                                                      11/12

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                              lieu of the record and/or the certified copy of the docket entries. (bf, ) (Entered:
                              03/28/2025)
   03/31/2025           77 USCA Case Number 25-1570 for 76 Notice of Appeal (USCA), filed by THOMSON
                           REUTERS CANADA LIMITED, THOMSON REUTERS ENTERPRISE CENTRE
                           GMBH, THOMSON REUTERS HOLDINGS INC., THOMSON REUTERS
                           CORPORATION, WEST PUBLISHING CORPORATION, THOMSON REUTERS
                           APPLICATIONS INC. USCA Case Manager Laurie (LMR) (Document Restricted - Court
                           Only). (ca3cjg) (Entered: 03/31/2025)
   04/02/2025           78 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           79 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 12:33:11
                                    PACER                          Client
                                                     chuderem                     544877.010130
                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-04269-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     11            Cost:          1.10
                                    Pages:




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                                                                                                                                APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04292-HB


  ATLAS DATA PRIVACY CORPORATION et al v. MELISSA                                           Date Filed: 03/27/2024
  DATA CORP. et al                                                                          Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                           Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01571
                      Superior Court of New Jersey Morris County,
                      MRS-L-224-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  AS ASSIGNEE OF INDIVIDUALS WHO                                                        1 BOLAND DRIVE
  ARE COVERED PERSON                                                                    SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?204109822419367-L_1_0-1                                                                1/9

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  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  MELISSA DATA CORP.                                                     represented by DAVID M. STEWART
                                                                                        STEVENS & LEE
                                                                                        669 RIVER DRIVE
                                                                                        SUITE 201
                                                                                        ELMWOOD PARK, NJ 07962
                                                                                        201-857-6773
                                                                                        Email: david.stewart@stevenslee.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            OMAR MAROUF
                                                                                            Riker Danzig LLP
                                                                                            One Speedwell Avenue
                                                                                            Morristown, NJ 07962
                                                                                            973-451-8465
                                                                                            Email: omarouf@riker.com
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            SARAH HEBA-ESCOBAR
                                                                                            Riker Danzig LLP
                                                                                            One Speedwell Avenue
                                                                                            Morristown, NJ 07962
                                                                                            973-451-8541
                                                                                            Email: sheba@riker.com
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            MICHAEL P. O'MULLAN
                                                                                            RIKER, DANZIG, SCHERER, HYLAND
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?204109822419367-L_1_0-1                                                        2/9

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                                                                                            & PERRETTI, LLP
                                                                                            HEADQUARTERS PLAZA
                                                                                            ONE SPEEDWELL AVENUE
                                                                                            MORRISTOWN, NJ 07962-1981
                                                                                            (973) 538-0800
                                                                                            Email: momullan@riker.com
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown entities

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/27/2024             1 NOTICE OF REMOVAL by ABC COMPANIES 1-10, FICTITIOUS NAMES OF
                            UNKNOWN ENTITIES, Melissa Data Corp., RICHARD ROES 1-10, FICTITIOUS
                            NAMES OF UNKNOWN INDIVIDUALS from Superior Court of New Jersey, Ocean
                            County, Morris County, Morris County, case number MRS-L-000224-24. ( Filing and
                            Admin fee $ 405 receipt number ANJDC-15221571), filed by ABC COMPANIES 1-10,
                            FICTITIOUS NAMES OF UNKNOWN ENTITIES, Melissa Data Corp., RICHARD
                            ROES 1-10, FICTITIOUS NAMES OF UNKNOWN INDIVIDUALS. (Attachments: # 1
                            Civil Cover Sheet)(O'MULLAN, MICHAEL) (Entered: 03/27/2024)
   03/27/2024             2 Corporate Disclosure Statement by ABC COMPANIES 1-10, FICTITIOUS NAMES OF
                            UNKNOWN ENTITIES, Melissa Data Corp., RICHARD ROES 1-10, FICTITIOUS
                            NAMES OF UNKNOWN INDIVIDUALS. (O'MULLAN, MICHAEL) (Entered:
                            03/27/2024)
   03/28/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Party Information. The Clerk's
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?204109822419367-L_1_0-1                                                      3/9

                                                                         JA288
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                              Office has made the appropriate changes. Please refer to the Guide to Searching and
                              Entering Parties located at
                              https://www.njd.uscourts.gov/sites/njd/files/PartyNameGuideforAttorneys.pdf. (jr)
                              (Entered: 03/28/2024)
   03/29/2024                 Case assigned to Judge Evelyn Padin and Magistrate Judge Michael A. Hammer. (jr)
                              (Entered: 03/29/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (lag, ) (Entered: 04/01/2024)
   04/01/2024             3 RECUSAL LETTER ORDER. Magistrate Judge Michael A. Hammer recused. Case
                            reassigned to Magistrate Judge Jessica S. Allen for all further proceedings. Signed by
                            Magistrate Judge Michael A. Hammer on 4/1/2024. (dam) (Entered: 04/01/2024)
   04/02/2024             4 Diversity Disclosure Statement by ABC COMPANIES 1-10, MELISSA DATA CORP.,
                            RICHARD ROES 1-10. (O'MULLAN, MICHAEL) (Entered: 04/02/2024)
   04/02/2024             5 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 04/02/24. (aw, ) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Jessica S. Allen and Judge
                              Evelyn Padin no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/08/2024             6 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             7 TEXT ORDER REALLOCATING CASE. Case Number 2:24-cv-4292 reallocated to
                            Camden as 1:24-cv-4292. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                            (gxh) (Entered: 04/09/2024)
   04/10/2024             8 NOTICE of Appearance by DAVID M. STEWART on behalf of MELISSA DATA CORP.
                            (STEWART, DAVID) (Entered: 04/10/2024)
   04/18/2024             9 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           12 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24.. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)




https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?204109822419367-L_1_0-1                                                         4/9

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   04/22/2024           10 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           11 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   05/07/2024           13 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           14 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/13/2024)
   05/09/2024           15 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           16 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   06/03/2024           17 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           18 Letter from Michael P. O'Mullan to Court re joinder in Defendants' Consolidated Motion to
                           Dismiss Plaintiff's Complaint. (O'MULLAN, MICHAEL) (Entered: 06/10/2024)
   06/13/2024           19 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?204109822419367-L_1_0-1                                                       5/9

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                              Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                              by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                              Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   06/14/2024           20 Letter from Michael O'Mullan, Esq., joining in Supplemental Motion to Dismiss
                           Complaint. (O'MULLAN, MICHAEL) (Entered: 06/14/2024)
   07/10/2024           21 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           22 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           23 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           24 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 22
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           25 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/13/2024           26 Letter from Michael O'Mullan to Court dated 9-13-24 re Joinder to Whitepages Motion to
                           dismiss reply. (O'MULLAN, MICHAEL) (Entered: 09/13/2024)
   09/13/2024           27 Letter from Michael P. O'Mullan to Court dated 9-13-24 re Joinder to motion to dismiss
                           reply. (O'MULLAN, MICHAEL) (Entered: 09/13/2024)
   09/16/2024           28 Letter from Michael O'Mullan to Court dated 9-16-24. (O'MULLAN, MICHAEL)
                           (Entered: 09/16/2024)
   10/01/2024           29 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           30 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/03/2024           31 NOTICE of Appearance by SARAH HEBA-ESCOBAR on behalf of MELISSA DATA
                           CORP. (HEBA-ESCOBAR, SARAH) (Entered: 10/03/2024)
   10/08/2024           32 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?204109822419367-L_1_0-1                                                      6/9

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                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (db, ) (Entered: 10/09/2024)
   10/10/2024           33 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/11/2024           34 Letter from Michael O'Mullan to Court dated 10-11-24 re Joinder in Supplemental Memo
                           in Support of Motion to Dismiss. (O'MULLAN, MICHAEL) (Entered: 10/11/2024)
   11/26/2024           35 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           36 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           37 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           38 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           39 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           40 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           41 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV identifying Atlas Data Privacy
                           Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           42 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           43 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           44 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           45 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?204109822419367-L_1_0-1                                                      7/9

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                              REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                              Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (mag)
                              (Entered: 02/18/2025)
   02/25/2025           46 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           47 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           48 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           49 Letter from Michael P. O'Mullan joining Consolidated Motions to Dismiss Plaintiffs'
                           Complaint. (O'MULLAN, MICHAEL) (Entered: 03/18/2025)
   03/18/2025           50 Supplemental MOTION to Dismiss for Lack of Jurisdiction by MELISSA DATA CORP..
                           (Attachments: # 1 Certification Certification of John Melissa Jr., # 2 Certificate of Service)
                           (O'MULLAN, MICHAEL) (Entered: 03/18/2025)
   03/19/2025                 USCA Filing fee: $605, receipt number CAM143153. (js) (Entered: 03/20/2025)
   03/20/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/20/2025)
   03/24/2025           51 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           52 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           53 NOTICE OF APPEAL by MELISSA DATA CORP.. Filing fee $ 605. The Clerk's Office
                           hereby certifies the record and the docket sheet available through ECF to be the certified
                           list in lieu of the record and/or the certified copy of the docket entries. (bf, ) (Entered:
                           03/28/2025)
   03/31/2025           54 USCA Case Number 25-1571 for 53 Notice of Appeal (USCA), filed by MELISSA DATA
                           CORP. USCA Case Manager Laurie (LMR) (Document Restricted - Court Only). (ca3cjg)
                           (Entered: 03/31/2025)
   03/31/2025           55 NOTICE of Appearance by OMAR MAROUF on behalf of MELISSA DATA CORP.
                           (MAROUF, OMAR) (Entered: 03/31/2025)

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   04/02/2025           56 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           57 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
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                                    Login:                        Code:
                                                     Docket       Search         1:24-cv-04292-HB Start date:
                                    Description:
                                                     Report       Criteria:      1/1/1980 End date: 4/3/2025
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                                                     8            Cost:          0.80
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                                                                                                                             APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04324-HB


  ATLAS DATA PRIVACY CORPORATION v RESTORATION OF Date Filed: 03/28/2024
  AMERICA                                              Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III         Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                      Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01572
                      SUPERIOR COURT OF NEW JERSEY,
                      MONMOUTH COUNTY, MON L 000510 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                    represented by RAJIV D. PARIKH
  CORPORATION                                                                          PEM LAW LLP
  as assignee of individuals who are Covered                                           1 BOLAND DRIVE
  Persons                                                                              SUITE 101
                                                                                       WEST ORANGE, NJ 07052
                                                                                       973-585-5330
                                                                                       Email: rparikh@pemlawfirm.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1
  a law enforcement officer

  Plaintiff
  JANE DOE-2
  a law enforcement officer

  Plaintiff
  EDWIN MALDONADO                                                       represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  POLICE OFFICER SCOTT MALONEY                                          represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?18950852355542-L_1_0-1                                                             1/9

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  Plaintiff
  JUSTYNA MALONEY                                                       represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                      represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                      represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


  V.
  Defendant
  RESTORATION OF AMERICA                                                represented by JOHN E. MACDONALD
                                                                                       CONSTANGY, BROOKS, SMITH &
                                                                                       PROPHETE, LLP.
                                                                                       3120 PRINCETON PIKE
                                                                                       SUITE 301
                                                                                       LAWRENCEVILLE, NJ 08648
                                                                                       609-357-1183
                                                                                       Fax: 609-844-1102
                                                                                       Email:
                                                                                       JMACDONALD@CONSTANGY.COM
                                                                                       ATTORNEY TO BE NOTICED

  Defendant
  VOTER REFERENCE FOUNDATION                                            represented by JOHN E. MACDONALD
  LLC                                                                                  (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

  Defendant
  ROES 1-10,
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                               represented by KASHIF TARAQ CHAND
  JERSEY                                                                               NEW JERSEY DIVISION OF LAW
                                                                                       124 HALSEY STREET
                                                                                       5TH FLOOR
                                                                                       NEWARK, NJ 07101
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?18950852355542-L_1_0-1                                                        2/9

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                                                                                             908-705-3958
                                                                                             Email: kashif.chand@law.njoag.gov
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC                                                     represented by JAMES M. BURNS
                                                                                       GENOVA BURNS LLC
                                                                                       494 BROAD STREET
                                                                                       NEWARK, NJ 07102
                                                                                       973-535-7101
                                                                                       Email: jburns@genovaburns.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/28/2024             1 NOTICE OF REMOVAL by RESTORATION OF AMERICA, VOTER REFERENCE
                            FOUNDATION LLC from Superior Court of Monmouth County, case number MON-L-
                            000510-24. ( Filing and Admin fee $ 405 receipt number ANJDC-15225663), filed by
                            RESTORATION OF AMERICA, VOTER REFERENCE FOUNDATION LLC.
                            (Attachments: # 1 Exhibit A (State Court Complaint), # 2 Declaration of John E.
                            MacDonald, Esq., # 3 Exhibit 1-5 to Declaration of JEM)(MACDONALD, JOHN)
                            (Entered: 03/28/2024)
   03/28/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (kht)
                              (Entered: 03/28/2024)
   03/28/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (kht) (Entered: 03/28/2024)
   03/28/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (kht) (Entered: 03/28/2024)
   03/29/2024             2 Diversity Disclosure Statement by RESTORATION OF AMERICA, VOTER
                            REFERENCE FOUNDATION LLC. (MACDONALD, JOHN) (Entered: 03/29/2024)
   04/01/2024             3 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Defendants Restoration of America and Voter Reference Foundation LLC. Attorney JOHN
                            E. MACDONALD for RESTORATION OF AMERICA,JOHN E. MACDONALD for
                            VOTER REFERENCE FOUNDATION LLC added. (MACDONALD, JOHN) (Entered:
                            04/01/2024)


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   04/02/2024                 Clerk`s Text Order - The document 3 Application for Clerk's Order to Ext
                              Answer/Proposed Order, submitted by VOTER REFERENCE FOUNDATION LLC has
                              been GRANTED. The answer due date has been set for 4/19/2024. (jal, ) (Entered:
                              04/02/2024)
   04/02/2024             4 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024. (gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/08/2024             5 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             6 TEXT ORDER REALLOCATING CASE. Case Number 3:24-cv-4324 reallocated to
                            Camden as 1:24-cv-4324. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                            (eaj) (Entered: 04/10/2024)
   04/18/2024             7 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           10 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/22/2024             8 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                            motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                            Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                            (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024             9 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                            Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                            REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                            MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                            with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                            Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                            or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                            utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                            Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                            Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                            (Entered: 04/22/2024)
   05/08/2024           13 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/14/2024)
   05/09/2024           11 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)


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   05/09/2024           12 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   06/03/2024           14 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/13/2024           15 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   06/14/2024           16 MOTION to Dismiss by RESTORATION OF AMERICA, VOTER REFERENCE
                           FOUNDATION LLC. Responses due by 7/15/2024. (Attachments: # 1 Memorandum of
                           Law in Support of Motion to Dismiss, # 2 Text of Proposed Order)(MACDONALD,
                           JOHN) (Entered: 06/14/2024)
   06/14/2024           17 MOTION Judicial Notice re 16 MOTION to Dismiss by RESTORATION OF AMERICA,
                           VOTER REFERENCE FOUNDATION LLC. (Attachments: # 1 Memorandum in Support
                           of Motion for Judicial Notice, # 2 Certification of John E. MacDonald, Esq., # 3 Exhibit A,
                           # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Text of
                           Proposed Order)(MACDONALD, JOHN) (Entered: 06/14/2024)
   06/14/2024           18 MOTION for Joinder to Consolidated Motion to Dismiss by RESTORATION OF
                           AMERICA, VOTER REFERENCE FOUNDATION LLC. (MACDONALD, JOHN)
                           (Entered: 06/14/2024)
   06/17/2024                 Set Deadlines as to 16 MOTION to Dismiss , 17 MOTION Judicial Notice re 16 MOTION
                              to Dismiss , 18 MOTION for Joinder to Consolidated Motion to Dismiss. Motion set for
                              7/15/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 06/17/2024)
   06/17/2024           19 Supplemental MOTION for Joinder of Consolidated Motion to Dismiss by
                           RESTORATION OF AMERICA, VOTER REFERENCE FOUNDATION LLC.
                           (MACDONALD, JOHN) (Entered: 06/17/2024)
   06/20/2024                 Set Deadlines as to 19 Supplemental MOTION for Joinder of Consolidated Motion to
                              Dismiss. Motion set for 7/15/2024 before Judge Harvey Bartle (EDPA) III. Unless
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                              otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (sms2) (Entered: 06/20/2024)
   07/10/2024           20 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           21 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           22 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           23 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 21
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           24 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/10/2024           25 MOTION for Leave to Appear Pro Hac Vice of David Yudelson, Esq. by RESTORATION
                           OF AMERICA, VOTER REFERENCE FOUNDATION LLC. (Attachments: # 1
                           Certification of John MacDonald, Esq. ISO Motion, # 2 Certification of David Yudelson,
                           Esq. ISO Motion, # 3 Text of Proposed Order Granting Motion for Admission PHV)
                           (MACDONALD, JOHN) (Entered: 09/10/2024)
   09/10/2024                 Set Deadlines as to 25 MOTION for Leave to Appear Pro Hac Vice of David Yudelson,
                              Esq. Motion set for 10/7/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise
                              directed by the Court, this motion will be decided on the papers and no appearances are
                              required. Note that this is an automatically generated message from the Clerk`s Office and
                              does not supersede any previous or subsequent orders from the Court. (mag) (Entered:
                              09/10/2024)
   09/10/2024                 CLERK'S QUALITY CONTROL MESSAGE - The Certification of David Yudelson, Esq.
                              [25-2] submitted by JOHN MACDONALD on 9/10/2024 contains an improper signature.
                              Only Registered Users are permitted to sign electronically filed documents with an s/.
                              PLEASE RESUBMIT THE DOCUMENT ONLY WITH A PROPERLY SCANNED
                              SIGNATURE. DO NOT refile the motion. This submission will remain on the docket
                              unless otherwise ordered by the court. (mag) (Entered: 09/10/2024)
   09/11/2024           26 ORDER Granting 25 Motion for Leave to Appear Pro Hac Vice as to David A. Yudelson,
                           Esq. Signed by Judge Harvey Bartle (EDPA), III on 9/11/2024. (dmr) (Entered:
                           09/11/2024)
   09/12/2024           27 AMENDED DOCUMENT by RESTORATION OF AMERICA, VOTER REFERENCE
                           FOUNDATION LLC. Amendment to QC - Document contains an Electronic Signature of
                           a Non-Attorney, scanned signature of the Certification of David A. Yudelson in Support of
                           Request for Admission to Practice Pro Hac Vice. (MACDONALD, JOHN) (Entered:
                           09/12/2024)


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   09/13/2024           28 RESPONSE in Support filed by RESTORATION OF AMERICA, VOTER REFERENCE
                           FOUNDATION LLC re 16 MOTION to Dismiss , 18 MOTION for Joinder to
                           Consolidated Motion to Dismiss, 17 MOTION Judicial Notice re 16 MOTION to Dismiss
                           (MACDONALD, JOHN) (Entered: 09/13/2024)
   09/17/2024                 Pro Hac Vice fee received as to DAVID A. YUDELSON $ 250, receipt number
                              TRE140428 (jal, ) (Entered: 09/17/2024)
   09/23/2024           29 Amended MOTION to Amend/Correct 16 MOTION to Dismiss (corrected) by
                           RESTORATION OF AMERICA, VOTER REFERENCE FOUNDATION LLC.
                           (MACDONALD, JOHN) (Entered: 09/23/2024)
   09/23/2024                 Set Deadlines as to 29 Amended MOTION to Amend/Correct 16 MOTION to Dismiss
                              (corrected). Motion set for 10/21/2024 before Judge Harvey Bartle (EDPA) III. Unless
                              otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (js) (Entered: 09/24/2024)
   10/01/2024           30 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           31 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           32 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (db, ) (Entered: 10/09/2024)
   10/10/2024           33 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           34 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           35 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           36 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)


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   12/02/2024           37 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           38 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           39 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           40 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, WILLIAM SULLIVAN identifying Atlas Data
                           Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           41 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           42 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           43 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           44 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                           (Entered: 02/18/2025)
   02/25/2025           45 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
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   03/13/2025           46 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           47 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/19/2025           48 Letter from John E. MacDonald, Esq.. (MACDONALD, JOHN) (Entered: 03/19/2025)
   03/21/2025                 USCA Filing fee: $ 605, receipt number NEW51701. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           49 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           50 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           51 NOTICE OF APPEAL by RESTORATION OF AMERICA, VOTER REFERENCE
                           FOUNDATION LLC. Filing fee $ 605. The Clerk's Office hereby certifies the record and
                           the docket sheet available through ECF to be the certified list in lieu of the record and/or
                           the certified copy of the docket entries. (bf, ) (Entered: 03/28/2025)
   03/31/2025           52 USCA Case Number 25-1572 for 51 Notice of Appeal (USCA), filed by RESTORATION
                           OF AMERICA, VOTER REFERENCE FOUNDATION LLC. USCA Case Manager
                           Laurie (LMR) (Document Restricted - Court Only). (ca3cjg) (Entered: 03/31/2025)
   04/02/2025           53 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           54 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
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                                                                                                                             APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04345-HB


  ATLAS DATA PRIVACY CORPORATION et al v. i360, LLC et al Date Filed: 03/28/2024
  Assigned to: Judge Harvey Bartle (EDPA), III            Jury Demand: None
  Related Cases: 1:24-cv-11023-HB                         Nature of Suit: 440 Civil Rights: Other
                  1:24-cv-10600-HB                        Jurisdiction: Diversity
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01573
                      SUPERIOR COURT OF NEW JERSEY,
                      MERCER COUNTY, MER L 000297 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Coverd                                             1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff


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  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  i360, LLC                                                              represented by RICHARD JOSEPH LAMAR
                                                                                        LOMUSCIO
                                                                                        STINSON LLP
                                                                                        100 WALL STREET
                                                                                        SUITE 201
                                                                                        NEW YORK, NY 10005
                                                                                        646-883-7475
                                                                                        Fax: 646-883-7472
                                                                                        Email: richard.lomuscio@stinson.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictictious names of unknown entities

  Intervenor

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  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/28/2024             1 NOTICE OF REMOVAL by i360, LLC from Superior Court of New Jersey, Mercer
                            County, case number MER L 000297 24. ( Filing and Admin fee $ 405 receipt number
                            ANJDC-15227445), filed by i360, LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                            Exhibit 3, # 4 Exhibit 4)(LOMUSCIO, RICHARD) (Entered: 03/28/2024)
   03/28/2024             2 Corporate Disclosure Statement by i360, LLC identifying Koch Industries as Corporate
                            Parent.. (LOMUSCIO, RICHARD) (Entered: 03/28/2024)
   03/28/2024             3 Diversity Disclosure Statement by i360, LLC. (LOMUSCIO, RICHARD) (Entered:
                            03/28/2024)
   03/28/2024             4 CERTIFICATE OF SERVICE by i360, LLC (LOMUSCIO, RICHARD) (Entered:
                            03/28/2024)
   03/28/2024                 CLERK'S QUALITY CONTROL MESSAGE - The State Court Complaint appears to
                              have address information for Rajiv D. Parikh that does not match the court's records for
                              this case. Please refer to the court's website at www.njd.uscourts.gov for information and
                              instructions on maintaining your account. (jjc, ) (Entered: 03/28/2024)
   03/28/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jjc, )
                              (Entered: 03/28/2024)
   04/01/2024             5 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Complaint. Attorney RICHARD LOMUSCIO for i360, LLC added. (LOMUSCIO,
                            RICHARD) (Entered: 04/01/2024)
   04/02/2024                 Clerk`s Text Order - The document 5 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by i360, LLC has been GRANTED. The answer due
                              date has been set for 4/18/2024. (jal, ) (Entered: 04/02/2024)
   04/02/2024             6 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)


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   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/08/2024             7 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             8 TEXT ORDER REALLOCATING CASE. Case Number 3:24-cv-4345 reallocated to
                            Camden as 1:24-cv-4345. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                            (eaj) (Entered: 04/09/2024)
   04/11/2024             9 MOTION for Extension of Time to File Answer re 1 Notice of Removal, re Plaintiffs'
                            Complaint by i360, LLC. (Attachments: # 1 Text of Proposed Order)(LOMUSCIO,
                            RICHARD) (Entered: 04/11/2024)
   04/11/2024                 Set Deadlines as to 9 MOTION for Extension of Time to File Answer re 1 Notice of
                              Removal, re Plaintiffs' Complaint. Motion set for 5/6/2024 before Judge Harvey Bartle
                              (EDPA) III. Unless otherwise directed by the Court, this motion will be decided on the
                              papers and no appearances are required. Note that this is an automatically generated
                              message from the Clerk`s Office and does not supersede any previous or subsequent orders
                              from the Court. (sms2) (Entered: 04/11/2024)
   04/15/2024           10 MOTION for Leave to Appear Pro Hac Vice by i360, LLC. (Attachments: # 1 Certification
                           of Richard Lomuscio, # 2 Certification of Matthew Moderson, # 3 Text of Proposed Order)
                           (LOMUSCIO, RICHARD) (Entered: 04/15/2024)
   04/16/2024                 Set Deadlines as to 10 MOTION for Leave to Appear Pro Hac Vice . Motion set for
                              5/20/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jab) (Entered: 04/16/2024)
   04/17/2024           11 ORDER granting 10 Motion for Leave to Appear Pro Hac Vice as to Matthew D.
                           Moderson. Signed by Judge Harvey Bartle (EDPA), III on 4/17/2024. (lm) (Entered:
                           04/18/2024)
   04/18/2024           13 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) . (Entered: 04/22/2024)
   04/18/2024           16 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24.Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/18/2024           17 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/19/2024           12 Notice of Request by Pro Hac Vice Matthew D. Moderson to receive Notices of Electronic
                           Filings. (LOMUSCIO, RICHARD) (Entered: 04/19/2024)
   04/19/2024                 Pro Hac Vice fee received as to Matthew D. Moderson: $ 250, receipt number 138159.
                              (jdg) (Entered: 04/19/2024)

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   04/19/2024                 Pro Hac Vice counsel, MATTHEW D. MODERSON, has been added to receive Notices of
                              Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                              file papers, enter appearances and receive payments on judgments, decrees or orders. (dmr)
                              (Entered: 04/19/2024)
   04/22/2024           14 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           15 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   05/07/2024           18 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/09/2024)
   05/08/2024           19 ORDER setting deadlines for the filing of certain motions and briefs, and staying action
                           until further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/24.
                           (ar1, ) (Entered: 05/10/2024)
   05/09/2024           20 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/10/2024)
   05/09/2024           21 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   06/03/2024           22 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           23 Letter from Richard Lomuscio re Joinder in Defendants' Consolidated Motion to Dismiss.
                           (LOMUSCIO, RICHARD) (Entered: 06/10/2024)
   06/13/2024           24 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?162694743112077-L_1_0-1                                                       5/9

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                              TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                              (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                              Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                              redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                              Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                              Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                              by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                              Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           25 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           26 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           27 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           28 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 26
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           29 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/13/2024           30 Letter from Richard Lomuscio re Joinder in Defendants' Consolidated Reply in Support of
                           Motion to Dismiss. (LOMUSCIO, RICHARD) (Entered: 09/13/2024)
   10/01/2024           31 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           32 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           33 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (db, ) (Entered: 10/09/2024)
   10/08/2024           34 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
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                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (db, ) (Entered: 10/09/2024)
   10/09/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please note the Transcript attached to
                              docket entry 34 filed by the Clerk's office on 10/8/2024 was docketed in error as
                              duplicative. Please disregard. (tf, ) (Entered: 10/09/2024)
   10/10/2024           35 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/11/2024           36 Letter from Richard Lomuscio re Joinder re Supplemental Brief in Support of Defendants'
                           Motion to Dismiss. (LOMUSCIO, RICHARD) (Entered: 10/11/2024)
   11/26/2024           37 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           38 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           39 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           40 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           41 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           42 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           43 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           44 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           45 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)


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   01/15/2025           46 Corporate Disclosure Statement by i360, LLC identifying Koch, Inc. as Corporate Parent..
                           (LOMUSCIO, RICHARD) (Entered: 01/15/2025)
   01/22/2025           47 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           48 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                           (Entered: 02/18/2025)
   02/25/2025           49 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           50 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           51 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           52 Letter from Richard Lomuscio re Joinder in Defendants' Consolidated Motion to Dismiss
                           Plaintiffs' Complaint Pursuant to Fed. R. Civ. P. 12(b)(6). (LOMUSCIO, RICHARD)
                           (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number TRE143172. (mag) (Entered: 03/20/2025)
   03/20/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (mag) (Entered: 03/20/2025)
   03/24/2025           53 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)




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   03/27/2025           54 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/27/2025           55 MOTION for Leave to Appear Pro Hac Vice by i360, LLC. (Attachments: # 1 Certification
                           of Richard J.L. Lomuscio in Support of Pro Hac Vice Admission, # 2 Certification of
                           Nicole Khalouian in Support of Pro Hac Vice Admission, # 3 Text of Proposed Order
                           Admitting Nicole Khalouian Pro Hac Vice)(LOMUSCIO, RICHARD) (Entered:
                           03/27/2025)
   03/28/2025                 Set Deadlines as to 55 MOTION for Leave to Appear Pro Hac Vice. Motion set for
                              4/21/2025 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 03/28/2025)
   03/28/2025           56 NOTICE OF APPEAL by i360, LLC. Filing fee $ 605. The Clerk's Office hereby certifies
                           the record and the docket sheet available through ECF to be the certified list in lieu of the
                           record and/or the certified copy of the docket entries. (lm, ) (Entered: 03/28/2025)
   03/31/2025           57 USCA Case Number 25-1573 for 56 Notice of Appeal (USCA), filed by i360, LLC. USCA
                           Case Manager Laurie (LMR) (Document Restricted - Court Only). (ca3cjg) (Entered:
                           03/31/2025)
   04/02/2025           58 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           59 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                                     Docket        Search         1:24-cv-04345-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     8             Cost:          0.80
                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04380-HB


  ATLAS DATA PRIVACY CORPORATION et al v. GOHUNT,                                            Date Filed: 03/29/2024
  LLC et al                                                                                  Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01574
                      Superior Court of New Jersey; Law Division,
                      BER-L-870-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY
  CORPORATION
  an assignee of individuals who are Covered
  Persons

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  GOHUNT, LLC                                                            represented by AARON VAN NOSTRAND
                                                                                        GREENBERG TRAURIG LLP
                                                                                        500 CAMPUS DRIVE
                                                                                        SUITE 400
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?123608286581525-L_1_0-1                                                                 1/8

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                                                                                             P.O. BOX 677
                                                                                             FLORHAM PARK, NJ 07932-0677
                                                                                             973.443.3557
                                                                                             Fax: 973.295.1321
                                                                                             Email: aaron.vannostrand@gtlaw.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             DAVID E. SELLINGER
                                                                                             GREENBERG TRAURIG LLP
                                                                                             500 Campus Drive
                                                                                             Suite 400
                                                                                             P.O. BOX 677
                                                                                             FLORHAM PARK, NJ 07932-0677
                                                                                             973 360-7900
                                                                                             Email: sellingerd@gtlaw.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  GOHUNT MANAGEMENT                                                      represented by AARON VAN NOSTRAND
  HOLDINGS, LLC                                                                         (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             DAVID E. SELLINGER
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  GOHUNT MANAGEMENT HOLDINGS                                             represented by AARON VAN NOSTRAND
  II, LLC,                                                                              (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             DAVID E. SELLINGER
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
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                                                                                             Email: kashif.chand@law.njoag.gov
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/29/2024             1 NOTICE OF REMOVAL by GOHUNT MANAGEMENT HOLDINGS, LLC, GOHUNT,
                            LLC, GOHUNT MANAGEMENT HOLDINGS II, LLC, from Superior Court of New
                            Jersey; Law Division, case number BER-L-870-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15230601), filed by GOHUNT MANAGEMENT HOLDINGS, LLC,
                            GOHUNT, LLC, GOHUNT MANAGEMENT HOLDINGS II, LLC,. (Attachments: # 1
                            Civil Cover Sheet)(SELLINGER, DAVID) (Entered: 03/29/2024)
   03/29/2024             2 Corporate Disclosure Statement by GOHUNT MANAGEMENT HOLDINGS II, LLC,,
                            GOHUNT MANAGEMENT HOLDINGS, LLC, GOHUNT, LLC. (SELLINGER,
                            DAVID) (Entered: 03/29/2024)
   03/29/2024             3 NOTICE of Appearance by AARON VAN NOSTRAND on behalf of All Defendants
                            (VAN NOSTRAND, AARON) (Entered: 03/29/2024)
   03/29/2024                 Case assigned to Judge Evelyn Padin and Magistrate Judge Michael A. Hammer. (jr)
                              (Entered: 03/29/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Michael A. Hammer and Judge
                              Evelyn Padin no longer assigned to case. (aw, ) (Entered: 04/02/2024)
   04/03/2024             4 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(aw, ) (Entered: 04/03/2024)
   04/04/2024             5 Application and Proposed Order for Clerk's Order to extend time to answer as to all
                            Defendants.. (VAN NOSTRAND, AARON) (Entered: 04/04/2024)
   04/08/2024                 Clerk`s Text Order - The 5 Application for Clerk's Order to Ext Answer/Proposed Order
                              submitted by GOHUNT, LLC, GOHUNT MANAGEMENT HOLDINGS, LLC,
                              GOHUNT MANAGEMENT HOLDINGS II, LLC, has been GRANTED. The answer due
                              date has been set for 4/24/2024. (mxw, ) (Entered: 04/08/2024)
   04/08/2024             6 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             7 TEXT ORDER REALLOCATING CASE. Case Number 2:24-cv-4380 reallocated to
                            Camden as 1:24-cv-4380. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.(jjc,
                            ) (Entered: 04/10/2024)


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   04/18/2024             8 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           11 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/22/2024             9 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                            motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                            Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                            (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           10 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   05/07/2024           12 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/10/2024)
   05/08/2024           13 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           14 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           15 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   06/03/2024           16 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)


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   06/10/2024           17 STATEMENT of Joinder in Consolidated Motion to Dismiss by GOHUNT
                           MANAGEMENT HOLDINGS II, LLC,, GOHUNT MANAGEMENT HOLDINGS, LLC,
                           GOHUNT, LLC. (VAN NOSTRAND, AARON) (Entered: 06/10/2024)
   06/13/2024           18 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           19 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           20 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           21 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           22 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 20
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           23 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   10/01/2024           24 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           25 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           26 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted


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                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (db, ) (Entered: 10/09/2024)
   10/10/2024           27 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           28 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           29 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           30 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           31 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           32 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           33 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           34 Corporate Disclosure Statement by JANE DOE-1, ATLAS DATA PRIVACY
                           CORPORATION, PETER ANDREYEV identifying Atlas Data Privacy Corporation as
                           Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           35 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           36 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           37 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           38 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?123608286581525-L_1_0-1                                                      6/8

                                                                         JA318
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                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                              Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                              (Entered: 02/18/2025)
   02/25/2025           39 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
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                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           40 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           41 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           42 Joint MOTION to Dismiss for Lack of Jurisdiction by GOHUNT MANAGEMENT
                           HOLDINGS II, LLC,, GOHUNT MANAGEMENT HOLDINGS, LLC, GOHUNT, LLC.
                           (Attachments: # 1 Memorandum, # 2 Certification, # 3 Text of Proposed Order)
                           (SELLINGER, DAVID) (Entered: 03/18/2025)
   03/18/2025           43 Supplemental MOTION to Dismiss for Lack of Jurisdiction by GOHUNT
                           MANAGEMENT HOLDINGS II, LLC,, GOHUNT MANAGEMENT HOLDINGS, LLC,
                           GOHUNT, LLC. (Attachments: # 1 Certification)(SELLINGER, DAVID) (Entered:
                           03/18/2025)
   03/18/2025           44 Letter from Defendants re Joinder in Consolidated Motion to Dismiss. (VAN
                           NOSTRAND, AARON) (Entered: 03/18/2025)
   03/19/2025                 Set Deadlines as to 42 Joint MOTION to Dismiss for Lack of Jurisdiction . Motion set for
                              4/21/2025 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 03/19/2025)
   03/20/2025           45 NOTICE OF INTERLOCUTORY APPEAL as to 37 Order,, by GOHUNT
                           MANAGEMENT HOLDINGS II, LLC,, GOHUNT MANAGEMENT HOLDINGS, LLC,
                           GOHUNT, LLC. Filing fee $ 605, receipt number ANJDC-16105698. The Clerk's Office
                           hereby certifies the record and the docket sheet available through ECF to be the certified
                           list in lieu of the record and/or the certified copy of the docket entries. (SELLINGER,
                           DAVID) (Entered: 03/20/2025)
   03/24/2025           46 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           47 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)

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   03/31/2025           48 USCA Case Number 25-1574 for 45 Notice of Interlocutory Appeal, filed by GOHUNT
                           MANAGEMENT HOLDINGS II, LLC, GOHUNT MANAGEMENT HOLDINGS, LLC,
                           GOHUNT, LLC. USCA Case Manager Laurie (LMR) (Document Restricted - Court Only).
                           (ca3cjg) (Entered: 03/31/2025)
   04/02/2025           49 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           50 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
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                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-04380-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04383-HB


  ATLAS DATA PRIVACY CORPORATION et al v. ACCUZIP,                                           Date Filed: 03/29/2024
  INC. et al                                                                                 Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01575
                      SUPERIOR COURT OF NEW JERSEY,
                      MONMOUTH COUNTY, MON L 554 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?106950038847545-L_1_0-1                                                                 1/8

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  Defendant
  ACCUZIP, INC.                                                          represented by KELLY MAGNUS PURCARO
                                                                                        GREENSPOON MARDER
                                                                                        1037 RAYMOND BLVD
                                                                                        SUITE 900
                                                                                        NEWARK, NJ 07102
                                                                                        732-456-8734
                                                                                        Fax: 212-524-5050
                                                                                        Email: Kelly.Purcaro@gmlaw.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KORY ANN FERRO
                                                                                             GREENSPOON MARDER, LLP
                                                                                             1037 RAYMOND BLVD.
                                                                                             SUITE 900
                                                                                             NEWARK, NJ 07102
                                                                                             732-494-4800
                                                                                             Email: KoryAnn.Ferro@gmlaw.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             MARKIANA JULCEUS
                                                                                             LOWENSTEIN SANDLER LLP
                                                                                             ONE LOWENSTEIN DRIVE
                                                                                             ROSELAND, NJ 07068
                                                                                             973-597-2500
                                                                                             Email: mjulceus@lowenstein.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             JENNIFER FIORICA DELGADO
                                                                                             LOWENSTEIN SANDLER LLP
                                                                                             ONE LOWENSTEIN DRIVE
                                                                                             ROSELAND, NJ 07068
                                                                                             973-597-6312
                                                                                             Email: jdelgado@lowenstein.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/29/2024             1 NOTICE OF REMOVAL by ACCUZIP, INC. from SUPERIOR COURT OF NEW
                            JERSEY, MONMOUTH COUNTY, case number MON L 554 24. ( Filing and Admin fee $
                            405 receipt number ANJDC-15230725), filed by ACCUZIP, INC.. (Attachments: # 1
                            Exhibit A - Superior Court Commencement Documents, # 2 Exhibit B - Superior Court
                            Track Assignment Notice, # 3 Civil Cover Sheet)(DELGADO, JENNIFER) (Entered:
                            03/29/2024)
   03/29/2024             2 Corporate Disclosure Statement by ACCUZIP, INC.. (DELGADO, JENNIFER) (Entered:
                            03/29/2024)
   03/29/2024             3 CERTIFICATE OF SERVICE by ACCUZIP, INC. re 2 Corporate Disclosure Statement
                            (aty), 1 Notice of Removal, (DELGADO, JENNIFER) (Entered: 03/29/2024)
   03/29/2024             4 NOTICE of Appearance by MARKIANA JULCEUS on behalf of ACCUZIP, INC.
                            (JULCEUS, MARKIANA) (Entered: 03/29/2024)
   03/30/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jjc, )
                              (Entered: 03/30/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (jdg, ) (Entered: 04/01/2024)
   04/01/2024             5 Diversity Disclosure Statement by ACCUZIP, INC.. (DELGADO, JENNIFER) (Entered:
                            04/01/2024)
   04/02/2024             6 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/08/2024             7 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey


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                              Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                              (Entered: 04/09/2024)
   04/09/2024             8 TEXT ORDER REALLOCATING CASE. Case Number 3:24-cv-4383 reallocated to
                            Camden as 1:24-cv-4383. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                            (eaj) (Entered: 04/09/2024)
   04/18/2024             9 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018)) (db,
                            ) (Entered: 04/22/2024)
   04/18/2024           12 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/22/2024           10 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           11 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   05/07/2024           13 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           14 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/13/2024)
   05/09/2024           15 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           16 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)

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                                                                         JA324
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   06/03/2024           17 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           18 Letter from Markiana J. Julceus re Defendants' Consolidated Motion to Dismiss.
                           (JULCEUS, MARKIANA) (Entered: 06/10/2024)
   06/13/2024           19 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           20 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           21 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           22 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           23 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 21
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           24 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   10/01/2024           25 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           26 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           27 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
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                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (db, ) (Entered: 10/09/2024)
   10/10/2024           28 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           29 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           30 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           31 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           32 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           33 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           34 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           35 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, EDWIN
                           MALDONADO, PATRICK COLLIGAN, PETER ANDREYEV identifying Atlas Data
                           Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           36 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           37 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           38 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           39 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?106950038847545-L_1_0-1                                                      6/8

                                                                         JA326
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                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                              Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                              (Entered: 02/18/2025)
   02/25/2025           40 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/06/2025           41 NOTICE of Appearance by KORY ANN FERRO on behalf of ACCUZIP, INC. (FERRO,
                           KORY ANN) (Entered: 03/06/2025)
   03/06/2025           42 NOTICE of Appearance by KELLY MAGNUS PURCARO on behalf of ACCUZIP, INC.
                           (PURCARO, KELLY) (Entered: 03/06/2025)
   03/13/2025           43 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           44 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           45 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 03/18/2025)
   03/21/2025                 USCA Filing Fee: $ 605, receipt number NEW51688. (mag) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (mag) (Entered: 03/21/2025)
   03/24/2025           46 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           47 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           48 NOTICE OF APPEAL by ACCUZIP, INC.. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   03/31/2025           49 USCA Case Number 25-1575 for 48 Notice of Appeal (USCA), filed by ACCUZIP, INC.
                           USCA Case Manager Laurie (LMR) (Document Restricted - Court Only). (ca3cjg)
                           (Entered: 03/31/2025)
   04/02/2025           50 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)

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   04/02/2025           51 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 14:00:19
                                    PACER                         Client
                                                     chuderem                     544877.010130
                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-04383-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7            Cost:           0.70
                                    Pages:




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                                                                         JA328
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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04385-HB


  ATLAS DATA PRIVACY CORPORATION et al v. SYNAPTIX                                           Date Filed: 03/29/2024
  TECHNOLOGY, LLC et al                                                                      Jury Demand: Plaintiff
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01576
                      SUPERIOR COURT OF NEW JERSEY,
                      MERCER COUNTY, MER L 000288 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                    represented by RAJIV D. PARIKH
  CORPORATION                                                                          PEM LAW LLP
  as assignee of individuals who are Covered                                           1 BOLAND DRIVE
  Persons                                                                              SUITE 101
                                                                                       WEST ORANGE, NJ 07052
                                                                                       973-585-5330
                                                                                       Email: rparikh@pemlawfirm.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                       represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                         represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                       represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff

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  PETER ANDREYEV                                                        represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                      represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                            represented by RAJIV D. PARIKH
  a law enforcement officer                                                            (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                            represented by RAJIV D. PARIKH
  a law enforcement officer                                                            (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


  V.
  Defendant
  SYNAPTIX TECHNOLOGY, LLC                                              represented by BRIAN DEENEY
                                                                                       Lewis Brisbois Bisgaard & Smith
                                                                                       One Riverfront Plaza
                                                                                       Ste 800
                                                                                       Newark, NJ 07102
                                                                                       973-792-8726
                                                                                       Email: brian.deeney@lewisbrisbois.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                             THOMAS C. REGAN
                                                                                             LECLAIRRYAN
                                                                                             ONE RIVERFRONT PLAZA
                                                                                             1037 RAYMOND BOULEVARD
                                                                                             16TH FLOOR
                                                                                             NEWARK, NJ 07102
                                                                                             973-491-3360
                                                                                             Fax: 973-491-3564
                                                                                             Email: Thomas.Regan@lewisbrisbois.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             MATTHEW STEPHEN AHKAO
                                                                                             LEWIS BRISBOIS BISGAARD 7 SMITH
                                                                                             LLP
                                                                                             ONE RIVERFRONT PLAZA
                                                                                             SUITE 800
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?10928345709176-L_1_0-1                                                                2/9

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                                                                                             NEWARK, NJ 07102
                                                                                             973-792-8724
                                                                                             Email: matthew.ahkao@lewisbrisbois.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  VOTERRECORDS.COM

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                               represented by KASHIF TARAQ CHAND
  JERSEY                                                                               NEW JERSEY DIVISION OF LAW
                                                                                       124 HALSEY STREET
                                                                                       5TH FLOOR
                                                                                       NEWARK, NJ 07101
                                                                                       908-705-3958
                                                                                       Email: kashif.chand@law.njoag.gov
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/29/2024             1 NOTICE by SYNAPTIX TECHNOLOGY, LLC Notice of Removal (REGAN, THOMAS)
                            (Entered: 03/29/2024)
   03/30/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jjc, )
                              (Entered: 03/30/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 1 "NOTICE OF REMOVAL" filed on
                              3/29/2024 appears to have address information as to Plaintiff's Counsel that does not match
                              the court's records for this case. Please refer to the court's website at www.njd.uscourts.gov
                              for information and instructions on maintaining your account. (mlh) (Entered: 04/01/2024)
   04/01/2024             2 Clerk's Letter: Complaint not accompanied by the filing fee or application to proceed in
                            forma pauperis. (jjc, ) (Entered: 04/01/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 1 "NOTICE OF REMOVAL" filed by
                              THOMAS C. REGAN on 3/29/2024 was submitted incorrectly as a "NOTICE". PLEASE
                              RESUBMIT THE 1 "NOTICE OF REMOVAL" USING THE EVENT: Civil Events ->
                              Initial Pleadings and Service -> Complaints and Other Initiating Documents -> Notice of
                              Removal. This submission will remain on the docket unless otherwise ordered by the court.
                              (mlh) (Entered: 04/01/2024)
   04/02/2024             3 NOTICE OF REMOVAL by SYNAPTIX TECHNOLOGY, LLC Defendant ( Filing and
                            Admin fee $ 405 receipt number ANJDC-15239316), filed by SYNAPTIX
                            TECHNOLOGY, LLC.(REGAN, THOMAS) (Entered: 04/02/2024)


https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?10928345709176-L_1_0-1                                                                 3/9

                                                                        JA331
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   04/02/2024             4 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024. (gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/08/2024             5 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             6 TEXT ORDER REALLOCATING CASE. Case Number 3:24-cv-4385 reallocated to
                            Camden as 1:24-cv-4385. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                            (eaj) (Entered: 04/09/2024)
   04/16/2024             7 MOTION for Leave to Appear Pro Hac Vice by All Plaintiffs. (Attachments: # 1
                            Certification In support of PHV Motion, # 2 Text of Proposed Order)(PARIKH, RAJIV)
                            (Entered: 04/16/2024)
   04/16/2024             8 MOTION for Leave to Appear Pro Hac Vice by All Plaintiffs. (Attachments: # 1
                            Certification In support of PHV Motion, # 2 Text of Proposed Order)(PARIKH, RAJIV)
                            (Entered: 04/16/2024)
   04/16/2024             9 MOTION for Leave to Appear Pro Hac Vice by All Plaintiffs. (Attachments: # 1
                            Certification In support of PHV Motion, # 2 Text of Proposed Order)(PARIKH, RAJIV)
                            (Entered: 04/16/2024)
   04/17/2024                 Set Deadlines as to 9 MOTION for Leave to Appear Pro Hac Vice , 8 MOTION for Leave
                              to Appear Pro Hac Vice , 7 MOTION for Leave to Appear Pro Hac Vice . Motion set for
                              5/20/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jab) (Entered: 04/17/2024)
   04/17/2024           10 ORDER granting 7 Motion for Leave to Appear Pro Hac Vice as to James Shaw. Signed by
                           Judge Harvey Bartle (EDPA), III on 4/17/2024. (lm) (Entered: 04/18/2024)
   04/17/2024           11 ORDER granting 8 Motion for Leave to Appear Pro Hac Vice as to Hsaio (Mark) C. Mao.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/17/2024. (lm) (Entered: 04/18/2024)
   04/17/2024           12 ORDER granting 9 Motion for Leave to Appear Pro Hac Vice as to Adam Shaw. Signed by
                           Judge Harvey Bartle (EDPA), III on 4/17/2024. (lm) (Entered: 04/18/2024)
   04/18/2024           13 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           16 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)




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                                                                        JA332
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4/3/25, 2:19 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

   04/22/2024           14 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           15 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/25/2024                 Pro Hac Vice fee: ADAM SHAW, JAMES LEE, and HSIAO (MARK) MAO $ 750, receipt
                              number TRE138235. (mlh) (Entered: 04/25/2024)
   05/01/2024           17 Notice of Request by Pro Hac Vice Adam R. Shaw, Esq. to receive Notices of Electronic
                           Filings. (PARIKH, RAJIV) (Entered: 05/01/2024)
   05/01/2024                 Pro Hac Vice counsel, ADAM R. SHAW, has been added to receive Notices of Electronic
                              Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and file papers,
                              enter appearances and receive payments on judgments, decrees or orders. (sms2) (Entered:
                              05/01/2024)
   05/07/2024           18 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           19 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court etc. Signed by Judge Harvey Bartle (EDPA), III. (db, ) (Entered:
                           05/13/2024)
   05/09/2024           22 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           23 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
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                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   05/14/2024           20 NOTICE of Appearance by MATTHEW STEPHEN AHKAO on behalf of SYNAPTIX
                           TECHNOLOGY, LLC (AHKAO, MATTHEW) (Entered: 05/14/2024)
   05/14/2024           21 NOTICE of Appearance by BRIAN DEENEY on behalf of SYNAPTIX TECHNOLOGY,
                           LLC (DEENEY, BRIAN) (Entered: 05/14/2024)

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                                                                        JA333
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   06/03/2024           24 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           25 Letter from Matthew S. AhKao, Esq.. (AHKAO, MATTHEW) (Entered: 06/10/2024)
   06/13/2024           26 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           27 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           28 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           29 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           30 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 28
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           31 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   10/01/2024           32 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           33 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           34 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?10928345709176-L_1_0-1                                                        6/9

                                                                        JA334
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                              Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (db, ) (Entered: 10/09/2024)
   10/10/2024           35 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           36 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           37 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           38 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           39 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           44 ORDER granting Pro Hac Vice as to JULIA BRONT. Motion for Pro Hac Vice not filed by
                           Counsel in this case. Signed by Judge Harvey Bartle (EDPA), III on 12/02/2024. (aji, )
                           (Entered: 12/13/2024)
   12/06/2024           40 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           41 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           42 Corporate Disclosure Statement by JANE DOE-1, JANE DOE-2, ATLAS DATA
                           PRIVACY CORPORATION, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PETER ANDREYEV, WILLIAM SULLIVAN identifying Atlas Data Privacy
                           Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           43 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           45 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           46 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?10928345709176-L_1_0-1                                                       7/9

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   02/18/2025           47 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                           (Entered: 02/18/2025)
   02/25/2025           48 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/18/2025           49 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           50 Letter from Matthew S. AhKao, Esq.. (AHKAO, MATTHEW) (Entered: 03/18/2025)
   03/24/2025           51 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/26/2025                 USCA Appeal Filing fee: $ 605.00, receipt number NEW51725 (dmw) (Entered:
                              03/26/2025)
   03/26/2025           52 NOTICE OF APPEAL by SYNAPTIX TECHNOLOGY, LLC. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (dmw) (Entered:
                           03/26/2025)
   03/27/2025           53 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           54 NOTICE OF APPEAL by SYNAPTIX TECHNOLOGY, LLC, VOTERRECORDS.COM.
                           Filing fee $ 605. The Clerk's Office hereby certifies the record and the docket sheet
                           available through ECF to be the certified list in lieu of the record and/or the certified copy
                           of the docket entries. (lm, ) (Entered: 03/28/2025)
   03/31/2025           55 USCA Case Number 25-1576 for 52 Notice of Appeal (USCA) filed by SYNAPTIX
                           TECHNOLOGY, LLC. USCA Case Manager Laurie (LMR) (Document Restricted - Court
                           Only). (ca3cjg) (Entered: 03/31/2025)




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   04/02/2025           56 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           57 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 14:19:39
                                    PACER                         Client
                                                     chuderem                     544877.010130
                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-04385-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
                                    Billable
                                                     8            Cost:           0.80
                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04389-HB


  ATLAS DATA PRIVACY CORPORATION et al v. JOY                                                Date Filed: 03/29/2024
  ROCKWELL ENTERPRISES, INC. et al                                                           Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01577
                      Monmouth County Superior Court, MON-L-
                      000486-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?106407350765233-L_1_0-1                                                                 1/8

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  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  JOY ROCKWELL ENTERPRISES,                                              represented by KORY ANN FERRO
  INC.                                                                                  GREENSPOON MARDER, LLP
  doing business as                                                                     1037 RAYMOND BLVD.
  POSTCARDMANIA PCM LLC                                                                 SUITE 900
                                                                                        NEWARK, NJ 07102
                                                                                        732-494-4800
                                                                                        Email: KoryAnn.Ferro@gmlaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KELLY MAGNUS PURCARO
                                                                                             GREENSPOON MARDER
                                                                                             1037 RAYMOND BLVD
                                                                                             SUITE 900
                                                                                             NEWARK, NJ 07102
                                                                                             732-456-8734
                                                                                             Fax: 212-524-5050
                                                                                             Email: Kelly.Purcaro@gmlaw.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?106407350765233-L_1_0-1                                                        2/8

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  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/29/2024             1 NOTICE OF REMOVAL by JOY ROCKWELL ENTERPRISES, INC. d/b/a
                            POSTCARDMANIA PCM, LLC from Superior Court New Jersey, Monmouth County,
                            case number MON-L-000486-24. ( Filing and Admin fee $ 405 receipt number ANJDC-
                            15230909), filed by JOY ROCKWELL ENTERPRISES, INC. d/b/a POSTCARDMANIA
                            PCM, LLC. (Attachments: # 1 Exhibit A - State Court File, # 2 Civil Cover Sheet)
                            (PURCARO, KELLY) (Entered: 03/29/2024)
   03/30/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jjc, )
                              (Entered: 03/30/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Plaintiff Attorney Information,
                              Party Information: Make sure to add ALL PLAINTIFFS AND DEFENDANTS as found on
                              the state court complaint. . The Clerk's Office has made the appropriate changes. Please
                              refer to the Attorney Case Opening Guide for processing electronically filed cases. (amv)
                              (Entered: 04/01/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (amv) (Entered: 04/01/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (amv) (Entered: 04/01/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - RAJIV D. PARIKH appears to have
                              address information that does not match the court's records for this case. Please refer to the

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?106407350765233-L_1_0-1                                                         3/8

                                                                         JA340
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                              court's website at www.njd.uscourts.gov for information and instructions on maintaining
                              your account. (amv) (Entered: 04/01/2024)
   04/01/2024             2 Diversity Disclosure Statement by JOY ROCKWELL ENTERPRISES, INC.. (FERRO,
                            KORY ANN) (Entered: 04/01/2024)
   04/01/2024             3 NOTICE of Appearance by KORY ANN FERRO on behalf of JOY ROCKWELL
                            ENTERPRISES, INC. (FERRO, KORY ANN) (Entered: 04/01/2024)
   04/01/2024             4 Corporate Disclosure Statement by JOY ROCKWELL ENTERPRISES, INC.. (FERRO,
                            KORY ANN) (Entered: 04/01/2024)
   04/02/2024             5 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/04/2024             6 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            EXTENSION OF TIME TO ANSWER, MOVE, OR OTHERWISE RESPOND TO
                            PLAINTIFFS COMPLAINT PURSUANT TO L. CIV. R. 6.1(b).. (FERRO, KORY ANN)
                            (Entered: 04/04/2024)
   04/05/2024                 Clerk`s Text Order - The 6 Application for Clerk's Order Extending Time to Answer
                              submitted by JOY ROCKWELL ENTERPRISES, INC. has been GRANTED. The answer
                              due date has been set for 4/19/2024. (jdg) (Entered: 04/05/2024)
   04/08/2024             7 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             8 TEXT ORDER REALLOCATING CASE. Case Number 3:24-cv-4389 reallocated to
                            Camden as 1:24-cv-4389. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                            (eaj) (Entered: 04/09/2024)
   04/12/2024             9 Letter re Update Answer Due Deadline, 7 Order,, Set Hearings,. (FERRO, KORY ANN)
                            (Entered: 04/12/2024)
   04/18/2024           11 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/18/2024           12 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/24/2024)
   04/22/2024           10 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           13 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?106407350765233-L_1_0-1                                                      4/8

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                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                              Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                              (Entered: 04/24/2024)
   05/07/2024           14 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           15 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/13/2024)
   05/09/2024           16 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           17 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
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                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   06/03/2024           18 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/11/2024           19 Letter. (PURCARO, KELLY) (Entered: 06/11/2024)
   06/13/2024           20 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           21 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           22 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?106407350765233-L_1_0-1                                                         5/8

                                                                         JA342
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                              (Entered: 08/06/2024)
   08/15/2024           23 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           24 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 22
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           25 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/16/2024           26 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 09/16/2024)
   10/01/2024           27 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           28 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           29 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (db, ) (Entered: 10/09/2024)
   10/10/2024           30 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           31 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           32 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           33 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)




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   12/02/2024           34 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           35 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           36 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           37 Corporate Disclosure Statement by JANE DOE-1, JANE DOE-2, EDWIN
                           MALDONADO, SCOTT MALONEY, ATLAS DATA PRIVACY CORPORATION,
                           JUSTYNA MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM
                           SULLIVAN identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH,
                           RAJIV) (Entered: 12/10/2024)
   12/12/2024           38 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           39 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           40 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           41 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                           (Entered: 02/18/2025)
   02/25/2025           42 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript

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                              Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                              (Entered: 02/25/2025)
   03/18/2025           43 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           44 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 03/18/2025)
   03/21/2025                 USCA Filing Fee: $ 605, receipt number NEW51687. (mag) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (mag) (Entered: 03/21/2025)
   03/24/2025           45 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           46 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           47 NOTICE OF APPEAL by JOY ROCKWELL ENTERPRISES, INC.. Filing fee $ 605. The
                           Clerk's Office hereby certifies the record and the docket sheet available through ECF to be
                           the certified list in lieu of the record and/or the certified copy of the docket entries. (lm, )
                           (Entered: 03/28/2025)
   03/31/2025           48 USCA Case Number 25-1577 for 47 Notice of Appeal (USCA), filed by JOY
                           ROCKWELL ENTERPRISES, INC. USCA Case Manager Laurie (LMR) (Document
                           Restricted - Court Only). (ca3cjg) (Entered: 03/31/2025)
   04/02/2025           49 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           50 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
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                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-04389-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
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                                                                                                                            APPEAL,STAYED

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04390-HB


  ATLAS DATA PRIVACY CORPORATION et al v. FORTNOFF                                           Date Filed: 03/29/2024
  FINANCIAL, LLC et al                                                                       Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01578
                      SUPERIOR COURT OF NEW JERSEY,
                      MERCER COUNTY, MER L 000284 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COOLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  FORTNOFF FINANCIAL, LLC                                                represented by JOHN TIMOTHY MCDONALD
                                                                                        THOMPSON HINE LLP
                                                                                        TWO ALLIANCE CENTER
                                                                                        3560 LENOX ROAD
                                                                                        SUITE 1600
                                                                                        ATLANTA, GA 30326
                                                                                        404-541-2900
                                                                                        Email: tim.mcdonald@thompsonhine.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10

  Defendant
  ABC COMPANIES 1-10
  FICTITIOUS NAMES OF UNKNOWN
  ENTITIES

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   03/29/2024             1 NOTICE OF REMOVAL by FORTNOFF FINANCIAL, LLC from Superior Court of New
                            Jersey, Law Division Mercer County, case number MER-L-000284-24. ( Filing and Admin
                            fee $ 405 receipt number ANJDC-15230917), filed by FORTNOFF FINANCIAL, LLC.
                            (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Civil Cover Sheet)(MCDONALD, JOHN)
                            (Entered: 03/29/2024)
   03/30/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jjc, )
                              (Entered: 03/30/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (jdg, ) (Entered: 04/01/2024)
   04/01/2024             2 Diversity Disclosure Statement by FORTNOFF FINANCIAL, LLC. (MCDONALD,
                            JOHN) (Entered: 04/01/2024)
   04/02/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 2 Diversity Disclosure Statement
                              submitted by John McDonald on 4/1/2024 did not contain a proper electronic signature
                              (s/). PLEASE RESUBMIT THE DOCUMENT WITH THE PROPER ELECTRONIC
                              SIGNATURE (s/ Attorney's Name.) This submission will remain on the docket unless
                              otherwise ordered by the court. (kht) (Entered: 04/02/2024)
   04/02/2024             3 Diversity Disclosure Statement by FORTNOFF FINANCIAL, LLC. (MCDONALD,
                            JOHN) (Entered: 04/02/2024)
   04/02/2024             4 Corporate Disclosure Statement by FORTNOFF FINANCIAL, LLC. (MCDONALD,
                            JOHN) (Entered: 04/02/2024)
   04/02/2024             5 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)


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   04/03/2024             6 MOTION for Extension of Time to File Answer Move, or Otherwise Reply Pursuant to
                            Local Rule 6.1(b) by FORTNOFF FINANCIAL, LLC. (MCDONALD, JOHN) (Entered:
                            04/03/2024)
   04/04/2024                 CLERK'S QUALITY CONTROL MESSAGE - The Application 6 filed by JOHN
                              MCDONALD on 4/3/24 was submitted incorrectly as a Motion. The Clerk's Office has
                              terminated the Motion. PLEASE RESUBMIT THE APPLICATION USING
                              *APPLICATION FOR CLERK ORDER TO EXT ANSWER/PROPOSED ORDER*. This
                              submission will remain on the docket unless otherwise ordered by the court. (amv)
                              (Entered: 04/04/2024)
   04/04/2024             7 Application and Proposed Order for Clerk's Order to extend time to answer as to Extension
                            of Time to Answer, move or Otherwise Reply Pursuant to Local Rule 5.1(b)..
                            (MCDONALD, JOHN) (Entered: 04/04/2024)
   04/05/2024                 Clerk`s Text Order - The 7 Application for Clerk's Order Extending Time to Answer
                              submitted by FORTNOFF FINANCIAL, LLC has been GRANTED. The answer due date
                              has been set for 4/19/2024. (jdg) (Entered: 04/05/2024)
   04/08/2024             8 MOTION for Leave to Appear Pro Hac Vice for Jennifer A. Adler by FORTNOFF
                            FINANCIAL, LLC. (Attachments: # 1 Certification J. Timothy McDonald, # 2
                            Certification Jennifer A. Adler, # 3 Text of Proposed Order)(MCDONALD, JOHN)
                            (Entered: 04/08/2024)
   04/08/2024             9 MOTION for Leave to Appear Pro Hac Vice for Steven G. Stransky by FORTNOFF
                            FINANCIAL, LLC. (Attachments: # 1 Certification J. Timothy McDonald, # 2
                            Certification Steven G. Stransky, # 3 Text of Proposed Order)(MCDONALD, JOHN)
                            (Entered: 04/08/2024)
   04/08/2024           10 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                           Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                           Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                           (Entered: 04/09/2024)
   04/09/2024                 Set Deadlines as to 9 MOTION for Leave to Appear Pro Hac Vice for Steven G. Stransky,
                              8 MOTION for Leave to Appear Pro Hac Vice for Jennifer A. Adler. Motion set for
                              5/6/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jal, ) (Entered: 04/09/2024)
   04/09/2024           11 TEXT ORDER REALLOCATING CASE. Case Number 3:24-cv-4390 reallocated to
                           Camden as 1:24-cv-4390. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                           (eaj). (Entered: 04/09/2024)
   04/10/2024           12 ORDER granting 8 Motion for Leave to Appear Pro Hac Vice as to JENNIFER A.
                           ADLER. Signed by Judge Harvey Bartle (EDPA), III on 4/10/2024. (sms2) (Entered:
                           04/16/2024)
   04/10/2024           13 ORDER granting 9 Motion for Leave to Appear Pro Hac Vice as to STEVEN G.
                           STRANSKY. Signed by Judge Harvey Bartle (EDPA), III on 4/10/2024. (sms2) (Entered:
                           04/16/2024)
   04/18/2024                 Pro Hac Vice fee received as to JENNIFER A. ADLER: $ 250, receipt number CAM14985
                              (sms2) (Entered: 04/19/2024)
   04/18/2024                 Pro Hac Vice fee received as to STEVEN G. STRANSKY: $ 250, receipt number
                              CAM14986 (sms2) (Entered: 04/19/2024)

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   04/18/2024           14 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) . (Entered: 04/22/2024)
   04/18/2024           19 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/22/2024           15 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           16 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   04/23/2024           17 Notice of Request by Pro Hac Vice Jennifer A. Adler to receive Notices of Electronic
                           Filings. (MCDONALD, JOHN) (Entered: 04/23/2024)
   04/23/2024           18 Notice of Request by Pro Hac Vice Steven G. Stransky to receive Notices of Electronic
                           Filings. (MCDONALD, JOHN) (Entered: 04/23/2024)
   05/06/2024                 Pro Hac Vice counsel, STEVEN G. STRANSKY and JENNIFER A. ADLER, has been
                              added to receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local
                              counsel are entitled to sign and file papers, enter appearances and receive payments on
                              judgments, decrees or orders. (tf, ) (Entered: 05/06/2024)
   05/07/2024           20 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           21 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court etc. Signed by Judge Harvey Bartle (EDPA), III (db, ) (Entered:
                           05/13/2024)
   05/09/2024           22 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           23 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?164165435652634-L_1_0-1                                                      5/9

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                              Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/14/2024)
   06/03/2024           24 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           25 Letter from Tim McDonald. (MCDONALD, JOHN) (Entered: 06/10/2024)
   06/13/2024           26 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           27 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           28 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           29 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           30 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 28
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           31 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/30/2024           32 MOTION to Withdraw as Attorney Jennifer A. Adler by FORTNOFF FINANCIAL, LLC.
                           (MCDONALD, JOHN) (Entered: 09/30/2024)
   09/30/2024                 CLERK'S OFFICE QUALITY CONTROL MESSAGE - The MOTION to Withdraw as
                              Attorney 32 filed by JOHN TIMOTHY MCDONALD. ESQ. on 9/30/2024 was submitted
                              incorrectly as a "Motion". PLEASE RESUBMIT THE Notice to Withdraw USING Notice
                              to Withdraw from NEF as to Case, found under "Notices". This submission will remain on
                              the docket unless otherwise ordered by the court. (js) (Entered: 10/01/2024)
   10/01/2024           33 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)

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   10/02/2024           34 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/02/2024           35 NOTICE by FORTNOFF FINANCIAL, LLC of Withdrawal of Appearance of Jennifer A.
                           Adler, admitted PHV (MCDONALD, JOHN) (Entered: 10/02/2024)
   10/08/2024           36 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (db, ) (Entered: 10/09/2024)
   10/10/2024           37 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/15/2024           38 MOTION for Joinder to the Supplemental Memorandum of Law in Further Support of
                           Defendants' Consolidated Motion to Dismiss Plaintiffs' Complaint by FORTNOFF
                           FINANCIAL, LLC. (MCDONALD, JOHN) (Entered: 10/15/2024)
   10/15/2024                 CLERK'S OFFICE QUALITY CONTROL MESSAGE - The Letter 38 filed by JOHN
                              TIMOTHY MCDONALD, ESQ. on 10/15/2024 was submitted incorrectly as a Motion.
                              The Motion has been Terminated. This submission will remain on the docket unless
                              otherwise ordered by the court. This message is for informational purposes only. (js)
                              (Entered: 10/15/2024)
   10/15/2024           39 Letter from J. Timothy McDonald Joining the Supplemental Memorandum of Law in
                           Further Support of Defendants' Consolidated Motion to Dismiss Plaintiffs' Complaint.
                           (MCDONALD, JOHN) (Entered: 10/15/2024)
   11/26/2024           40 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           41 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           42 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           43 ORDER: Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle (EDPA), III on
                           12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/06/2024           44 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)


https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?164165435652634-L_1_0-1                                                      7/9

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   12/10/2024           45 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           46 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COOLIGAN, WILLIAM SULLIVAN identifying Atlas Data
                           Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           47 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           48 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           49 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           50 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                           (Entered: 02/18/2025)
   02/25/2025           51 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/12/2025           52 Joint MOTION to Stay All Deadlines by FORTNOFF FINANCIAL, LLC. (Attachments: #
                           1 Text of Proposed Order)(MCDONALD, JOHN) (Entered: 03/12/2025)
   03/12/2025                 Set Deadlines as to 52 Joint MOTION to Stay All Deadlines. Motion set for 4/7/2025
                              before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this
                              motion will be decided on the papers and no appearances are required. Note that this is an
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?164165435652634-L_1_0-1                                                      8/9

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                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 03/12/2025)
   03/13/2025           53 ORDER granting 52 Joint Motion to Stay. Signed by Judge Harvey Bartle (EDPA), III on
                           3/13/2025. (lm) (Entered: 03/13/2025)
   03/13/2025           54 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           55 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/24/2025                 USCA Filing fee: $ 605, receipt number TRE143193. (js) (Entered: 03/24/2025)
   03/24/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/24/2025)
   03/28/2025           56 NOTICE OF APPEAL by FORTNOFF FINANCIAL, LLC. Filing fee $ 605. The Clerk's
                           Office hereby certifies the record and the docket sheet available through ECF to be the
                           certified list in lieu of the record and/or the certified copy of the docket entries. (lm, )
                           (Entered: 03/28/2025)
   03/31/2025           57 USCA Case Number 25-1578 for 56 Notice of Appeal (USCA), filed by FORTNOFF
                           FINANCIAL, LLC. USCA Case Manager Laurie (LMR) (Document Restricted - Court
                           Only). (ca3cjg) (Entered: 03/31/2025)



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                                                                                                                            APPEAL,STAYED

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04392-HB


  ATLAS DATA PRIVACY CORPORATION et al v.                                                    Date Filed: 03/29/2024
  MYHERITAGE, LTD. et al                                                                     Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01579
                      SUPERIOR COURT OF NEW JERSEY,
                      MERCER COUNTY, MER L 000282 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  MYHERITAGE LTD.                                                        represented by NICHOLAS KORD LAGEMANN
                                                                                        MCELROY, DEUTSCH, MULVANEY &
                                                                                        CARPENTER, LLP
                                                                                        1300 MT. KEMBLE AVE
                                                                                        PO BOX 2075
                                                                                        MORRISTOWN, NJ 07962
                                                                                        973-425-8210
                                                                                        Email: nlagemann@mdmc-law.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  MYHERITAGE (USA), INC.                                                 represented by NICHOLAS KORD LAGEMANN
  TERMINATED: 11/21/2024                                                                (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/29/2024             1 NOTICE OF REMOVAL by MYHERITAGE (USA), INC. from NJ Superior Court,
                            Mercer County, case number MER-L-000282-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15230936), filed by MYHERITAGE (USA), INC.. (Attachments: # 1
                            Exhibit NJ State Court Complaint, # 2 Exhibit Process Served, # 3 Exhibit Notice of
                            Motion to Consolidate, # 4 Exhibit Adjournment Letter Request, # 5 Exhibit Civil Cover
                            Sheet)(LAGEMANN, NICHOLAS) (Entered: 03/29/2024)
   03/29/2024             2 MOTION for Extension of Time to File Answer by MYHERITAGE (USA), INC..
                            (LAGEMANN, NICHOLAS) (Entered: 03/29/2024)
   03/29/2024             3 Diversity Disclosure Statement by MYHERITAGE (USA), INC.. (LAGEMANN,
                            NICHOLAS) (Entered: 03/29/2024)
   03/29/2024             4 Corporate Disclosure Statement by MYHERITAGE (USA), INC., MYHERITAGE, LTD.
                            identifying MYHERITAGE LTD. as Corporate Parent.. (LAGEMANN, NICHOLAS)
                            (Entered: 03/29/2024)
   03/30/2024                 Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jjc, )
                              (Entered: 03/30/2024)
   03/30/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 2 Application for Clerk Order to Ext
                              Answer/Proposed Order filed by NICHOLAS KORD LAGEMANN on 3/29/2024 was
                              submitted incorrectly as a Motion. The Motion has been terminated. PLEASE RESUBMIT
                              THE Application for Clerk Order to Ext Answer/Proposed Order USING the event
                              Application for Clerk Order to Ext Answer/Proposed Order. This submission will remain
                              on the docket unless otherwise ordered by the court. (jjc, ) (Entered: 03/30/2024)
   04/01/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 1 "NOTICE OF REMOVAL" filed on
                              3/29/2024 appears to have address information as to Plaintiff's Counsel that does not match
                              the court's records for this case. Please refer to the court's website at www.njd.uscourts.gov
                              for information and instructions on maintaining your account. (mlh) (Entered: 04/01/2024)
   04/01/2024             5 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            MYHERITAGE, LTD and MYHERITAGE (USA) INC.. Attorney NICHOLAS KORD
                            LAGEMANN for MYHERITAGE LTD. added. (LAGEMANN, NICHOLAS) (Entered:
                            04/01/2024)
   04/01/2024             6 MOTION for Leave to Appear Pro Hac Vice by MYHERITAGE LTD. and by
                            MYHERITAGE (USA), INC.. (Attachments: # 1 Exhibit Nicholas K. Lagemann
                            Declaration, # 2 Exhibit Alan C. Raul Declaration, # 3 Exhibit Proposed Order)
                            (LAGEMANN, NICHOLAS) (Entered: 04/01/2024)
   04/01/2024             7 MOTION for Leave to Appear Pro Hac Vice by MYHERITAGE (USA), INC.,
                            MYHERITAGE LTD.. (Attachments: # 1 Exhibit Nicholas K. Lagemann Declaration, # 2
                            Exhibit Jacquelyn E. Fradette Declaration, # 3 Exhibit Proposed Order)(LAGEMANN,
                            NICHOLAS) (Entered: 04/01/2024)
   04/02/2024                 Clerk`s Text Order - The document 5 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by MYHERITAGE (USA), INC., MYHERITAGE
                              LTD. has been GRANTED. The answer due date has been set for 4/19/2024. (jal, )
                              (Entered: 04/02/2024)


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   04/02/2024                 Set Deadlines as to 7 MOTION for Leave to Appear Pro Hac Vice , 6 MOTION for Leave
                              to Appear Pro Hac Vice by MYHERITAGE LTD. and. Motion set for 5/6/2024 before
                              Magistrate Judge Tonianne J. Bongiovanni. Unless otherwise directed by the Court, this
                              motion will be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jal, ) (Entered: 04/02/2024)
   04/02/2024             8 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024.(gxh) (Entered: 04/02/2024)
   04/02/2024                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Michael A. Shipp no longer assigned to case. (gxh) (Entered: 04/02/2024)
   04/08/2024           10 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                           Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                           Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                           (Entered: 04/09/2024)
   04/09/2024             9 MOTION for Leave to Appear Pro Hac Vice of Tyler J. Domino, Esq. by MYHERITAGE
                            (USA), INC., MYHERITAGE LTD.. (Attachments: # 1 Exhibit Declaration of Nicholas K.
                            Lagemann, # 2 Exhibit Declaration of Tyler J. Domino, # 3 Text of Proposed Order)
                            (LAGEMANN, NICHOLAS) (Entered: 04/09/2024)
   04/09/2024           11 TEXT ORDER REALLOCATING CASE. Case Number 3:24-cv-4392 reallocated to
                           Camden as 1:24-cv-4392.. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.
                           (eaj, ) (Entered: 04/09/2024)
   04/10/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 9 Motion for Leave to Appear Pro
                              Hac Vice submitted by NICHOLAS KORD LAGEMANN on 4/9/2024 contains an
                              improper signature. Only the filing user is permitted to sign electronically filed documents
                              with an s/. PLEASE RESUBMIT THE Declaration of Tyler J. Domino ONLY WITH A
                              SCANNED SIGNATURE. This submission will remain on the docket unless otherwise
                              ordered by the court. (sms2) (Entered: 04/10/2024)
   04/10/2024                 Set Deadlines as to 9 MOTION for Leave to Appear Pro Hac Vice of Tyler J. Domino,
                              Esq.. Motion set for 5/6/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise
                              directed by the Court, this motion will be decided on the papers and no appearances are
                              required. Note that this is an automatically generated message from the Clerk`s Office and
                              does not supersede any previous or subsequent orders from the Court. (sms2) (Entered:
                              04/10/2024)
   04/11/2024           12 Exhibit to QC - Electronic signature does not match e-filer, Scanned signature of
                           Declaration of Tyler J. Domino by MYHERITAGE (USA), INC., MYHERITAGE LTD..
                           (LAGEMANN, NICHOLAS) (Entered: 04/11/2024)
   04/12/2024           13 ORDER granting 6 Motion for Leave to Appear Pro Hac Vice as to Alan C. Raul. Signed
                           by Judge Harvey Bartle (EDPA), III on 4/10/2024. (lm) Modified on 4/16/2024 (lm).
                           (Entered: 04/12/2024)
   04/12/2024           14 ORDER granting 7 Motion for Leave to Appear Pro Hac Vice as to Jacquelyn E. Fradette.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/10/2024. (lm) Modified on 4/16/2024
                           (lm). (Entered: 04/12/2024)
   04/12/2024           15 ORDER granting 9 Motion for Leave to Appear Pro Hac Vice as to Tyler J. Domino.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/10/2024. (lm) Modified on 4/16/2024
                           (lm). (Entered: 04/12/2024)
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   04/18/2024           16 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/22/2024)
   04/18/2024           19 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/19/2024                 Pro Hac Vice fee as to ALAN C. RAUL: $ 250, receipt number TRE138152. (amv)
                              (Entered: 04/19/2024)
   04/19/2024                 Pro Hac Vice fee as to JACQUELYN E. FRADETTE: $ 250, receipt number TRE138154.
                              (amv) (Entered: 04/19/2024)
   04/19/2024                 Pro Hac Vice fee as to TYLER J. DOMINO: $ 250, receipt number TRE138158. (amv)
                              (Entered: 04/19/2024)
   04/22/2024           17 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           18 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/22/2024)
   05/03/2024           20 MOTION to Remand (consolidated) by All Plaintiffs. (Attachments: # 1 Brief, # 2
                           Certification of Rajiv D. Parikh, # 3 Exhibit A - F to certification, # 4 Certification
                           pursuant to L. Civ. R. 11.2, # 5 Text of Proposed Order)(PARIKH, RAJIV) (Entered:
                           05/03/2024)
   05/07/2024                 Set Deadlines as to 20 MOTION to Remand (consolidated). Motion set for 6/3/2024
                              before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this
                              motion will be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jab) (Entered: 05/07/2024)
   05/07/2024           21 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           22 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           24 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
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                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/14/2024)
   05/14/2024           23 ORDER: The Court will conduct a Status Conference on 6/3/2024 at 10:00 AM in Camden
                           - Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/13/2024. (eh, ) (Entered: 05/14/2024)
   06/03/2024           25 Letter from Rajiv D. Parikh, Esq. regarding Subject Matter Jurisdiction Discovery
                           Disputes. (Attachments: # 1 Text of Proposed Order regarding Jurisdiction Discovery)
                           (PARIKH, RAJIV) (Entered: 06/03/2024)
   06/03/2024           26 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 6/3/2024. Order to be entered. (Court Reporter, John Kurz (856-576-
                           7094)) (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm) (Entered: 06/03/2024)
   06/03/2024           27 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/03/2024           28 ORDER setting deadlines for production of certain documents, parties to meet and briefs
                           to be filed. Signed by Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered:
                           06/05/2024)
   06/11/2024           29 Letter from Nicholas K. Lagemann. (LAGEMANN, NICHOLAS) (Entered: 06/11/2024)
   06/13/2024           30 ORDER directing parties to report status of discussions regarding pltfs.' production of a
                           privilege log on or before 6/20/24. Signed by Judge Harvey Bartle (EDPA), III on
                           6/13/2024. (bf, ) (Entered: 06/13/2024)
   06/13/2024           31 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   06/20/2024           32 ORDER directing pltfs. to produce a privilege log to defts. on or before 7/31/2024 purs. to
                           terms set forth in letter dated 6/19/24. Signed by Judge Harvey Bartle (EDPA), III on
                           6/20/2024. (db, ) (Entered: 06/20/2024)
   07/10/2024           33 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   07/24/2024           34 ORDER vacating 6/3/2024 Order re: discovery & subject matter jurisdiction briefing;
                           setting briefing schedule for opposition to motion for remand, etc. Signed by Judge Harvey

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                              Bartle (EDPA), III on 7/24/2024. (lm, ) (Entered: 07/24/2024)
   08/06/2024           35 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           36 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           37 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 35
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           38 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/10/2024           39 Letter. (LAGEMANN, NICHOLAS) (Entered: 09/10/2024)
   09/16/2024           40 Letter from Nicholas K. Lagemann. (LAGEMANN, NICHOLAS) (Entered: 09/16/2024)
   09/16/2024           41 BRIEF in Opposition filed by MYHERITAGE (USA), INC., MYHERITAGE LTD. re 20
                           MOTION to Remand (consolidated) (Attachments: # 1 Declaration Declaration of Michael
                           Stangel)(LAGEMANN, NICHOLAS) (Entered: 09/16/2024)
   09/17/2024           42 Letter from Nicholas K. Lagemann. (LAGEMANN, NICHOLAS) (Entered: 09/17/2024)
   09/26/2024           43 ORDER, The Court will hold Oral Argument on Tuesday, October 22, 2024 at 10:00 a.m.
                           in Courtroom No. 1 in the United States Courthouse in Camden, New Jersey regarding the
                           motions of Plaintiffs to remand the above actions to the Superior Court of New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 09/26/2024. (db, ) (Entered: 09/26/2024)
   10/01/2024           44 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           45 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           46 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (db, ) (Entered: 10/09/2024)
   10/10/2024           47 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)

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   10/10/2024           48 RESPONSE in Support filed by All Plaintiffs re 20 MOTION to Remand (consolidated)
                           (Attachments: # 1 Certification of Rajiv Parikh, # 2 Exhibit A, # 3 Certificate of Service)
                           (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/14/2024           49 Letter from Nicholas K. Lagemann to the Honorable Harvey Bartle III. (LAGEMANN,
                           NICHOLAS) (Entered: 10/14/2024)
   10/22/2024           50 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Motion
                           Hearing held on 10/22/2024 re 20 MOTION to Remand (consolidated) filed by JANE
                           DOE-1, ATLAS DATA PRIVACY CORPORATION, PATRICK COLLIGAN, EDWIN
                           MALDONADO, WILLIAM SULLIVAN, JANE DOE-2, JUSTYNA MALONEY. Motion
                           taken under advisement. (Court Reporter, Sharon Ricci (267-249-8780)) (Attachments: # 1
                           Attorney List) (db, ) (Entered: 10/22/2024)
   10/28/2024           51 Transcript of Motion Hearing held on 10/22/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 11/18/2024. Redacted
                           Transcript Deadline set for 12/2/2024. Release of Transcript Restriction set for 1/27/2025.
                           (lm) (Entered: 10/29/2024)
   11/20/2024           52 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/20/2024. (tf, )
                           (Entered: 11/21/2024)
   11/20/2024           53 ORDER denying 20 Motion to Remand; MyHeritage (USA), Inc. is DISMISSED as a
                           defendant. Signed by Judge Harvey Bartle (EDPA), III on 11/20/2024. (tf, ) (Entered:
                           11/21/2024)
   11/26/2024           54 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           55 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (lm) (Entered: 11/27/2024)
   12/02/2024           56 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           57 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           58 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           59 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)

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   12/10/2024           60 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, JUSTYNA MALONEY, PATRICK
                           COLLIGAN, WILLIAM SULLIVAN identifying Atlas Data Privacy Corporation as
                           Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           61 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           62 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           63 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           64 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                           (Entered: 02/18/2025)
   02/25/2025           65 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/17/2025           66 Joint MOTION to Stay All Deadlines by MYHERITAGE LTD.. (Attachments: # 1 Text of
                           Proposed Order Proposed Order Staying All Deadlines)(LAGEMANN, NICHOLAS)
                           (Entered: 03/17/2025)
   03/18/2025                 Set Deadlines as to 66 Joint MOTION to Stay All Deadlines. Motion set for 4/21/2025
                              before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this
                              motion will be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 03/18/2025)

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   03/18/2025           67 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/20/2025           68 ORDER granting 66 Joint Motion to Stay All Deadlines: Defendant MyHeritage Ltd.'s
                           deadline to respond to the Complaint is stayed until May 17, 2025; and should settlement
                           not be achieved by May 17, 2025, Defendant MyHeritage Ltd. shall answer or otherwise
                           respond to the Complaint on or before June 6, 2025. Signed by Judge Harvey Bartle
                           (EDPA), III on 3/20/2025. (lm, ) (Entered: 03/20/2025)
   03/24/2025                 Filing fee: $605, receipt number NEW51704. (sms2) (Entered: 03/24/2025)
   03/24/2025                 Notice to Court of Appeals re Filing Fee Received. (sms2) (Entered: 03/24/2025)
   03/28/2025           69 NOTICE OF APPEAL by MYHERITAGE LTD.. Filing fee $ 605. The Clerk's Office
                           hereby certifies the record and the docket sheet available through ECF to be the certified
                           list in lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   03/31/2025           70 USCA Case Number 25-1579 for 69 Notice of Appeal (USCA), filed by MYHERITAGE
                           LTD. USCA Case Manager Laurie (LMR) (Document Restricted - Court Only). (ca3cjg)
                           (Entered: 03/31/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 14:25:09
                                    PACER                         Client
                                                     chuderem                     544877.010130
                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-04392-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
                                    Billable
                                                     9            Cost:           0.90
                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04434-HB


  ATLAS DATA PRIVACY CORPORATION v. E-MERGES.COM                                             Date Filed: 04/01/2024
  INC.                                                                                       Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01580
                      Superior Court of New Jersey, Bergen County,
                      BER-L-000854-24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by KATHLEEN BARNETT EINHORN
  CORPORATION                                                                           PEM LAW LLP
                                                                                        1 BOLAND DRIVE
                                                                                        SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        908-413-3074
                                                                                        Email: keinhorn@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  E-MERGES.COM INC.                                                      represented by STACEY TORRES
                                                                                        RKW Law Group
                                                                                        10075 Red Run Blvd.
                                                                                        Suite 401
                                                                                        Owings Mills, MD 21117
                                                                                        443-379-8941
                                                                                        Fax: 443-379-4023
                                                                                        Email: storres@rkwlawgroup.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?152778911122571-L_1_0-1                                                                 1/8

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                                                                                             NEWARK, NJ 07101
                                                                                             908-705-3958
                                                                                             Email: kashif.chand@law.njoag.gov
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   04/01/2024             1 NOTICE OF REMOVAL by E-MERGES.COM INC. from Bergen County Superior Court,
                            case number BER-L-000854-24. ( Filing and Admin fee $ 405 receipt number ANJDC-
                            15237011), filed by E-MERGES.COM INC.. (Attachments: # 1 Supplement 1, # 2
                            Supplement 2, # 3 Supplement 3, # 4 Civil Cover Sheet)(TORRES, STACEY) (Entered:
                            04/01/2024)
   04/01/2024             2 Corporate Disclosure Statement by E-MERGES.COM INC. identifying E-
                            MERGES.COM, INC. as Corporate Parent.. (TORRES, STACEY) (Entered: 04/01/2024)
   04/02/2024             3 MOTION for Extension of Time to File Answer by E-MERGES.COM INC..
                            (Attachments: # 1 Text of Proposed Order)(TORRES, STACEY) (Entered: 04/02/2024)
   04/03/2024                 Judge Harvey Bartle (EDPA), III added. (ps) (Entered: 04/03/2024)
   04/03/2024             4 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024. (aw, ) (Entered: 04/03/2024)
   04/04/2024                 Clerk`s Text Order - The document 3 Application for Extension of Time to File Answer
                              submitted by E-MERGES.COM INC. has been GRANTED. The answer due date has been
                              set for 4/22/2024. (ld, ) (Entered: 04/04/2024)
   04/08/2024             5 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             6 TEXT ORDER REALLOCATING CASE. Case Number 2:24-cv-4434 reallocated to
                            Camden as 1:24-cv-4434. So Ordered by Chief Judge Renee Marie Bumb on 4/9/2024.(jjc,
                            ) (Entered: 04/10/2024)
   04/15/2024             7 MOTION for Leave to Appear Pro Hac Vice of H. Mark Stichel by E-MERGES.COM
                            INC.. (Attachments: # 1 Certification of H. Mark Stichel, # 2 Certification of Stacey
                            Torres, # 3 Text of Proposed Order)(TORRES, STACEY) (Entered: 04/15/2024)
   04/16/2024                 Set Deadlines as to 7 MOTION for Leave to Appear Pro Hac Vice of H. Mark Stichel.
                              Motion set for 5/20/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise
                              directed by the Court, this motion will be decided on the papers and no appearances are
                              required. Note that this is an automatically generated message from the Clerk`s Office and

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                              does not supersede any previous or subsequent orders from the Court. (jab) (Entered:
                              04/16/2024)
   04/18/2024           10 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/23/2024)
   04/18/2024           12 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/19/2024             8 Amended MOTION for Leave to Appear Pro Hac Vice by E-MERGES.COM INC..
                            (Attachments: # 1 Certification by H. Mark Stichel, # 2 Certification by Stacey Torres, # 3
                            Text of Proposed Order)(TORRES, STACEY) (Entered: 04/19/2024)
   04/19/2024                 Set Deadlines as to 8 Amended MOTION for Leave to Appear Pro Hac Vice . Motion set
                              for 5/20/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the
                              Court, this motion will be decided on the papers and no appearances are required. Note that
                              this is an automatically generated message from the Clerk`s Office and does not supersede
                              any previous or subsequent orders from the Court. (sms2) (Entered: 04/19/2024)
   04/22/2024             9 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                            motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                            Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                            (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           13 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/24/2024)
   04/23/2024           11 ORDER granting 8 Motion for Leave to Appear Pro Hac Vice as to H. MARK STITCHEL.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/23/2024. (sms2) (Entered: 04/23/2024)
   05/02/2024           14 Notice of Request by Pro Hac Vice H. Mark Stichel to receive Notices of Electronic
                           Filings. (TORRES, STACEY) (Entered: 05/02/2024)
   05/03/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised that the Request for
                              Electronic Notification of Pro Hac Vice Counsel submitted by Stacey Torres on behalf of
                              H. Mark Stichel on 5/2/2024 cannot be processed until pro hac counsel has been admitted
                              and the application fee paid. Please review the Electronic Notification for Pro Hac Vice
                              instructions on our website. Counsel is advised to resubmit the Request for Electronic
                              Notification of Pro Hac Vice Counsel once payment has been recorded. This message is for
                              informational purposes only. (dmr) (Entered: 05/03/2024)
   05/06/2024           15 Notice of Request by Pro Hac Vice H. Mark Stichel to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15342550.) (Attachments: # 1
                           Order admitting Pro Hac Vice)(TORRES, STACEY) (Entered: 05/06/2024)

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   05/06/2024                 Pro Hac Vice counsel, H. MARK STICHEL, has been added to receive Notices of
                              Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                              file papers, enter appearances and receive payments on judgments, decrees or orders. (dmr)
                              (Entered: 05/06/2024)
   05/07/2024           16 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           17 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           18 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/09/2024           19 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   06/03/2024           20 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           21 MOTION to Dismiss by E-MERGES.COM INC.. Responses due by 7/15/2024.
                           (TORRES, STACEY) (Entered: 06/10/2024)
   06/12/2024                 Set Deadlines as to 21 MOTION to Dismiss. Motion set for 7/15/2024 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (dmr) (Entered: 06/12/2024)
   06/13/2024           22 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   06/17/2024           23 Supplemental MOTION to Dismiss filed 06.14.2024 incorporated herein by E-
                           MERGES.COM INC.. (TORRES, STACEY) (Entered: 06/17/2024)
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   06/17/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 23 Letter filed by STACEY TORRES
                              was incorrectly filed as a motion. Please be advised to use the motion event ONLY when
                              filing a formal motion. The Clerk's Office has terminated entry 23 . This message is for
                              informational purposes only. (sms2) (Entered: 06/17/2024)
   06/17/2024           24 MEMORANDUM in Support filed by E-MERGES.COM INC. re 21 MOTION to Dismiss
                           (TORRES, STACEY) (Entered: 06/17/2024)
   07/10/2024           25 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           26 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           27 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           28 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 26
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           29 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/16/2024           30 Letter. (TORRES, STACEY) (Entered: 09/16/2024)
   10/01/2024           31 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           32 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           33 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
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                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (db, ) (Entered: 10/09/2024)
   10/10/2024           34 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/14/2024           35 Supplemental MOTION for Joinder of Supplemental Memorandum of Law in Further
                           Support Defendants' Consolidated Motion to Dismiss by E-MERGES.COM INC..

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                                                                         JA369
                    Case: 25-1555               Document: 24               Page: 244              Date Filed: 04/14/2025
4/3/25, 2:26 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

                              (TORRES, STACEY) (Entered: 10/14/2024)
   10/15/2024                 CLERK'S OFFICE QUALITY CONTROL MESSAGE - The Letter 35 filed by STACEY
                              TORRES, ESQ. on 10/14/2024 was submitted incorrectly as a Motion. The motion has
                              been terminated. This submission will remain on the docket unless otherwise ordered by
                              the court. This message is for informational purposes only. (js) (Entered: 10/15/2024)
   11/26/2024           36 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           37 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           38 ORDER pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/02/2024. (db, ) (Entered: 12/02/2024)
   12/02/2024           39 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           40 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           41 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           42 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION identifying
                           Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered:
                           12/10/2024)
   12/12/2024           43 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           44 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           45 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           46 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?152778911122571-L_1_0-1                                                      6/8

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                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                              Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                              (Entered: 02/18/2025)
   02/25/2025           47 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           48 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           49 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           50 MOTION to Dismiss by E-MERGES.COM INC.. Responses due by 4/1/2025.
                           (Attachments: # 1 Memorandum in Support, # 2 Declaration of Shawn Harmon)(TORRES,
                           STACEY) (Entered: 03/18/2025)
   03/18/2025                 Set Deadlines as to 50 MOTION to Dismiss. Motion set for 4/21/2025 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (mag) (Entered: 03/19/2025)
   03/19/2025           51 MEMORANDUM in Support filed by E-MERGES.COM INC. re 50 MOTION to Dismiss
                           Updated (TORRES, STACEY) (Entered: 03/19/2025)
   03/20/2025           52 NOTICE OF INTERLOCUTORY APPEAL by E-MERGES.COM INC.. Filing fee $ 605,
                           receipt number ANJDC-16105805. The Clerk's Office hereby certifies the record and the
                           docket sheet available through ECF to be the certified list in lieu of the record and/or the
                           certified copy of the docket entries. Appeal Record due by 4/1/2025. (TORRES, STACEY)
                           (Entered: 03/20/2025)
   03/24/2025           53 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           54 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/31/2025           55 USCA Case Number 25-1580 for 52 Notice of Interlocutory Appeal, filed by E-
                           MERGES.COM INC. USCA Case Manager Laurie (LMR) (Document Restricted - Court
                           Only). (ca3cjg) (Entered: 03/31/2025)
   04/02/2025           56 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))

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                              (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           57 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 14:26:36
                                    PACER                          Client
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                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-04434-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7             Cost:          0.70
                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04609-HB


  ATLAS DATA PRIVACY CORPORATION et al v. NUWBER,                                            Date Filed: 04/07/2024
  INC. et al                                                                                 Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01581
                      SUPERIOR COURT OF NEW JERSEY,
                      MORRIS COUNTY, MRS L 000225 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  As assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?114407197006224-L_1_0-1                                                                 1/9

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  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1, A LAW ENFORCEMENT                                          represented by RAJIV D. PARIKH
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2, A LAW ENFORCEMENT                                          represented by RAJIV D. PARIKH
  OFFICER                                                                               (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  A law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  A law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  NUWBER, INC.                                                           represented by CLAIR ELIZABETH WISCHUSEN
                                                                                        GORDON & REES
                                                                                        18 COLUMBIA TURNPIKE
                                                                                        SUITE 220
                                                                                        FLORHAM PARK, NJ 07932
                                                                                        973-549-2500
                                                                                        Email: cwischusen@grsm.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10

  Defendant
  ABC COMPANIES

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR

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                                                                                             NEWARK, NJ 07101
                                                                                             908-705-3958
                                                                                             Email: kashif.chand@law.njoag.gov
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   04/07/2024             1 NOTICE OF REMOVAL by NUWBER, INC. from Superior Court of New Jersey Morris
                            County, case number MRS L-000225-24. ( Filing and Admin fee $ 405 receipt number
                            ANJDC-15256879), filed by NUWBER, INC.. (Attachments: # 1 Exhibit A, # 2 Civil
                            Cover Sheet)(WISCHUSEN, CLAIR) (Entered: 04/07/2024)
   04/07/2024             2 Corporate Disclosure Statement by NUWBER, INC.. (WISCHUSEN, CLAIR) (Entered:
                            04/07/2024)
   04/07/2024             3 Corporate Disclosure Statement by NUWBER, INC.. (WISCHUSEN, CLAIR) (Entered:
                            04/07/2024)
   04/07/2024             4 Diversity Disclosure Statement by NUWBER, INC.. (WISCHUSEN, CLAIR) (Entered:
                            04/07/2024)
   04/08/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 04/08/2024)
   04/08/2024             5 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (dmw) (Entered: 04/08/2024)
   04/08/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 1 NOTICE OF REMOVAL submitted
                              by CLAIR ELIZABETH WISCHUSEN on 4/7/2024 appears to have address information
                              for RAJIV D. PARIKH that does not match the court's records for this case. Please refer to
                              the court's website at www.njd.uscourts.gov for information and instructions on
                              maintaining your account. (sms2) (Entered: 04/08/2024)
   04/08/2024                 CLERK'S QUALITY CONTROL MESSAGE - RAJIV D. PARIKH, does not have a
                              correct e-mail address listed with the court and is not receiving his/her notices of electronic
                              filing in this case. Pursuant to local rule 10.1 and court procedures, counsel and
                              unrepresented parties are required to notify the court of any mailing or e-mail address
                              changes. Attorneys should review the ECF link on our web site for information on
                              maintaining your account and unrepresented parties, or those attorneys without access to
                              maintaining their account, should notice the Clerk. (sms2, n.m.) (Entered: 04/08/2024)
   04/08/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Party Information; Parties
                              listed in complaint were not included on the docket. The Clerk's Office has made the
                              appropriate changes. Please refer to the Attorney Case Opening Guide for processing
                              electronically filed cases. (sms2) (Entered: 04/08/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?114407197006224-L_1_0-1                                                           3/9

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   04/08/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 2 DIVERSITY DISCLOSURE
                              STATEMENT filed by CLAIR ELIZABETH WISCHUSEN on 4/7/2024 was submitted
                              incorrectly as a Corporate Disclosure Statement. This submission will remain on the
                              docket unless otherwise ordered by the court. (sms2) (Entered: 04/08/2024)
   04/08/2024             8 ORDER setting status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/09/2024)
   04/09/2024             6 APPLICATION/PETITION for Extension of Time Pursuant to Local Rule 6.1(B) for by
                            NUWBER, INC.. (WISCHUSEN, CLAIR) (Entered: 04/09/2024)
   04/09/2024                 CLERK'S QUALITY CONTROL MESSAGE - The Application 6 filed by CLAIR
                              WISCHUSEN on 4/9/2024 was submitted incorrectly as an Application/Petition. PLEASE
                              RESUBMIT THE Application USING the correct event, *Application for Clerk Order to
                              Ext Answer/Proposed Order*. This submission will remain on the docket unless otherwise
                              ordered by the court. (mag) (Entered: 04/09/2024)
   04/09/2024             7 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Defendant Nuwber, Inc.'s time to answer, move or otherwise respond to Complaint.
                            Attorney CLAIR ELIZABETH WISCHUSEN for NUWBER, INC. added.
                            (WISCHUSEN, CLAIR) (Entered: 04/09/2024)
   04/10/2024                 Clerk's Text Order - The document 7 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by NUWBER, INC. has been GRANTED. The answer
                              due date has been set for 4/29/2024. (dmr) (Entered: 04/10/2024)
   04/10/2024             9 MOTION for Leave to Appear Pro Hac Vice by NUWBER, INC.. (Attachments: # 1
                            Certification of Counsel, # 2 Certificate of Service, # 3 Exhibit A - Certified Statement of
                            Applicant, # 4 Exhibit B - Proposed Order)(WISCHUSEN, CLAIR) (Entered: 04/10/2024)
   04/10/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 9 Motion for Leave to Appear Pro
                              Hac Vice submitted by CLAIR ELIZABETH WISCHUSEN on 4/10/2024 contains an
                              improper signature. Only the filing user is permitted to sign electronically filed documents
                              with an s/. PLEASE RESUBMIT THE Declaration of BIANCA EVANS ONLY WITH A
                              SCANNED SIGNATURE. This submission will remain on the docket unless otherwise
                              ordered by the court. (sms2) (Entered: 04/10/2024)
   04/10/2024                 Set Deadlines as to 9 MOTION for Leave to Appear Pro Hac Vice . Motion set for
                              5/6/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (sms2) (Entered: 04/10/2024)
   04/10/2024           10 CERTIFICATION in Support filed by NUWBER, INC. re 9 MOTION for Leave to Appear
                           Pro Hac Vice (WISCHUSEN, CLAIR) (Entered: 04/10/2024)
   04/12/2024           11 ORDER granting 9 Motion for Leave to Appear Pro Hac Vice as to Bianca C. Evans.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/10/2024. (lm) Modified on 4/16/2024
                           (lm). (Entered: 04/12/2024)
   04/18/2024           13 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/23/2024)
   04/18/2024           14 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?114407197006224-L_1_0-1                                                       4/9

                                                                         JA376
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                              under Daniel's Law who requested deletion of any privacy information, etc. on or before
                              5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                              04/23/2024)
   04/22/2024           12 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           15 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/24/2024)
   04/24/2024           16 Notice of Request by Pro Hac Vice Bianca C. Evans to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15313974.) (WISCHUSEN,
                           CLAIR) (Entered: 04/24/2024)
   04/26/2024                 Pro Hac Vice counsel, BIANCA C. EVANS, has been added to receive Notices of
                              Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                              file papers, enter appearances and receive payments on judgments, decrees or orders.
                              (sms2) (Entered: 04/26/2024)
   05/07/2024           17 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           18 ORDER setting deadlines for filing certain motions & briefs and staying action until
                           further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024. (lm)
                           (Entered: 05/13/2024)
   05/09/2024           20 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   05/14/2024           19 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)




https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?114407197006224-L_1_0-1                                                      5/9

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   06/03/2024           21 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/12/2024           22 Letter from Clair E. Wischusen. (WISCHUSEN, CLAIR) (Entered: 06/12/2024)
   06/13/2024           23 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           24 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           25 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           26 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           27 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 25
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           28 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   10/01/2024           29 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           30 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           31 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?114407197006224-L_1_0-1                                                       6/9

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                              Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (tf, ) (Entered: 10/09/2024)
   10/10/2024           32 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           33 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           34 ORDER the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           35 ORDER pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/02/2024. (db, ) (Entered: 12/02/2024)
   12/02/2024           36 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           37 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           38 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           39 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, EDWIN
                           MALDONADO, JANE DOE-1, JANE DOE-2, PATRICK COLLIGAN, PETER
                           ANDREYEV, WILLIAM SULLIVAN, JANE DOE-1, A LAW ENFORCEMENT
                           OFFICER, JANE DOE-2, A LAW ENFORCEMENT OFFICER identifying Atlas Data
                           Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           40 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           41 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           42 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           43 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?114407197006224-L_1_0-1                                                      7/9

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                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                              Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                              (Entered: 02/18/2025)
   02/25/2025           44 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           45 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           46 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           47 MOTION to Dismiss for Lack of Jurisdiction by NUWBER, INC.. (Attachments: # 1
                           Declaration Declaration of Tatiana Borodina)(WISCHUSEN, CLAIR) (Entered:
                           03/18/2025)
   03/18/2025           48 Letter from Clair Wischusen re 47 MOTION to Dismiss for Lack of Jurisdiction .
                           (WISCHUSEN, CLAIR) (Entered: 03/18/2025)
   03/24/2025           49 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/26/2025                 Notice of Appeal Filing fee: $ 605, receipt number TRE143259 paid by Ronald Giller. (jal,
                              ) Modified on 3/26/2025 (jal, ). (Entered: 03/26/2025)
   03/26/2025                 Notice to Court of Appeals re Filing Fee Received. (jal, ) (Entered: 03/26/2025)
   03/27/2025           50 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           51 NOTICE OF APPEAL by NUWBER, INC.. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   03/31/2025           52 USCA Case Number 25-1581 for 51 Notice of Appeal (USCA), filed by NUWBER, INC..
                           USCA Case Manager Laurie (Document Restricted - Court Only) (ca3gch) (Entered:
                           03/31/2025)




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   04/02/2025           53 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           54 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
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                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04664-HB


  ATLAS DATA PRIVACY CORPORATION et al v.                                                    Date Filed: 04/08/2024
  ROCKETREACH LLC et al                                                                      Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01582
                      SUPERIOR COURT OF NEW JERSEY,
                      BERGEN COUNTY, BER L 000873 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  ROCKETREACH LLC                                                        represented by MELISSA ANNE CHUDEREWICZ
                                                                                        TROUTMAN PEPPER LOCKE LLP
                                                                                        301 CARNEIGIE CENTER BOULEVARD
                                                                                        SUITE 4000
                                                                                        PRINCETON, NJ 08543
                                                                                        609-951-4118
                                                                                        Fax: 609-452-1147
                                                                                        Email: melissa.chuderewicz@troutman.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             STEPHANIE L. JONAITIS
                                                                                             TROUTMAN PEPPER LOCKE LLP
                                                                                             301 CARNEGIE CENTER
                                                                                             SUITE 400
                                                                                             PRINCETON, NJ 08543
                                                                                             609-951-4212
                                                                                             Email: stephanie.jonaitis@troutman.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             ANGELO A. STIO , III
                                                                                             TROUTMAN PEPPER LOCKE LLP
                                                                                             301 CARNEGIE CENTER
                                                                                             STE 400
                                                                                             PRINCETON, NJ 08648
                                                                                             609-452-0808
                                                                                             Fax: 609-451-1147
                                                                                             Email: angelo.stio@troutman.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   04/08/2024             1 NOTICE OF REMOVAL by ROCKETREACH LLC from Superior Court of New Jersey -
                            Bergen County, case number BER-L-000873-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15262251), filed by ROCKETREACH LLC. (Attachments: # 1 Exhibit A,
                            # 2 Civil Cover Sheet)(STIO, ANGELO) (Entered: 04/08/2024)
   04/08/2024             2 DECLARATION of Angelo A. Stio III re 1 Notice of Removal, by ROCKETREACH
                            LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(STIO, ANGELO) (Entered: 04/08/2024)
   04/08/2024             3 Diversity Disclosure Statement by ROCKETREACH LLC. (STIO, ANGELO) (Entered:
                            04/08/2024)
   04/08/2024             4 Corporate Disclosure Statement by ROCKETREACH LLC identifying None as Corporate
                            Parent.. (STIO, ANGELO) (Entered: 04/08/2024)
   04/08/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 04/09/2024)
   04/08/2024             5 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (dmw) (Entered: 04/09/2024)
   04/08/2024             7 ORDER scheduling status conference and staying matter through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 8, 2024. (bf, )
                            (Entered: 04/10/2024)
   04/09/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 1 Notice of Removal submitted by
                              ANGELO A. STIO, III on 4/8/2024 appears to have address information for RAJIV D.
                              PARIKH that does not match the court's records for this case. Please refer to the court's
                              website at www.njd.uscourts.gov for information and instructions on maintaining your
                              account. (sms2, n.m.) (Entered: 04/09/2024)
   04/09/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Party Information; Parties
                              should be listed the exact way they appear on the complaint. Removal-Other Court
                              Information; Format of State Court case number should appear as close to the original as
                              possible. The Clerk's Office has made the appropriate changes. Please refer to the Attorney
                              Case Opening Guide for processing electronically filed cases. (sms2) (Entered:
                              04/09/2024)
   04/10/2024             6 NOTICE of Appearance by MELISSA ANNE CHUDEREWICZ on behalf of
                            ROCKETREACH LLC (CHUDEREWICZ, MELISSA) (Entered: 04/10/2024)


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   04/11/2024             8 ORDER scheduling status conference and staying action through 4/18/2024, ( Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on April 11, 2024. (bf, )
                            (Entered: 04/11/2024)
   04/11/2024             9 Consent MOTION for Leave to Appear Pro Hac Vice (Consent Application of Ronald
                            Raether to Appear Pro Hac Vice) by ROCKETREACH LLC. (Attachments: # 1
                            Declaration of A Stio, # 2 Declaration of R. Raether, # 3 Text of Proposed Order, # 4
                            Certificate of Service)(STIO, ANGELO) (Entered: 04/11/2024)
   04/12/2024                 Set Deadlines as to 9 Consent MOTION for Leave to Appear Pro Hac Vice (Consent
                              Application of Ronald Raether to Appear Pro Hac Vice). Motion set for 5/6/2024 before
                              Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will
                              be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 04/12/2024)
   04/12/2024           10 Consent MOTION for Leave to Appear Pro Hac Vice (Consent Application of Alan
                           Wingfield to Appear Pro Hac Vice) by ROCKETREACH LLC. (Attachments: # 1
                           Declaration of A Stio, # 2 Declaration of A. Wingfield, # 3 Text of Proposed Order, # 4
                           Certificate of Service)(STIO, ANGELO) (Entered: 04/12/2024)
   04/15/2024                 Set Deadlines as to 10 Consent MOTION for Leave to Appear Pro Hac Vice (Consent
                              Application of Alan Wingfield to Appear Pro Hac Vice). Motion set for 5/6/2024 before
                              Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will
                              be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (jab) (Entered: 04/15/2024)
   04/16/2024           11 ORDER Granting 9 Motion for Leave to Appear Pro Hac Vice as to Ronald I. Raether, Jr.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/15/2024. (js) (Entered: 04/16/2024)
   04/16/2024           12 ORDER Granting 10 Motion for Leave to Appear Pro Hac Vice as to Alan D. Wingfield.
                           Signed by Judge Harvey Bartle (EDPA), III on 4/15/2024. (js) (Entered: 04/16/2024)
   04/17/2024           13 Letter from Signatory Defendants regarding CMC. (STIO, ANGELO) (Entered:
                           04/17/2024)
   04/17/2024           14 Notice of Request by Pro Hac Vice Tambry L. Bradford to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15292976.) (STIO, ANGELO)
                           (Entered: 04/17/2024)
   04/18/2024                 CLERK'S QUALITY CONTROL MESSAGE - PLEASE DISREGARD the 14 Notice of
                              Request by Pro Hac Vice Tambry L. Bradford to receive Notices of Electronic Filings. This
                              notice was entered in error. (dmr) (Entered: 04/18/2024)
   04/18/2024           15 Letter from Angelo A. Stio III re 14 Notice of Pro Hac Vice to Receive NEF. (STIO,
                           ANGELO) (Entered: 04/18/2024)
   04/18/2024           16 Notice of Request by Pro Hac Vice Alan D. Wingfield to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15294564.) (STIO, ANGELO)
                           (Entered: 04/18/2024)
   04/18/2024           17 Notice of Request by Pro Hac Vice Ronald I Raether to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15295241.) (STIO, ANGELO)
                           (Entered: 04/18/2024)
   04/18/2024                 Pro Hac Vice counsel, RONALD I. RAETHER and ALAN D. WINGFIELD, have been
                              added to receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?217443126386349-L_1_0-1                                                      4/10

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                              counsel are entitled to sign and file papers, enter appearances and receive payments on
                              judgments, decrees or orders. (dmw) (Entered: 04/18/2024)
   04/18/2024           21 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/23/2024)
   04/18/2024           22 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before
                           5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                           04/23/2024)
   04/19/2024           18 Application for Refund of Fees from Angelo re 14 Notice of Pro Hac Vice to Receive NEF
                           (finance notified).. (STIO, ANGELO) (Entered: 04/19/2024)
   04/19/2024           19 Order to Refund Fees (Finance notified). Signed by Melissa Connolly, Management
                           Analyst on 04/19/2024. (mls) (Entered: 04/19/2024)
   04/22/2024           20 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                           motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                           (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           23 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/24/2024)
   05/06/2024           24 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding May 7, 2024 Case
                           Management Conference. (STIO, ANGELO) (Entered: 05/06/2024)
   05/07/2024           25 Letter from Rajiv D. Parikh regarding status and case management. (PARIKH, RAJIV)
                           (Entered: 05/07/2024)
   05/08/2024           30 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                           (lm) (Entered: 05/14/2024)
   05/09/2024           26 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding Joint Request to
                           Extend Time to Submit Requests for Production of Documents and Rule 30(B)(6) Notice.
                           (STIO, ANGELO) (Entered: 05/09/2024)
   05/09/2024           29 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?217443126386349-L_1_0-1                                                      5/10

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                              Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                              Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                              (Entered: 05/14/2024)
   05/10/2024           27 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding Jurisdictional
                           Discovery. (STIO, ANGELO) (Entered: 05/10/2024)
   05/14/2024           28 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/31/2024           31 Letter from Angelo A. Stio, III. (Attachments: # 1 Exhibit A to letter, # 2 Exhibit B to
                           letter, # 3 Exhibit C to letter, # 4 Index D to letter)(STIO, ANGELO) (Entered:
                           05/31/2024)
   06/03/2024           32 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           33 Letter from Angelo Stio - Joinder in Defendants' Consolidated Motion to Dismiss
                           Plaintiffs' Complaint. (STIO, ANGELO) (Entered: 06/10/2024)
   06/13/2024           34 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           35 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   07/26/2024           36 NOTICE of Appearance by STEPHANIE L. JONAITIS on behalf of ROCKETREACH
                           LLC (JONAITIS, STEPHANIE) (Entered: 07/26/2024)
   08/06/2024           37 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/09/2024           38 Letter from Angelo A. Stio, III. (STIO, ANGELO) (Entered: 08/09/2024)
   08/15/2024           39 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           40 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 37
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           41 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?217443126386349-L_1_0-1                                                      6/10

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                              Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                              Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   10/01/2024           42 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           43 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           44 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (tf, ) (Entered: 10/09/2024)
   10/10/2024           45 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/15/2024           46 Consent MOTION for Leave to Appear Pro Hac Vice (Consent Application of Tambry
                           Bradford to Appear Pro Hac Vice) by ROCKETREACH LLC. (Attachments: # 1
                           Declaration of A Stio, # 2 Declaration of T. Bradford, # 3 Text of Proposed Order, # 4
                           Certificate of Service)(STIO, ANGELO) (Entered: 11/15/2024)
   11/18/2024                 Set Deadlines as to 46 Consent MOTION for Leave to Appear Pro Hac Vice (Consent
                              Application of Tambry Bradford to Appear Pro Hac Vice). Motion set for 12/16/2024
                              before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this
                              motion will be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (mag) (Entered: 11/18/2024)
   11/26/2024           47 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           48 ORDER the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           49 ORDER pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/02/2024. (db, ) (Entered: 12/02/2024)
   12/02/2024           50 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)


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   12/06/2024           51 Consent MOTION for Leave to Appear Pro Hac Vice of Tambry L. Bradford by
                           ROCKETREACH LLC. (Attachments: # 1 Declaration of A Stio, # 2 Declaration of T.
                           Bradford, # 3 Text of Proposed Order, # 4 Certificate of Service)(STIO, ANGELO)
                           (Entered: 12/06/2024)
   12/06/2024                 Set Deadlines as to 51 Consent MOTION for Leave to Appear Pro Hac Vice of Tambry L.
                              Bradford. Motion set for 1/6/2025 before Judge Harvey Bartle (EDPA) III. Unless
                              otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (js) (Entered: 12/06/2024)
   12/06/2024           52 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           53 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           54 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, PETER ANDREYEV identifying Atlas
                           Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           55 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   12/12/2024           56 ORDER granting 51 Motion for Leave to Appear Pro Hac Vice as to Tambry L. Bradford,
                           Esq.. Signed by Judge Harvey Bartle (EDPA), III on 12/12/2024. (aji, ) (Entered:
                           12/12/2024)
   12/13/2024           57 Notice of Request by Pro Hac Vice Tambry L. Bradford to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15875957.) (STIO, ANGELO)
                           (Entered: 12/13/2024)
   12/13/2024                 Pro Hac Vice counsel, TAMBRY L. BRADFORD, has been added to receive Notices of
                              Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                              file papers, enter appearances and receive payments on judgments, decrees or orders.
                              (mag) (Entered: 12/13/2024)
   12/19/2024           58 NOTICE by ROCKETREACH LLC withdrawal of appearance, including electronic
                           notification, of Pro Hac Vice counsel Alan D. Wingfield (STIO, ANGELO) (Entered:
                           12/19/2024)
   01/14/2025           59 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           60 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)

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   02/18/2025           61 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                           (Entered: 02/18/2025)
   02/25/2025           62 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           63 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           64 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           65 Letter from Angelo A. Stio III. (STIO, ANGELO) (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number NEW51679. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           66 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           67 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           68 NOTICE OF APPEAL by ROCKETREACH LLC. Filing fee $ 605. The Clerk's Office
                           hereby certifies the record and the docket sheet available through ECF to be the certified
                           list in lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   03/31/2025           69 USCA Case Number 25-1582 for 68 Notice of Appeal (USCA), filed by ROCKETREACH
                           LLC. USCA Case Manager Laurie (Document Restricted - Court Only) (ca3gch) (Entered:
                           03/31/2025)
   04/02/2025           70 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)


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   04/02/2025           71 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-04949-HB


  ATLAS DATA PRIVACY CORPORATION et al v. BELLES                                             Date Filed: 04/15/2024
  CAMP COMMUNICATIONS, INC. et al                                                            Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01583
                      SUPERIOR COURT OF NEW JERSEY,
                      MONMOUTH COUNTY, MON L 000508 24
  Cause: 28:1332 Diversity-(Citizenship)
  Plaintiff
  ATLAS DATA PRIVACY                                              represented by RAJIV D. PARIKH
  CORPORATION                                                                    PEM LAW LLP
  as assignee of individuals who are                                             1 BOLAND DRIVE
  Covered Persons                                                                SUITE 101
                                                                                 WEST ORANGE, NJ 07052
                                                                                 973-585-5330
                                                                                 Email: rparikh@pemlawfirm.com
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                 represented by RAJIV D. PARIKH
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                   represented by RAJIV D. PARIKH
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                 represented by RAJIV D. PARIKH
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

  Plaintiff

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  PATRICK COLLIGAN                                                represented by RAJIV D. PARIKH
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                represented by RAJIV D. PARIKH
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                      represented by RAJIV D. PARIKH
  a law enforcement officer                                                      (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                      represented by RAJIV D. PARIKH
  a law enforcement officer                                                      (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED


  V.
  Defendant
  BELLES CAMP                                                     represented by GREGORY A. BAILEY
  COMMUNICATIONS, INC.                                                           Blank Rome LLP
                                                                                 130 N. 18th Street
                                                                                 One Logan Square
                                                                                 Philadelphia, PA 19103-6998
                                                                                 215-569-5512
                                                                                 Fax: 215-689-1991
                                                                                 Email: gregory.bailey@blankrome.com
                                                                                 TERMINATED: 08/21/2024
                                                                                 LEAD ATTORNEY

                                                                                       PHILIP N. YANNELLA
                                                                                       BLANK ROME LLP
                                                                                       130 N. 18TH STREET
                                                                                       ONE LOGAN SQUARE
                                                                                       PHILADELPHIA, PA 19103-6998
                                                                                       215-569-5506
                                                                                       Fax: 215-832-5792
                                                                                       Email: philip.yannella@blankrome.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       THOMAS P. CIALINO
                                                                                       BLANK ROME LLP
                                                                                       ONE LOGAN SQUARE
                                                                                       130 N. 18TH STREET
                                                                                       PHILADELPHIA, PA 19103
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                                                                                       215-569-5668
                                                                                       Email: tcialino@blankrome.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       STEPHEN M. ORLOFSKY
                                                                                       BLANK, ROME LLP
                                                                                       300 CARNEGIE CENTER, SUITE 220
                                                                                       PRINCETON, NJ 08540
                                                                                       609-750-2646
                                                                                       Fax: 609-897-7286
                                                                                       Email:
                                                                                       STEPHEN.ORLOFSKY@BLANKROME.COM
                                                                                       ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                         represented by KASHIF TARAQ CHAND
  JERSEY                                                                         NEW JERSEY DIVISION OF LAW
                                                                                 124 HALSEY STREET
                                                                                 5TH FLOOR
                                                                                 NEWARK, NJ 07101
                                                                                 908-705-3958
                                                                                 Email: kashif.chand@law.njoag.gov
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   04/15/2024             1 NOTICE OF REMOVAL by BELLES CAMP COMMUNICATIONS, INC. from NJ
                            Superior Court, Monmouth County, Law Division, case number MON-L-000508-24. (
                            Filing and Admin fee $ 405 receipt number CNJDC-15282972), filed by BELLES CAMP
                            COMMUNICATIONS, INC.. (Attachments: # 1 Civil Cover Sheet)(ORLOFSKY,
                            STEPHEN) (Entered: 04/15/2024)
   04/15/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 04/16/2024)


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   04/15/2024             2 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (dmw) (Entered: 04/16/2024)
   04/16/2024             3 ORDER scheduling status conference and staying action through 4/18/24, (Status
                            Conference set for 4/18/2024 at 10:00 AM in Camden - Courtroom 1 before Judge Harvey
                            Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on April 16, 2024. (bf, )
                            (Entered: 04/16/2024)
   04/16/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (sms2) (Entered: 04/16/2024)
   04/16/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (sms2) (Entered: 04/16/2024)
   04/16/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Attorney Information;
                              Plaintiff's Counsel from Superior Court Complaint was not added to the docket. Caption;
                              Parties should be listed the exact way they appear on the complaint. Failure to do so will
                              result in the caption generating incorrectly. Party Information; Alias information should be
                              entered in the alias field. . The Clerk's Office has made the appropriate changes. Please
                              refer to the Attorney Case Opening Guide for processing electronically filed cases. (sms2)
                              (Entered: 04/16/2024)
   04/17/2024             4 NOTICE of Appearance by GREGORY A. BAILEY on behalf of BELLES CAMP
                            COMMUNICATIONS, INC. (BAILEY, GREGORY) (Entered: 04/17/2024)
   04/17/2024             5 NOTICE of Appearance by THOMAS P. CIALINO on behalf of BELLES CAMP
                            COMMUNICATIONS, INC. (CIALINO, THOMAS) (Entered: 04/17/2024)
   04/17/2024             6 Corporate Disclosure Statement by BELLES CAMP COMMUNICATIONS, INC..
                            (ORLOFSKY, STEPHEN) (Entered: 04/17/2024)
   04/17/2024             7 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                            by BELLES CAMP COMMUNICATIONS, INC.. (ORLOFSKY, STEPHEN) (Entered:
                            04/17/2024)
   04/17/2024             8 Diversity Disclosure Statement by BELLES CAMP COMMUNICATIONS, INC..
                            (ORLOFSKY, STEPHEN) (Entered: 04/17/2024)
   04/18/2024           10 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/18/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney List) (db, ) (Entered: 04/23/2024)
   04/18/2024           11 ORDER directing plaintiffs to file any motions to remand and any supporting briefs on or
                           before by 5/3/24 and plaintiffs shall provide to each defendant a list of Covered persons
                           under Daniel's Law who requested deletion of any privacy information, etc. on or before

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?161176107638674-L_1_0-1                                                         4/9

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                              5/17/24. Signed by Judge Harvey Bartle (EDPA), III on 4/18/2024. (db, ) (Entered:
                              04/23/2024)
   04/22/2024             9 ORDER scheduling status conference and staying actions through 5/7/24 except pltfs'
                            motions to remand, ( Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                            Courtroom 1 before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle
                            (EDPA), III on 4/22/24. (ar1, ) (Entered: 04/22/2024)
   04/22/2024           12 Transcript of Status Conference held on 4/18/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/13/2024. Redacted Transcript
                           Deadline set for 5/23/2024. Release of Transcript Restriction set for 7/22/2024. (js)
                           (Entered: 04/24/2024)
   05/07/2024           13 NOTICE of Appearance by PHILIP N. YANNELLA on behalf of BELLES CAMP
                           COMMUNICATIONS, INC. (YANNELLA, PHILIP) (Entered: 05/07/2024)
   05/07/2024           14 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024           15 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                           further order of the Court etc. Signed by Judge Harvey Bartle (EDPA), III. (db, ) (Entered:
                           05/13/2024)
   05/09/2024           17 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   05/14/2024           16 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   06/03/2024           18 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           19 MOTION for Joinder in Defendants' Consolidated Motion to Dismiss Plaintiffs Complaint
                           by BELLES CAMP COMMUNICATIONS, INC.. (ORLOFSKY, STEPHEN) (Entered:
                           06/10/2024)
   06/11/2024                 Set Deadlines as to 19 MOTION for Joinder in Defendants' Consolidated Motion to
                              Dismiss Plaintiffs Complaint. Motion set for 7/15/2024 before Judge Harvey Bartle
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                              (EDPA) III. Unless otherwise directed by the Court, this motion will be decided on the
                              papers and no appearances are required. Note that this is an automatically generated
                              message from the Clerk`s Office and does not supersede any previous or subsequent orders
                              from the Court. (dmr) (Entered: 06/11/2024)
   06/13/2024           20 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           21 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           22 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           23 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           24 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 22
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/21/2024           25 Notice to be terminated and withdraw from Notices of Electronic filing as to case. Attorney
                           GREGORY A. BAILEY terminated. (BAILEY, GREGORY) (Entered: 08/21/2024)
   08/27/2024           26 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/16/2024           27 Letter from Belles Joinder in Defendants Consolidated Reply Brief. (ORLOFSKY,
                           STEPHEN) (Entered: 09/16/2024)
   10/01/2024           28 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           29 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           30 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file

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                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                              Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                              (tf, ) (Entered: 10/09/2024)
   10/10/2024           31 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   10/14/2024           32 MOTION for Joinder TO SUPPLEMENTAL MEMORANDUM OF LAW by BELLES
                           CAMP COMMUNICATIONS, INC.. (ORLOFSKY, STEPHEN) (Entered: 10/14/2024)
   10/15/2024                 Set Deadlines as to 32 MOTION for Joinder TO SUPPLEMENTAL MEMORANDUM OF
                              LAW. Motion set for 11/18/2024 before Judge Harvey Bartle (EDPA) III. Unless otherwise
                              directed by the Court, this motion will be decided on the papers and no appearances are
                              required. Note that this is an automatically generated message from the Clerk`s Office and
                              does not supersede any previous or subsequent orders from the Court. (mag) (Entered:
                              10/15/2024)
   10/15/2024           33 Letter from Belles Camp Comm. Inc.. (ORLOFSKY, STEPHEN) (Entered: 10/15/2024)
   11/26/2024           34 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           35 ORDER the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           36 ORDER pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/02/2024. (db, ) (Entered: 12/02/2024)
   12/02/2024           37 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           38 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           39 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           40 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, EDWIN
                           MALDONADO, SCOTT MALONEY, JUSTYNA MALONEY, PATRICK COLLIGAN,
                           WILLIAM SULLIVAN, JANE DOE-1, JANE DOE-2 identifying Atlas Data Privacy
                           Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           41 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           42 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
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                              # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           43 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/18/2025           44 Transcript of Status Conference held on 1/14/2025, before Judge Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/11/2025. Redacted Transcript
                           Deadline set for 3/21/2025. Release of Transcript Restriction set for 5/19/2025. (js)
                           (Entered: 02/18/2025)
   02/25/2025           45 Transcript of Status Conference held on 12/10/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (mag)
                           (Entered: 02/25/2025)
   03/13/2025           46 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           47 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           48 MOTION for Joinder in Defendants' Consolidated Motions to Dismiss Complaint by
                           BELLES CAMP COMMUNICATIONS, INC.. (ORLOFSKY, STEPHEN) (Entered:
                           03/18/2025)
   03/18/2025           49 BRIEF in Support filed by BELLES CAMP COMMUNICATIONS, INC. re 48 MOTION
                           for Joinder in Defendants' Consolidated Motions to Dismiss Complaint (Attachments: # 1
                           Exhibit A, # 2 Exhibit B)(ORLOFSKY, STEPHEN) (Entered: 03/18/2025)
   03/18/2025           50 DECLARATION of Paul Kulas re 49 Brief in Support of Motion to dismiss Plaintiffs
                           Complaint by BELLES CAMP COMMUNICATIONS, INC.. (ORLOFSKY, STEPHEN)
                           (Entered: 03/18/2025)
   03/21/2025                 USCA Filing fee: $ 605, receipt number TRE143191. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           51 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?161176107638674-L_1_0-1                                                      8/9

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                              March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           52 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           53 NOTICE OF APPEAL by BELLES CAMP COMMUNICATIONS, INC.. Filing fee $ 605.
                           The Clerk's Office hereby certifies the record and the docket sheet available through ECF
                           to be the certified list in lieu of the record and/or the certified copy of the docket entries.
                           (lm, ) (Entered: 03/28/2025)
   03/31/2025           54 USCA Case Number 25-1583 for 53 Notice of Appeal (USCA), filed by BELLES CAMP
                           COMMUNICATIONS, INC.. USCA Case Manager Laurie (Document Restricted - Court
                           Only) (ca3gch) (Entered: 03/31/2025)
   04/02/2025           55 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           56 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
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                                    PACER                         Client
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                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-04949-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
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                                                                                                                                   APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-05600-HB


  ATLAS DATA PRIVACY CORPORATION et al v.                                                    Date Filed: 04/24/2024
  PROPERTYRADAR, INC. et al                                                                  Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 190 Contract: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01584
                      SUPERIOR COURT OF NEW JERSEY,
                      MERCER COUNTY, MER L 000293 24
  Cause: 28:1441 Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  POLICE OFFICER SCOTT MALONEY                                           represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  PROPERTYRADAR, INC.                                                    represented by MELISSA ANNE CHUDEREWICZ
                                                                                        TROUTMAN PEPPER LOCKE LLP
                                                                                        301 CARNEIGIE CENTER BOULEVARD
                                                                                        SUITE 4000
                                                                                        PRINCETON, NJ 08543
                                                                                        609-951-4118
                                                                                        Fax: 609-452-1147
                                                                                        Email: melissa.chuderewicz@troutman.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             STEPHANIE L. JONAITIS
                                                                                             TROUTMAN PEPPER LOCKE LLP
                                                                                             301 CARNEGIE CENTER
                                                                                             SUITE 400
                                                                                             PRINCETON, NJ 08543
                                                                                             609-951-4212
                                                                                             Email: stephanie.jonaitis@troutman.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             ANGELO A. STIO , III
                                                                                             TROUTMAN PEPPER LOCKE LLP
                                                                                             301 CARNEGIE CENTER
                                                                                             STE 400
                                                                                             PRINCETON, NJ 08648
                                                                                             609-452-0808
                                                                                             Fax: 609-451-1147
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                                                                                             Email: angelo.stio@troutman.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   04/24/2024             1 NOTICE OF REMOVAL by PROPERTYRADAR, INC. from Superior Court of New
                            Jersey - Mercer County, case number MER-L-00293-24. ( Filing and Admin fee $ 405
                            receipt number ANJDC-15314499), filed by PROPERTYRADAR, INC.. (Attachments: #
                            1 Exhibit A, # 2 Exhibit B, # 3 Civil Cover Sheet)(STIO, ANGELO) (Entered: 04/24/2024)
   04/24/2024             2 DECLARATION of Angelo A. Stio III re 1 Notice of Removal, by PROPERTYRADAR,
                            INC.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(STIO, ANGELO)
                            (Entered: 04/24/2024)
   04/24/2024             3 Diversity Disclosure Statement by PROPERTYRADAR, INC.. (STIO, ANGELO)
                            (Entered: 04/24/2024)
   04/24/2024             4 Corporate Disclosure Statement by PROPERTYRADAR, INC. identifying None as
                            Corporate Parent.. (STIO, ANGELO) (Entered: 04/24/2024)
   04/25/2024             5 NOTICE of Appearance by MELISSA ANNE CHUDEREWICZ on behalf of
                            PROPERTYRADAR, INC. (CHUDEREWICZ, MELISSA) (Entered: 04/25/2024)
   04/25/2024                 Judge Harvey Bartle (EDPA), III added. (mmb, ) (Entered: 04/25/2024)
   04/25/2024             6 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (mmb, ) (Entered: 04/25/2024)
   04/25/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Attorney Information:
                              Plaintiff's Counsel from Superior Court Complaint was not added to the docket. The
                              Clerk's Office has made the appropriate changes. Please refer to the Attorney Case
                              Opening Guide for processing electronically filed cases. (sms2) (Entered: 04/25/2024)


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   04/25/2024             7 ORDER That Plaintiffs, on or before May 3, 2024, shall file any motions to remand and
                            any supporting briefs. Plaintiffs, on or before May 17, 2024, shall provide to each
                            Defendant and said Defendant's counsel a list of Covered Persons under Daniel's Law who
                            requested deletion of any privacy information by that defendant and sample forms of Atlas
                            Data Privacy Corporation's Terms of Service. This information shall not be otherwise
                            disclosed until further order of this Court. Signed by Judge Harvey Bartle (EDPA), III on
                            4/25/2024. (jab) (Entered: 04/25/2024)
   04/25/2024             8 ORDER That the Court will hold a status conference on Tuesday, May 7, 2024 at 2:00 PM
                            in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey before Judge
                            Harvey Bartle (EDPA) III. The above action is stayed through May 7, 2024, except as to
                            any motions of Plaintiffs to remand and supporting briefs. Signed by Judge Harvey Bartle
                            (EDPA), III on 4/25/2024. (jab) (Entered: 04/25/2024)
   05/06/2024             9 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding May 7, 2024 Case
                            Management Conference. (STIO, ANGELO) (Entered: 05/06/2024)
   05/07/2024           10 Letter from Rajiv D. Parikh regarding status and case management. (PARIKH, RAJIV)
                           (Entered: 05/07/2024)
   05/07/2024           12 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                           (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/10/2024)
   05/08/2024           13 ORDER setting deadlines for the filing of certain motions and briefs, and staying action
                           until further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/24.
                           Signed by Judge Harvey Bartle (EDPA), III on 5/8/24. (ar1, ) (Entered: 05/10/2024)
   05/09/2024           11 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding Joint Request to
                           Extend Time to Submit Requests for Production of Documents and Rule 30(B)(6) Notice.
                           (STIO, ANGELO) (Entered: 05/09/2024)
   05/09/2024           14 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/10/2024)
   05/10/2024           15 Letter from Angelo Stio to the Honorable Harvey Bartle III regarding Jurisdictional
                           Discovery. (STIO, ANGELO) (Entered: 05/10/2024)
   05/14/2024           16 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   05/22/2024           17 Consent MOTION for Leave to Appear Pro Hac Vice (of Ronald Raether) by
                           PROPERTYRADAR, INC.. (Attachments: # 1 Declaration of A Stio, # 2 Declaration of R.
                           Raether, # 3 Text of Proposed Order, # 4 Certificate of Service)(STIO, ANGELO)
                           (Entered: 05/22/2024)
   05/23/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 17 LETTER filed by Angelo A. Stio,
                              III on 5/22/2024 was submitted incorrectly as a Motion. The calendar event created by use
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?165320883026627-L_1_0-1                                                      4/8

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                              of this event has been terminated. IN THE FUTURE PLEASE SUBMIT LETTERS
                              USING the event Letter. The event Motion should be used for formal motions only. This
                              submission will remain on the docket unless otherwise ordered by the court. (jjc, )
                              (Entered: 05/23/2024)
   05/31/2024           18 Letter from Angelo A. Stio, III. (Attachments: # 1 Exhibit A to letter, # 2 Exhibit B to
                           letter, # 3 Exhibit C to letter, # 4 Exhibit D to letter)(STIO, ANGELO) (Entered:
                           05/31/2024)
   06/03/2024           19 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/10/2024           20 Letter from Angelo Stio - Joinder in Defendants' Consolidated Motion to Dismiss
                           Plaintiffs' Complaint. (STIO, ANGELO) (Entered: 06/10/2024)
   06/13/2024           21 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           22 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   07/26/2024           23 NOTICE of Appearance by STEPHANIE L. JONAITIS on behalf of PROPERTYRADAR,
                           INC. (JONAITIS, STEPHANIE) (Entered: 07/26/2024)
   08/06/2024           24 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/09/2024           25 Letter from Angelo A. Stio, III. (STIO, ANGELO) (Entered: 08/09/2024)
   08/15/2024           26 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           27 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 24
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           28 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   10/01/2024           29 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion

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                              taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                              ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           30 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           31 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (tf, ) (Entered: 10/09/2024)
   10/10/2024           32 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           33 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           34 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           35 ORDER pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/02/2024. (db, ) (Entered: 12/02/2024)
   12/02/2024           36 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           37 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           38 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           39 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, EDWIN
                           MALDONADO, SCOTT MALONEY, JUSTYNA MALONEY, PATRICK COLLIGAN,
                           PETER ANDREYEV identifying Atlas Data Privacy Corporation as Corporate Parent..
                           (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           40 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)




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   01/14/2025           41 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           42 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/19/2025           43 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                           Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                           (Main Document 43 replaced on 2/19/2025) (mag). (Entered: 02/19/2025)
   03/18/2025           44 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           45 Letter from Angelo A. Stio III. (STIO, ANGELO) (Entered: 03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number NEW51680. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           46 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           47 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           48 NOTICE OF APPEAL by PROPERTYRADAR, INC.. Filing fee $ 605. The Clerk's Office
                           hereby certifies the record and the docket sheet available through ECF to be the certified
                           list in lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   03/31/2025           49 USCA Case Number 25-1584 for 48 Notice of Appeal (USCA), filed by
                           PROPERTYRADAR, INC.. USCA Case Manager Laurie (Document Restricted - Court
                           Only) (ca3gch) (Entered: 03/31/2025)
   04/02/2025           50 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)


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   04/02/2025           51 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 14:34:44
                                    PACER                         Client
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                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-05600-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
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                                                     7            Cost:           0.70
                                    Pages:




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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-05656-HB


  ATLAS DATA PRIVACY CORPORATION et al v. THE ALESCO                                         Date Filed: 04/26/2024
  GROUP, L.L.C.                                                                              Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01585
                      SUPERIOR COURT OF NEW JERSEY,
                      BERGEN COUNTY, BER L 000969 24
  Cause: 28:1442 Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                    represented by RAJIV D. PARIKH
  CORPORATION                                                                          PEM LAW LLP
  as assignee of individuals who are Covered                                           1 BOLAND DRIVE
  Persons                                                                              SUITE 101
                                                                                       WEST ORANGE, NJ 07052
                                                                                       973-585-5330
                                                                                       Email: rparikh@pemlawfirm.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                            represented by RAJIV D. PARIKH
  a law enforcement officer                                                            (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                            represented by RAJIV D. PARIKH
  a law enforcement officer                                                            (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                         represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff

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  JUSTYNA MALONEY                                                       represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                      represented by RAJIV D. PARIKH
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


  V.
  Defendant
  THE ALESCO GROUP, L.L.C.                                              represented by KORY ANN FERRO
                                                                                       GREENSPOON MARDER, LLP
                                                                                       1037 RAYMOND BLVD.
                                                                                       SUITE 900
                                                                                       NEWARK, NJ 07102
                                                                                       732-494-4800
                                                                                       Email: KoryAnn.Ferro@gmlaw.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                             KELLY MAGNUS PURCARO
                                                                                             GREENSPOON MARDER
                                                                                             1037 RAYMOND BLVD
                                                                                             SUITE 900
                                                                                             NEWARK, NJ 07102
                                                                                             732-456-8734
                                                                                             Fax: 212-524-5050
                                                                                             Email: Kelly.Purcaro@gmlaw.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  ALESCO AI, LLC

  Defendant
  ALESCO MARKETING SOLUTIONS,
  L.L.C.

  Defendant
  STAT RESOURCE GROUP INC.

  Defendant
  RESPONSE SOLUTIONS GROUP, LLC

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant

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  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                               represented by KASHIF TARAQ CHAND
  JERSEY                                                                               NEW JERSEY DIVISION OF LAW
                                                                                       124 HALSEY STREET
                                                                                       5TH FLOOR
                                                                                       NEWARK, NJ 07101
                                                                                       908-705-3958
                                                                                       Email: kashif.chand@law.njoag.gov
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   04/26/2024             1 NOTICE OF REMOVAL by The Alesco Group, L.L.C. from Superior Court New Jersey,
                            Bergen County, case number BER-L-000969-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15320207), filed by The Alesco Group, L.L.C.. (Attachments: # 1 Exhibit
                            A, # 2 Exhibit B, # 3 Civil Cover Sheet)(PURCARO, KELLY) (Entered: 04/26/2024)
   04/26/2024                 Judge Harvey Bartle (EDPA), III added. (mmb, ) (Entered: 04/26/2024)
   04/26/2024             2 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (mmb, ) (Entered: 04/26/2024)
   04/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Caption; Parties should be
                              listed the exact way they appear on the complaint. Failure to do so will result in the caption
                              generating incorrectly. Party Information; Parties listed in complaint were not included on
                              the docket. Parties should be listed the exact way they appear on the complaint. Alias
                              information should be entered in the alias field. Parties should be entered in all caps. The
                              Clerk's Office has made the appropriate changes. Please refer to the Attorney Case
                              Opening Guide for processing electronically filed cases. (sms2) (Entered: 04/26/2024)
   04/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (sms2) (Entered: 04/26/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?20526000902917-L_1_0-1                                                          3/8

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   04/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (sms2) (Entered: 04/26/2024)
   04/29/2024             3 ORDER directing Plaintiffs to file any motions to remand and any supporting briefs by
                            5/17/2024; ORDERED that Plaintiffs shall provide to each Defendant and said Defendant's
                            counsel a list of Covered Persons under Daniel's Law who requested deletion of any
                            privacy information by that defendant and sample forms of Atlas Data Privacy
                            Corporation's Terms of Service on or before 5/24/2024. Signed by Judge Harvey Bartle
                            (EDPA), III on 4/29/2024. (dmr) (Entered: 04/29/2024)
   04/29/2024             4 ORDER scheduling a Status Conference for 5/7/2024 at 2:00 AM in Camden - Courtroom
                            1 before Judge Harvey Bartle (EDPA) III; ORDREED that the actions are stayed through
                            5/7/2024, except as to any motions of Plaintiffs to remand and supporting briefs. Signed by
                            Judge Harvey Bartle (EDPA), III on 4/29/2024. (dmr) (Entered: 04/29/2024)
   04/30/2024             5 NOTICE of Appearance by KORY ANN FERRO on behalf of THE ALESCO GROUP,
                            L.L.C. (FERRO, KORY ANN) (Entered: 04/30/2024)
   04/30/2024             6 Corporate Disclosure Statement by THE ALESCO GROUP, L.L.C.. (FERRO, KORY
                            ANN) (Entered: 04/30/2024)
   04/30/2024             7 Diversity Disclosure Statement by THE ALESCO GROUP, L.L.C.. (FERRO, KORY
                            ANN) (Entered: 04/30/2024)
   05/07/2024             8 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024             9 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                            further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                            (lm) (Entered: 05/13/2024)
   05/09/2024           11 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   05/14/2024           10 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   06/03/2024           12 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/11/2024           13 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 06/11/2024)


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   06/13/2024           14 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           15 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           16 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           17 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           18 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 16
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           19 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/16/2024           20 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 09/16/2024)
   10/01/2024           21 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           22 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           23 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
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                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (tf, ) (Entered: 10/09/2024)


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   10/10/2024           24 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           25 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           26 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           27 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           28 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           29 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           30 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           31 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, SCOTT MALONEY, JUSTYNA MALONEY, WILLIAM
                           SULLIVAN identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH,
                           RAJIV) (Entered: 12/10/2024)
   12/12/2024           32 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           33 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           34 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/19/2025           35 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?20526000902917-L_1_0-1                                                       6/8

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                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                              Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                              (Entered: 02/19/2025)
   02/25/2025           36 Transcript of Status Conference held on 12/10/2024, before Judge Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (js)
                           (Entered: 02/25/2025)
   03/13/2025           37 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           38 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           39 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 03/18/2025)
   03/21/2025                 Filing fee: $605, receipt number NEW51690. (sms2) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals re Filing Fee Received. (sms2) (Entered: 03/21/2025)
   03/24/2025           40 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           41 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           42 NOTICE OF APPEAL by ALESCO AI, LLC, ALESCO MARKETING SOLUTIONS,
                           L.L.C., RESPONSE SOLUTIONS GROUP, LLC, STAT RESOURCE GROUP INC., THE
                           ALESCO GROUP, L.L.C.. Filing fee $ 605. The Clerk's Office hereby certifies the record
                           and the docket sheet available through ECF to be the certified list in lieu of the record
                           and/or the certified copy of the docket entries. (lm, ) (Entered: 03/28/2025)
   03/31/2025           43 USCA Case Number 25-1585 for 42 Notice of Appeal (USCA), filed by ALESCO
                           MARKETING SOLUTIONS, L.L.C., THE ALESCO GROUP, L.L.C., STAT RESOURCE
                           GROUP INC., RESPONSE SOLUTIONS GROUP, LLC, ALESCO AI, LLC. USCA Case
                           Manager Laurie (Document Restricted - Court Only) (ca3gch) (Entered: 03/31/2025)
   04/02/2025           44 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           45 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center

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                                                              Transaction Receipt
                                                                 04/03/2025 14:36:13
                                    PACER                         Client
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                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-05656-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7            Cost:           0.70
                                    Pages:




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                                                                                                                            APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-05658-HB


  ATLAS DATA PRIVACY CORPORATION et al v. SEARCHBUG, Date Filed: 04/26/2024
  INC. et al                                            Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III          Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                       Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01586
                      SUPERIOR COURT OF NEW JERSEY,
                      MIDDLESEX COUNTY, MID L 000904 24
  Cause: 28:1441 Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  SEARCHBUG, INC.                                                        represented by KORY ANN FERRO
                                                                                        GREENSPOON MARDER, LLP
                                                                                        1037 RAYMOND BLVD.
                                                                                        SUITE 900
                                                                                        NEWARK, NJ 07102
                                                                                        732-494-4800
                                                                                        Email: KoryAnn.Ferro@gmlaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KELLY MAGNUS PURCARO
                                                                                             GREENSPOON MARDER
                                                                                             1037 RAYMOND BLVD
                                                                                             SUITE 900
                                                                                             NEWARK, NJ 07102
                                                                                             732-456-8734
                                                                                             Fax: 212-524-5050
                                                                                             Email: Kelly.Purcaro@gmlaw.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?479188033812799-L_1_0-1                                                        2/7

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  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   04/26/2024             1 NOTICE OF REMOVAL by SEARCHBUG, INC. from Superior Court New Jersey,
                            Middlesex County, case number MID-L-000904-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15320612), filed by SEARCHBUG, INC.. (Attachments: # 1 Exhibit A, #
                            2 Exhibit B, # 3 Civil Cover Sheet)(PURCARO, KELLY) (Entered: 04/26/2024)
   04/26/2024                 Judge Harvey Bartle (EDPA), III added. (mmb, ) (Entered: 04/26/2024)
   04/26/2024             2 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (mmb, ) (Entered: 04/26/2024)
   04/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Party Information; Parties
                              listed in complaint were not included on the docket. Alias information should be entered in
                              the alias field. The Clerk's Office has made the appropriate changes. Please refer to the
                              Attorney Case Opening Guide for processing electronically filed cases. (sms2) (Entered:
                              04/26/2024)
   04/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (sms2) (Entered: 04/26/2024)
   04/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (sms2) (Entered: 04/26/2024)


https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?479188033812799-L_1_0-1                                                         3/7

                                                                         JA419
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   04/29/2024             3 ORDER directing Plaintiffs to file any motions to remand and any supporting briefs by
                            5/17/2024; ORDERED that Plaintiffs shall provide to each Defendant and said Defendant's
                            counsel a list of Covered Persons under Daniel's Law who requested deletion of any
                            privacy information by that defendant and sample forms of Atlas Data Privacy
                            Corporation's Terms of Service on or before 5/24/2024. Signed by Judge Harvey Bartle
                            (EDPA), III on 4/29/2024. (dmr) (Entered: 04/29/2024)
   04/29/2024             4 ORDER scheduling a Status Conference for 5/7/2024 at 2:00 AM in Camden - Courtroom
                            1 before Judge Harvey Bartle (EDPA) III; ORDREED that the actions are stayed through
                            5/7/2024, except as to any motions of Plaintiffs to remand and supporting briefs. Signed by
                            Judge Harvey Bartle (EDPA), III on 4/29/2024. (dmr) (Entered: 04/29/2024)
   04/30/2024             5 NOTICE of Appearance by KORY ANN FERRO on behalf of SEARCHBUG, INC.
                            (FERRO, KORY ANN) (Entered: 04/30/2024)
   04/30/2024             6 Corporate Disclosure Statement by SEARCHBUG, INC.. (FERRO, KORY ANN)
                            (Entered: 04/30/2024)
   04/30/2024             7 Diversity Disclosure Statement by SEARCHBUG, INC.. (FERRO, KORY ANN) (Entered:
                            04/30/2024)
   05/07/2024             8 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024             9 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                            further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                            (lm) (Entered: 05/13/2024)
   05/09/2024           11 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   05/14/2024           10 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   06/03/2024           12 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/11/2024           13 Letter. (PURCARO, KELLY) (Entered: 06/11/2024)
   06/13/2024           14 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?479188033812799-L_1_0-1                                                      4/7

                                                                         JA420
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                              redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                              Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                              Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                              by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                              Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           15 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           16 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           17 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           18 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 16
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           19 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/16/2024           20 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 09/16/2024)
   10/01/2024           21 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           22 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           23 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
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                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (tf, ) (Entered: 10/09/2024)
   10/10/2024           24 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           25 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           26 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?479188033812799-L_1_0-1                                                          5/7

                                                                         JA421
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                              unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                              11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           27 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           28 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           29 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           30 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           31 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           32 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           33 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           34 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/19/2025           35 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                           Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                           (Entered: 02/19/2025)
   02/25/2025           36 Transcript of Status Conference held on 12/10/2024, before Judge Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?479188033812799-L_1_0-1                                                      6/7

                                                                         JA422
                    Case: 25-1555               Document: 24               Page: 297              Date Filed: 04/14/2025
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                              REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                              MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                              with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                              Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                              or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                              Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (js)
                              (Entered: 02/25/2025)
   03/18/2025           37 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           38 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 03/18/2025)
   03/21/2025                 Filing fee: $ 605, receipt number NEW51691. (sms2) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals re Filing Fee Received. (sms2) (Entered: 03/21/2025)
   03/24/2025           39 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           40 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           41 NOTICE OF APPEAL by SEARCHBUG, INC.. Filing fee $ 605. The Clerk's Office
                           hereby certifies the record and the docket sheet available through ECF to be the certified
                           list in lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   03/31/2025           42 USCA Case Number 25-1586 for 41 Notice of Appeal (USCA), filed by SEARCHBUG,
                           INC.. USCA Case Manager Laurie (Document Restricted - Court Only) (ca3gch, )
                           (Entered: 03/31/2025)
   04/02/2025           43 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           44 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
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                                                                 04/03/2025 14:37:44
                                    PACER                         Client
                                                     chuderem                     544877.010130
                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-05658-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
                                    Billable
                                                     7            Cost:           0.70
                                    Pages:



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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-05775-HB


  ATLAS DATA PRIVACY CORPORATION et al v. AMERILIST,                                         Date Filed: 05/01/2024
  INC. et al                                                                                 Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01587
                      SUPERIOR COURT OF NEW JERSEY,
                      MIDDLESEX COUNTY, MID L 001052 24
  Cause: 28:1332 Diversity-Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?745562228232644-L_1_0-1                                                                 1/7

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                    Case: 25-1555               Document: 24               Page: 299              Date Filed: 04/14/2025
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  POLICE OFFICER SCOTT MALONEY                                           represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  AMERILIST, INC.                                                        represented by KORY ANN FERRO
                                                                                        GREENSPOON MARDER, LLP
                                                                                        1037 RAYMOND BLVD.
                                                                                        SUITE 900
                                                                                        NEWARK, NJ 07102
                                                                                        732-494-4800
                                                                                        Email: KoryAnn.Ferro@gmlaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KELLY MAGNUS PURCARO
                                                                                             GREENSPOON MARDER
                                                                                             1037 RAYMOND BLVD
                                                                                             SUITE 900
                                                                                             NEWARK, NJ 07102
                                                                                             732-456-8734
                                                                                             Fax: 212-524-5050
                                                                                             Email: Kelly.Purcaro@gmlaw.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?745562228232644-L_1_0-1                                                        2/7

                                                                         JA425
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  ABC COMPANIES 1-10
  fictitious entities

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   05/01/2024             1 NOTICE OF REMOVAL by AMERILIST, INC. from Superior Court New Jersey,
                            Middlesex County, case number MID-L-001052-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15333605), filed by AMERILIST, INC.. (Attachments: # 1 Exhibit A, # 2
                            Exhibit B, # 3 Civil Cover Sheet)(PURCARO, KELLY) (Entered: 05/01/2024)
   05/01/2024             2 NOTICE of Appearance by KORY ANN FERRO on behalf of AMERILIST, INC.
                            (FERRO, KORY ANN) (Entered: 05/01/2024)
   05/01/2024             3 Corporate Disclosure Statement by AMERILIST, INC.. (FERRO, KORY ANN) (Entered:
                            05/01/2024)
   05/01/2024             4 Diversity Disclosure Statement by AMERILIST, INC.. (FERRO, KORY ANN) (Entered:
                            05/01/2024)
   05/01/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 05/02/2024)
   05/01/2024             5 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (dmw) (Entered: 05/02/2024)
   05/02/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Party Information; Parties
                              should be listed the exact way they appear on the complaint. Alias information should be
                              entered in the alias field. The Clerk's Office has made the appropriate changes. Please refer
                              to the Attorney Case Opening Guide for processing electronically filed cases. (sms2)
                              (Entered: 05/02/2024)
   05/02/2024             6 ORDER scheduling a Status Conference set for 5/7/2024 at 2:00 PM in Camden -
                            Courtroom 1 before Judge Harvey Bartle (EDPA) III. This action is stayed through May 7,
                            2024, except as to any motions of Plaintiffs to remand and supporting briefs. Signed by
                            Judge Harvey Bartle (EDPA), III on 5/2/2024. (dmr) (Entered: 05/02/2024)
   05/02/2024             7 ORDER directing Plaintiffs to file any motions to remand and any supporting briefs on or
                            before 5/7/2024; Plaintiffs, on or before 5/24/2024, shall provide to each Defendant and
                            said Defendant's counsel a list of Covered Persons under Daniel's Law who requested
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?745562228232644-L_1_0-1                                                        3/7

                                                                         JA426
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                              deletion of any privacy information by that defendant. Signed by Judge Harvey Bartle
                              (EDPA), III on 5/2/2024. (dmr) (Entered: 05/02/2024)
   05/07/2024             8 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                            Conference held on 5/7/2024. (Court Reporter, Ann Marie Mitchell (856-576-7018))
                            (Attachments: # 1 Attorney Sign-In Sheet) (bf, ) (Entered: 05/13/2024)
   05/08/2024             9 ORDER setting deadlines for filing of certain motions & briefs and staying action until
                            further order of the Court, etc. Signed by Judge Harvey Bartle (EDPA), III on 5/8/2024.
                            (lm) (Entered: 05/13/2024)
   05/09/2024           11 Transcript of Status Conference held on 5/7/2024, before Judge Bartle. Court
                           Reporter/Transcriber Ann Marie Mitchell (856-576-7018). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 5/30/2024. Redacted Transcript
                           Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/7/2024. (js)
                           (Entered: 05/14/2024)
   05/14/2024           10 ORDER CONCERNING NOTICE AND CERTIFICATION PURSUANT TO RULE 5.1
                           OF THE FEDERAL RULES OF CIVIL PROCEDURE. Signed by Judge Harvey Bartle
                           (EDPA), III on 5/9/2024. (dmw) (Entered: 05/14/2024)
   06/03/2024           12 ORDER: Any entity seeking to file an amicus brief regarding the facial challenge to the
                           constitutionality of Daniel's Law, N.J. Stat. Ann. §§ 47:1-A, et seq., and 58:8-166.1, shall
                           file on before June 15, 2024 a petition to do so together with said amicus brief. Signed by
                           Judge Harvey Bartle (EDPA), III on 6/3/2024. (lm) (Entered: 06/03/2024)
   06/11/2024           13 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 06/11/2024)
   06/13/2024           14 Transcript of Proceedings Status Conference held on 06/03/2024, before Judge Harvey
                           Bartle III. Court Reporter/Transcriber John Kurz (856-576-7094). NOTICE
                           REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                           TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have seven
                           (7) calendar days to file with the Court a Notice of Intent to Request Redaction of this
                           Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                           redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a
                           Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                           Recording`. Redaction Request to Court Reporter/Transcription Agency due, but not filed,
                           by 7/8/2024. Redacted Transcript Deadline set for 7/15/2024. Release of Transcript
                           Restriction set for 9/11/2024. (db, ) (Entered: 06/13/2024)
   07/10/2024           15 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           16 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           17 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?745562228232644-L_1_0-1                                                       4/7

                                                                         JA427
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   08/20/2024           18 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 16
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           19 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/16/2024           20 Letter. (PURCARO, KELLY) (Entered: 09/16/2024)
   10/01/2024           21 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           22 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           23 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (tf, ) (Entered: 10/09/2024)
   10/10/2024           24 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           25 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           26 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           27 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           28 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           29 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)


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                                                                         JA428
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   12/10/2024           30 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           31 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           32 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           33 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           34 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/19/2025           35 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
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                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                           Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                           (Entered: 02/19/2025)
   02/25/2025           36 Transcript of Status Conference held on 12/10/2024, before Judge Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (js)
                           (Entered: 02/25/2025)
   03/18/2025           37 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           38 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 03/18/2025)
   03/21/2025                 USCA Filing Fee: $ 605, receipt number NEW51692. (mag) (Entered: 03/21/2025)
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                    Case: 25-1555               Document: 24               Page: 304              Date Filed: 04/14/2025
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   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (mag) (Entered: 03/21/2025)
   03/24/2025           39 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           40 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           41 NOTICE OF APPEAL by AMERILIST, INC.. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   03/31/2025           42 USCA Case Number 25-1587 for 41 Notice of Appeal (USCA), filed by AMERILIST,
                           INC.. USCA Case Manager Laurie (Document Restricted - Court Only) (ca3gch) (Entered:
                           03/31/2025)
   04/02/2025           43 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           44 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                                                         JA430
                    Case: 25-1555               Document: 24               Page: 305              Date Filed: 04/14/2025
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                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-07324-HB


  ATLAS DATA PRIVACY CORPORATION et al v. US DATA                                            Date Filed: 06/27/2024
  CORPORATION et al                                                                          Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01588
                      Superior Court of New Jersey, Morris County,
                      MRS-L-000323-24
  Cause: 28:1332 Diversity-Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by RAJIV D. PARIKH
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

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                    Case: 25-1555               Document: 24               Page: 306              Date Filed: 04/14/2025
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  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  US DATA CORPORATION                                                    represented by KORY ANN FERRO
                                                                                        GREENSPOON MARDER, LLP
                                                                                        1037 RAYMOND BLVD.
                                                                                        SUITE 900
                                                                                        NEWARK, NJ 07102
                                                                                        732-494-4800
                                                                                        Email: KoryAnn.Ferro@gmlaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KELLY MAGNUS PURCARO
                                                                                             GREENSPOON MARDER
                                                                                             1037 RAYMOND BLVD
                                                                                             SUITE 900
                                                                                             NEWARK, NJ 07102
                                                                                             732-456-8734
                                                                                             Fax: 212-524-5050
                                                                                             Email: Kelly.Purcaro@gmlaw.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?611917822119103-L_1_0-1                                                        2/6

                                                                         JA432
                    Case: 25-1555               Document: 24               Page: 307              Date Filed: 04/14/2025
4/3/25, 2:41 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   06/27/2024             1 NOTICE OF REMOVAL by US DATA CORPORATION from Superior Court New Jersey,
                            Morris County, case number MRS-L-000323-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-15477784), filed by US DATA CORPORATION. (Attachments: # 1
                            Exhibit A, # 2 Civil Cover Sheet)(PURCARO, KELLY) (Entered: 06/27/2024)
   06/27/2024             2 NOTICE of Appearance by KORY ANN FERRO on behalf of US DATA CORPORATION
                            (FERRO, KORY ANN) (Entered: 06/27/2024)
   06/27/2024             3 Corporate Disclosure Statement by US DATA CORPORATION. (FERRO, KORY ANN)
                            (Entered: 06/27/2024)
   06/27/2024             4 Diversity Disclosure Statement by US DATA CORPORATION. (FERRO, KORY ANN)
                            (Entered: 06/27/2024)
   06/27/2024                 Judge Harvey Bartle (EDPA), III added. (mmb, ) (Entered: 06/27/2024)
   06/27/2024             5 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024.(mmb ) (Entered: 06/27/2024)
   06/28/2024             6 Letter. (PURCARO, KELLY) (Entered: 06/28/2024)
   06/28/2024             7 ORDER permitting Defendant US Data Corporation to join in the Consolidated Motion to
                            Dismiss Brief which was filed in Atlas Data Privacy Corporation, et al. v. Lightbox Parent,
                            L.P., et al., Civil Action No. 24-4105 (Doc. #27). This action is stayed pending further
                            order of the court. Signed by Judge Harvey Bartle (EDPA), III on 6/28/2024. (dmr)
                            (Entered: 06/28/2024)
   06/28/2024             8 ORDER Plaintiff Atlas Data Privacy Corporation shall file on or before 7/12/2024 on the
                            docket a notice as to whether it intends to file a motion to remand this action. Signed by
                            Judge Harvey Bartle (EDPA), III on 6/28/2024. (dmw) (Entered: 07/01/2024)
   07/09/2024             9 NOTICE by ATLAS DATA PRIVACY CORPORATION (PARIKH, RAJIV) (Entered:
                            07/09/2024)


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                                                                         JA433
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   07/10/2024           10 ORDER re: Facial Challenge Scheduling and vacating Court's orders of May 8, 2024 &
                           June 3, 2024. Signed by Judge Harvey Bartle (EDPA), III on 7/10/2024. (lm, ) (Entered:
                           07/10/2024)
   08/06/2024           11 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                           Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                           (Entered: 08/06/2024)
   08/15/2024           12 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                           staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                           (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024           13 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 11
                           Brief. (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)
                           (PARIKH, RAJIV) (Entered: 08/20/2024)
   08/27/2024           14 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/16/2024           15 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 09/16/2024)
   10/01/2024           16 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           17 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           18 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (tf, ) (Entered: 10/09/2024)
   10/10/2024           19 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           20 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (db, )
                           (Entered: 11/27/2024)
   11/26/2024           21 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   12/02/2024           22 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial

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                                                                         JA434
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                              ground for difference of opinion and that an immediate appeal from the order may
                              materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                              Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           23 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           24 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           25 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           26 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PATRICK COLLIGAN, PETER ANDREYEV, WILLIAM SULLIVAN
                           identifying Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV)
                           (Entered: 12/10/2024)
   12/12/2024           27 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           28 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           29 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/19/2025           30 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                           Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                           (Entered: 02/19/2025)
   02/25/2025           31 Transcript of Status Conference held on 12/10/2024, before Judge Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
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                              utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                              Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                              Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (js)
                              (Entered: 02/25/2025)
   03/18/2025           32 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           33 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 03/18/2025)
   03/21/2025                 USCA Filing fee: $605, receipt number NEW51693. (sms2) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals re Filing Fee Received. (sms2) (Entered: 03/21/2025)
   03/24/2025           34 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           35 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           36 NOTICE OF APPEAL by US DATA CORPORATION. Filing fee $ 605. The Clerk's
                           Office hereby certifies the record and the docket sheet available through ECF to be the
                           certified list in lieu of the record and/or the certified copy of the docket entries. (lm, )
                           (Entered: 03/28/2025)
   03/31/2025           37 USCA Case Number 25-1588 for 36 Notice of Appeal (USCA), filed by US DATA
                           CORPORATION. USCA Case Manager Laurie (Document Restricted - Court Only)
                           (ca3gch) (Entered: 03/31/2025)
   04/02/2025           38 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           39 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
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                                                     6             Cost:          0.60
                                    Pages:




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                    Case: 25-1555               Document: 24               Page: 311              Date Filed: 04/14/2025
4/3/25, 2:42 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-08075-HB


  ATLAS DATA PRIVACY CORPORATION et al v. SMARTY,                                            Date Filed: 07/26/2024
  LLC et al                                                                                  Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-11023-HB                                                            Jurisdiction: Diversity
                  1:24-cv-10600-HB
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01589
                      SUPERIOR COURT OF NEW JERSEY,
                      MERCER COUNTY, MER L 000310 24
  Cause: 28:1332 Diversity-Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by JESSICA A MEREJO
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               STE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-577-5500
                                                                                        Email: jmerejo@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             PEM LAW LLP
                                                                                             1 BOLAND DRIVE
                                                                                             SUITE 101
                                                                                             WEST ORANGE, NJ 07052
                                                                                             973-585-5330
                                                                                             Email: rparikh@pemlawfirm.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED
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  Plaintiff
  JANE DOE-2                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                          represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.
  Defendant
  SMARTY, LLC                                                            represented by MATTHEW F. BRUNO
                                                                                        MANATT, PHELPS & PHILLIPS, LLP
                                                                                        7 TIMES SQ
                                                                                        NEW YORK, NY 10036
                                                                                        212-790-4500
                                                                                        Email: mbruno@manatt.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KENNETH D. FRIEDMAN
                                                                                             MANATT, PHELPS, & PHILLIPS, LLP
                                                                                             7 TIMES SQUARE
                                                                                             NEW YORK, NY 10036
                                                                                             (212) 790-4500
                                                                                             Fax: (212) 790-4545
                                                                                             Email: kfriedman@manatt.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  SMARTYSTREETS, LLC                                                     represented by MATTHEW F. BRUNO
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KENNETH D. FRIEDMAN
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individual

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor

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  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   07/26/2024             1 NOTICE OF REMOVAL by SMARTY, LLC D/B/A SMARTYSTREETS, LLC from
                            Superior Court of New Jersey - Mercer County, case number MER-L-000314-24. ( Filing
                            and Admin fee $ 405 receipt number ANJDC-15547545), filed by SMARTY, LLC D/B/A
                            SMARTYSTREETS, LLC. (Attachments: # 1 Exhibit State Court Papers, # 2 Declaration
                            of Lori Kirkham, # 3 Civil Cover Sheet)(FRIEDMAN, KENNETH) (Entered: 07/26/2024)
   07/26/2024             2 Corporate Disclosure Statement by SMARTY, LLC D/B/A SMARTYSTREETS, LLC
                            identifying Smarty, LLC as Corporate Parent.. (FRIEDMAN, KENNETH) (Entered:
                            07/26/2024)
   07/26/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 07/29/2024)
   07/26/2024             3 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (dmw) (Entered: 07/29/2024)
   07/30/2024             4 Important NOTICE of Hearing: Telephone Conference set for 7/31/2024 at 3:30 PM before
                            Judge Harvey Bartle (EDPA) III. (dmr) (Entered: 07/30/2024)
   07/30/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (sms2) (Entered: 07/30/2024)
   07/30/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Attorney Information;
                              Plaintiffs' Counsel from Superior Court Complaint was not added to the docket. Party
                              Information; Parties listed in complaint were not included on the docket. Parties should be
                              listed the exact way they appear on the complaint. Alias information should be entered in
                              the alias field. The Clerk's Office has made the appropriate changes. Please refer to the
                              Attorney Case Opening Guide for processing electronically filed cases. (sms2) (Entered:
                              07/30/2024)
   07/31/2024             5 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Telephonic
                            Status Conference held on 7/31/2024. (Court Reporter, N/A) (sms2) (Entered: 07/31/2024)
   08/01/2024             6 Letter from Kenneth D. Friedman. (FRIEDMAN, KENNETH) (Entered: 08/01/2024)


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   08/06/2024             7 BRIEF in Opposition to MOTION to Dismiss / Defendants' Consolidated Motion to
                            Dismiss Plaintiffs' Complaint (Attachments: # 1 Certificate of Service)(PARIKH, RAJIV)
                            (Entered: 08/06/2024)
   08/15/2024             8 ORDER vacating Court's Order of 7/10/24; setting schedule for facial challenging; and
                            staying actions pending further Order of the Court, etc. Signed by Judge Harvey Bartle
                            (EDPA), III on 8/15/24. (ar1, ) (Entered: 08/15/2024)
   08/20/2024             9 Letter from Rajiv D. Parikh, Esq. regarding Notice of Supplemental Submission re 7 Brief.
                            (Attachments: # 1 Exhibit Green v. U.S. Dept. of Justice -D.C. Cir. Opinion)(PARIKH,
                            RAJIV) (Entered: 08/20/2024)
   08/27/2024           10 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   09/05/2024           11 MOTION for Leave to Appear Pro Hac Vice of Brandon P. Reilly and Kayla LaRosa by
                           SMARTY, LLC. (Attachments: # 1 Declaration of Kenneth D. Friedman in Support of
                           Motion to Admit Brandon P. Reilly and Kayla LaRosa Pro Hac Vice, # 2 Declaration of
                           Brandon P. Reilly in Support of Motion for Admission Pro Hac Vice, # 3 Declaration of
                           Kayla LaRosa in Support of Motion for Admission Pro Hac Vice, # 4 Text of Proposed
                           Order)(FRIEDMAN, KENNETH) (Entered: 09/05/2024)
   09/05/2024                 Set Deadlines as to 11 MOTION for Leave to Appear Pro Hac Vice of Brandon P. Reilly
                              and Kayla LaRosa. Motion set for 10/7/2024 before Judge Harvey Bartle (EDPA) III.
                              Unless otherwise directed by the Court, this motion will be decided on the papers and no
                              appearances are required. Note that this is an automatically generated message from the
                              Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                              (js) (Entered: 09/05/2024)
   09/05/2024           12 ORDER Granting 11 Motion for Leave to Appear Pro Hac Vice as to Kayla LaRosa and
                           Brandon P. Reilly. Signed by Judge Harvey Bartle (EDPA), III on 9/5/2024. (dmr)
                           (Entered: 09/05/2024)
   09/11/2024           13 Notice of Request by Pro Hac Vice Kayla LaRosa to receive Notices of Electronic Filings.
                           ( Pro Hac Vice fee $ 250 receipt number ANJDC-15654897.) (FRIEDMAN, KENNETH)
                           (Entered: 09/11/2024)
   09/11/2024           14 Notice of Request by Pro Hac Vice Brandon P. Reilly to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15654964.) (FRIEDMAN,
                           KENNETH) (Entered: 09/11/2024)
   09/11/2024                 Pro Hac Vice counsel, KAYLA LAROSA and BRANDON P. REILLY, have been added to
                              receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are
                              entitled to sign and file papers, enter appearances and receive payments on judgments,
                              decrees or orders. (js) (Entered: 09/12/2024)
   09/17/2024           15 Letter from Kenneth D. Friedman. (FRIEDMAN, KENNETH) (Entered: 09/17/2024)
   10/01/2024           16 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           17 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.

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                              Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/08/2024           18 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (tf, ) (Entered: 10/09/2024)
   10/10/2024           19 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3) filed
                           by All Plaintiffs. (PARIKH, RAJIV) (Entered: 10/10/2024)
   11/26/2024           20 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024. (db, ) (Entered: 11/27/2024)
   11/26/2024           23 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 12/04/2024)
   12/02/2024           21 ORDER: pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/2/2024. (lm, ) (Entered: 12/02/2024)
   12/02/2024           22 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           24 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           25 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
   12/10/2024           26 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, JANE
                           DOE-1, JANE DOE-2, EDWIN MALDONADO, SCOTT MALONEY, JUSTYNA
                           MALONEY, PETER ANDREYEV, WILLIAM SULLIVAN identifying Atlas Data Privacy
                           Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/12/2024           27 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           28 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           29 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
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                              or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                              supporting briefs the court will schedule a status conference to discuss the next steps to be
                              taken; and(4) These actions are stayed pending further order of court, except as set forth in
                              this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                              01/22/2025)
   02/19/2025           30 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                           Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                           (Entered: 02/19/2025)
   02/25/2025           31 Transcript of Status Conference held on 12/10/2024, before Judge Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (js)
                           (Entered: 02/25/2025)
   03/12/2025           32 NOTICE of Appearance by MATTHEW F. BRUNO on behalf of SMARTY, LLC,
                           SMARTYSTREETS, LLC (BRUNO, MATTHEW) (Entered: 03/12/2025)
   03/18/2025           33 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           34 MOTION to Dismiss Plaintiffs' Complaint by SMARTY, LLC, SMARTYSTREETS, LLC.
                           (Attachments: # 1 Memorandum of Law, # 2 Declaration of Kenneth D. Friedman, # 3
                           Exhibit A to Friedman Decl., # 4 Exhibit B to Friedman Decl., # 5 Exhibit C to Friedman
                           Decl., # 6 Exhibit D to Friedman Decl., # 7 Text of Proposed Order)(FRIEDMAN,
                           KENNETH) (Entered: 03/18/2025)
   03/19/2025                 Set Deadlines as to 34 MOTION to Dismiss Plaintiffs' Complaint. Motion set for
                              4/21/2025 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (sms2, (Entered: 03/19/2025)
   03/20/2025           35 NOTICE of Appearance by JESSICA A MEREJO on behalf of All Plaintiffs (MEREJO,
                           JESSICA) (Entered: 03/20/2025)
   03/20/2025           36 NOTICE OF INTERLOCUTORY APPEAL as to 20 Order, by SMARTY, LLC. Filing fee
                           $ 605, receipt number ANJDC-16107441. The Clerk's Office hereby certifies the record
                           and the docket sheet available through ECF to be the certified list in lieu of the record
                           and/or the certified copy of the docket entries. (FRIEDMAN, KENNETH) (Entered:
                           03/20/2025)
   03/24/2025           37 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?905111565917142-L_1_0-1                                                        7/8

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                              March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           38 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/31/2025           39 USCA Case Number 25-1589 for 36 Notice of Interlocutory Appeal, filed by SMARTY,
                           LLC. USCA Case Manager Laurie (Document Restricted - Court Only) (ca3gch) (Entered:
                           03/31/2025)
   04/02/2025           40 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           41 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                                              Transaction Receipt
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                                    Login:                         Code:
                                                     Docket        Search         1:24-cv-08075-HB Start date:
                                    Description:
                                                     Report        Criteria:      1/1/1980 End date: 4/3/2025
                                    Billable
                                                     8             Cost:          0.80
                                    Pages:




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                                                                                                                                  APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-08451-HB


  ATLAS DATA PRIVACY CORPORATION v. COMPACT                                                  Date Filed: 08/13/2024
  INFORMATION SYSTEMS, LLC et al                                                             Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 950 Constitutional - State
  Related Cases: 1:24-cv-11023-HB                                                            Statute
                  1:24-cv-10600-HB                                                           Jurisdiction: Diversity
                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01590
                      SUPERIOR COURT OF NEW JERSEY,
                      MONMOUTH COUNTY, MON L 00534 24
  Cause: 28:1446 Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                          represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?343164400033018-L_1_0-1                                                                    1/9

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  PETER ANDREYEV                                                         represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1
  a law enforcement officer

  Plaintiff
  JANE DOE-2
  a law enforcement officer

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  COMPACT INFORMATION SYSTEMS,                                           represented by JACQUELINE MURPHY
  LLC                                                                                   WOOD SMITH HENNING AND
                                                                                        BERMAN, LLP
                                                                                        685 THIRD AVENUE, 18TH FLOOR
                                                                                        NEW YORK, NY 10017
                                                                                        212-999-7100
                                                                                        Fax: 212-999-7139
                                                                                        Email: jmurphy@wshblaw.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             JARED K. LEVY
                                                                                             WOOD, SMITH, HENNING & BERMAN
                                                                                             5 WALLER AVENUE
                                                                                             SUITE 200
                                                                                             WHITE PLAINS, NY 10601
                                                                                             856-986-4433
                                                                                             Email: jlevy@wshblaw.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  ACCUDATA INTEGRATED                                                    represented by JACQUELINE MURPHY
  MARKETING, INC.                                                                       (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             JARED K. LEVY
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?343164400033018-L_1_0-1                                                       2/9

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                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  ALUMNIFINDER                                                           represented by JACQUELINE MURPHY
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             JARED K. LEVY
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  ASL MARKETING, INC.                                                    represented by JACQUELINE MURPHY
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             JARED K. LEVY
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  COLLEGE BOUND SELECTION                                                represented by JACQUELINE MURPHY
  SERVICE                                                                               (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             JARED K. LEVY
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  DEEPSYNC LABS                                                          represented by JACQUELINE MURPHY
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             JARED K. LEVY
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  HOMEDATA                                                               represented by JACQUELINE MURPHY
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             JARED K. LEVY
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  STUDENT RESEARCH GROUP                                                 represented by JACQUELINE MURPHY
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

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                                                                                             JARED K. LEVY
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   08/13/2024             1 NOTICE OF REMOVAL by DEEPSYNC LABS, ALUMNIFINDER, HOMEDATA,
                            ACCUDATA INTEGRATED MARKETING, INC., STUDENT RESEARCH GROUP,
                            ASL MARKETING, INC., COMPACT INFORMATION SYSTEMS, LLC, COLLEGE
                            BOUND SELECTION SERVICE from SUPERIOR COURT OF NEW JERSEY, case
                            number MON-L-00534-24. ( Filing and Admin fee $ 405 receipt number ANJDC-
                            15587376), filed by DEEPSYNC LABS, ALUMNIFINDER, HOMEDATA, ACCUDATA
                            INTEGRATED MARKETING, INC., STUDENT RESEARCH GROUP, ASL
                            MARKETING, INC., COMPACT INFORMATION SYSTEMS, LLC, COLLEGE
                            BOUND SELECTION SERVICE. (Attachments: # 1 Exhibit A, # 2 Civil Cover Sheet)
                            (LEVY, JARED) (Entered: 08/13/2024)
   08/13/2024                 Judge Georgette Castner and Magistrate Judge Justin T. Quinn added. (mlh) (Entered:
                              08/14/2024)
   08/14/2024                 Notice of Judicial Preferences. Click here for the Judge's Individual Procedure
                              Requirements. (mlh) (Entered: 08/14/2024)
   08/14/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 1 "NOTICE OF REMOVAL"
                              submitted by JARED K. LEVY on 8/13/2024 appears to have address information that
                              does not match the court's records for this case. Please refer to the court's website at
                              www.njd.uscourts.gov for information and instructions on maintaining your account. (mlh)
                              (Entered: 08/14/2024)
   08/14/2024                 CLERK'S QUALITY CONTROL MESSAGE - A copy of the "STATE COURT
                              COMPLAINT" was not submitted with the 1 "NOTICE OF REMOVAL" submitted by
                              JARED K. LEVY on 8/13/2024. PLEASE SUBMIT THE MISSING DOCUMENT(S)
                              ONLY USING THE EVENT: Civil Events -> Other Filings -> Other Documents -. Exhibit
                              (to Document). (mlh) (Entered: 08/14/2024)
   08/14/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
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                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event: Civil Events ->
                              Other Filings -> Other Documents -> Diversity Disclosure Statement. (mlh) (Entered:
                              08/14/2024)
   08/14/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1, a disclosure statement is required to be filed by a nongovernmental corporate party
                              or intervenor. Please refer to the Court's website at www.njd.uscourts.gov for a form and
                              filing instructions. (mlh) (Entered: 08/14/2024)
   08/14/2024             2 Exhibit to 1 Notice of Removal,, by ACCUDATA INTEGRATED MARKETING, INC.,
                            ALUMNIFINDER, ASL MARKETING, INC., COLLEGE BOUND SELECTION
                            SERVICE, COMPACT INFORMATION SYSTEMS, LLC, DEEPSYNC LABS,
                            HOMEDATA, STUDENT RESEARCH GROUP. (LEVY, JARED) (Entered: 08/14/2024)
   08/19/2024                 CLERK'S QUALITY CONTROL MESSAGE - This case was incorrectly assigned to
                              Judge Castner and Judge Quinn in Trenton. The case has been transferred to Camden for
                              assignment to Judge Bartle. The new case number is 1:24-cv-08451. This message is for
                              informational purposes only. (jjc, ) (Entered: 08/19/2024)
   08/19/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 08/19/2024)
   08/19/2024             3 ORDER OF DESIGNATION OF DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. The Honorable Harvey Bartle, III of the United
                            States District Court for the Eastern District of Pennsylvania designated. Signed by Chief
                            Judge Michael A. Chagares (USCA) on 4/2/2024 (dmw) (Entered: 08/19/2024)
   08/20/2024             4 Corporate Disclosure Statement by ACCUDATA INTEGRATED MARKETING, INC.
                            identifying Compact Information Systems, LLC d/b/a Deep Sync as Corporate Parent..
                            (LEVY, JARED) (Entered: 08/20/2024)
   08/20/2024             5 Corporate Disclosure Statement by ALUMNIFINDER identifying Accudata Integrated
                            Marketing, Inc. as Corporate Parent.. (LEVY, JARED) (Entered: 08/20/2024)
   08/20/2024             6 Corporate Disclosure Statement by ASL MARKETING, INC. identifying Compact
                            Information Systems, LLC d/b/a Deep Sync as Corporate Parent.. (LEVY, JARED)
                            (Entered: 08/20/2024)
   08/20/2024             7 Corporate Disclosure Statement by COLLEGE BOUND SELECTION SERVICE
                            identifying ASL Marketing, Inc. as Corporate Parent.. (LEVY, JARED) (Entered:
                            08/20/2024)
   08/20/2024             8 Corporate Disclosure Statement by COMPACT INFORMATION SYSTEMS, LLC.
                            (LEVY, JARED) (Entered: 08/20/2024)
   08/20/2024             9 Corporate Disclosure Statement by DEEPSYNC LABS identifying Compact Information
                            Systems, LLC d/b/a Deep Sync as Corporate Parent.. (LEVY, JARED) (Entered:
                            08/20/2024)
   08/20/2024           10 Corporate Disclosure Statement by HOMEDATA identifying Compact Information
                           Systems, LLC d/b/a Deep Sync as Corporate Parent.. (LEVY, JARED) (Entered:
                           08/20/2024)
   08/20/2024           11 Corporate Disclosure Statement by STUDENT RESEARCH GROUP identifying Compact
                           Information Systems, LLC d/b/a Deep Sync as Corporate Parent.. (LEVY, JARED)
                           (Entered: 08/20/2024)
   08/20/2024           12 Diversity Disclosure Statement by ACCUDATA INTEGRATED MARKETING, INC.,
                           ALUMNIFINDER, ASL MARKETING, INC., COLLEGE BOUND SELECTION

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                              SERVICE, COMPACT INFORMATION SYSTEMS, LLC, DEEPSYNC LABS,
                              HOMEDATA, STUDENT RESEARCH GROUP. (LEVY, JARED) (Entered: 08/20/2024)
   08/21/2024           13 Letter from Jared K. Levy. (LEVY, JARED) (Entered: 08/21/2024)
   08/22/2024           14 ORDER: Defendants may join in the Consolidated Motion to Dismiss Brief which was
                           filed in Atlas Data Privacy Corporation, et al. v. Lightbox Parent, L.P., et al., Civil Action
                           No. 24-4105 (Doc. #27); further ORDERED action is stayed pending further order of the
                           court, etc. Signed by Judge Harvey Bartle (EDPA), III on 8/22/2024. (lm) (Entered:
                           08/22/2024)
   08/27/2024           15 ORDER: the Court will hold oral argument on Tuesday, October 1, 2024 at 1:30PM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey regarding the
                           Motions of Defendants to dismiss the above actions on the ground that Daniel's Law, N.J.
                           Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1 is unconstitutional on its face. Signed by
                           Judge Harvey Bartle (EDPA), III on 8/27/2024. (lm) (Entered: 08/27/2024)
   08/29/2024           16 MOTION for Leave to Appear Pro Hac Vice Christopher Seusing by ACCUDATA
                           INTEGRATED MARKETING, INC., ALUMNIFINDER, ASL MARKETING, INC.,
                           COLLEGE BOUND SELECTION SERVICE, COMPACT INFORMATION SYSTEMS,
                           LLC, DEEPSYNC LABS, HOMEDATA, STUDENT RESEARCH GROUP. (LEVY,
                           JARED) (Entered: 08/29/2024)
   08/29/2024           17 MOTION for Leave to Appear Pro Hac Vice Sean V. Patel by ACCUDATA INTEGRATED
                           MARKETING, INC., ALUMNIFINDER, ASL MARKETING, INC., COLLEGE BOUND
                           SELECTION SERVICE, COMPACT INFORMATION SYSTEMS, LLC, DEEPSYNC
                           LABS, HOMEDATA, STUDENT RESEARCH GROUP. (LEVY, JARED) (Entered:
                           08/29/2024)
   08/30/2024                 CLERK'S QUALITY CONTROL MESSAGE - The 16 Certification of Christopher
                              Seusing and 17 Certification of Sean V. Patel submitted by JARED K. LEVY on 8/29/2024
                              contains an improper signature. Only the filing user is permitted to sign electronically filed
                              documents with an s/. PLEASE RESUBMIT THE CERTIFICATIONS ONLY WITH A
                              SCANNED SIGNATURE. This submission will remain on the docket unless otherwise
                              ordered by the court. (sms2) (Entered: 08/30/2024)
   09/03/2024           18 ORDER granting 16 Motion for Leave to Appear Pro Hac Vice as to Christopher J.
                           Seusing, Esquire, etc. Signed by Judge Harvey Bartle (EDPA), III on 9/3/2024. (lm)
                           (Entered: 09/03/2024)
   09/03/2024           19 ORDER granting 17 Motion for Leave to Appear Pro Hac Vice as to Sean V. Patel,
                           Esquire, etc. Signed by Judge Harvey Bartle (EDPA), III on 9/3/2024. (lm) (Entered:
                           09/03/2024)
   09/11/2024           20 Notice of Request by Pro Hac Vice Sean V. Patel to receive Notices of Electronic Filings. (
                           Pro Hac Vice fee $ 250 receipt number ANJDC-15655154.) (LEVY, JARED) (Entered:
                           09/11/2024)
   09/11/2024           21 Notice of Request by Pro Hac Vice Christopher J. Seusing to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 250 receipt number ANJDC-15655180.) (LEVY, JARED)
                           (Entered: 09/11/2024)
   09/12/2024                 Pro Hac Vice counsel, SEAN V. PATEL and CHRISTOPHER J. SEUSING, have been
                              added to receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local
                              counsel are entitled to sign and file papers, enter appearances and receive payments on
                              judgments, decrees or orders. (mag) (Entered: 09/12/2024)
   09/19/2024           22 Exhibit to QC - Electronic signature does not match e-filer, Certification of Christopher
                           Seusing by ACCUDATA INTEGRATED MARKETING, INC., ALUMNIFINDER, ASL
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?343164400033018-L_1_0-1                                                         6/9

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                              MARKETING, INC., COLLEGE BOUND SELECTION SERVICE, COMPACT
                              INFORMATION SYSTEMS, LLC, DEEPSYNC LABS, HOMEDATA, STUDENT
                              RESEARCH GROUP. (LEVY, JARED) (Entered: 09/19/2024)
   09/19/2024           23 Exhibit to QC - Electronic signature does not match e-filer, Sean V. Patel by ACCUDATA
                           INTEGRATED MARKETING, INC., ALUMNIFINDER, ASL MARKETING, INC.,
                           COLLEGE BOUND SELECTION SERVICE, COMPACT INFORMATION SYSTEMS,
                           LLC, DEEPSYNC LABS, HOMEDATA, STUDENT RESEARCH GROUP. (LEVY,
                           JARED) (Entered: 09/19/2024)
   10/01/2024           24 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Hearing on
                           Defendants' Consolidated Motion to Dismiss held on the record on 10/1/2024. Motion
                           taken under advisement. (Court Reporter, John Kurz (856-576-7094)) (Attachments: # 1
                           ATTORNEY SIGN-IN SHEET) (lm) (Entered: 10/02/2024)
   10/02/2024           25 ORDER: The court will hold a discovery status conference on Thursday, October 3, 2024
                           at 1:30 PM in Courtroom No. 1, in the United States Courthouse in Camden, New Jersey.
                           Signed by Judge Harvey Bartle (EDPA), III on 10/2/2024. (lm, ) (Entered: 10/02/2024)
   10/03/2024           26 NOTICE of Appearance by JACQUELINE MURPHY on behalf of ACCUDATA
                           INTEGRATED MARKETING, INC., ALUMNIFINDER, ASL MARKETING, INC.,
                           COLLEGE BOUND SELECTION SERVICE, COMPACT INFORMATION SYSTEMS,
                           LLC, DEEPSYNC LABS, HOMEDATA, STUDENT RESEARCH GROUP (MURPHY,
                           JACQUELINE) (Entered: 10/03/2024)
   10/08/2024           27 Transcript of Proceedings held on 10/1/2024, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 10/29/2024. Redacted
                           Transcript Deadline set for 11/8/2024. Release of Transcript Restriction set for 1/6/2025.
                           (tf, ) (Entered: 10/09/2024)
   11/26/2024           28 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                           (Entered: 11/27/2024)
   11/26/2024           29 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                           (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                           unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                           11/26/2024.(lm, ) (Entered: 11/27/2024)
   12/02/2024           30 ORDER pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/02/2024. (db, ) (Entered: 12/02/2024)
   12/02/2024           31 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/10/2024           32 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?343164400033018-L_1_0-1                                                      7/9

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   12/10/2024           33 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, EDWIN
                           MALDONADO, SCOTT MALONEY, JUSTYNA MALONEY, PETER ANDREYEV,
                           WILLIAM SULLIVAN, JANE DOE-1, JANE DOE-2, PATRICK COLLIGAN identifying
                           Atlas Data Privacy Corporation as Corporate Parent.. (PARIKH, RAJIV) (Entered:
                           12/10/2024)
   12/12/2024           34 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   01/14/2025           35 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           36 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/19/2025           37 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                           Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                           (Entered: 02/19/2025)
   02/25/2025           38 Transcript of Status Conference held on 12/10/2024, before Judge Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (js)
                           (Entered: 02/25/2025)
   03/13/2025           39 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           40 NOTICE by ACCUDATA INTEGRATED MARKETING, INC., ALUMNIFINDER, ASL
                           MARKETING, INC., COLLEGE BOUND SELECTION SERVICE, COMPACT
                           INFORMATION SYSTEMS, LLC, DEEPSYNC LABS, HOMEDATA, STUDENT
                           RESEARCH GROUP OF INTENT TO JOIN CONSOLIDATED RULE 12(b)(6) Motion to
                           Dismiss (LEVY, JARED) (Entered: 03/18/2025)
   03/18/2025           41 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?343164400033018-L_1_0-1                                                      8/9

                                                                         JA452
                    Case: 25-1555               Document: 24               Page: 327              Date Filed: 04/14/2025
4/3/25, 2:44 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

   03/21/2025                 USCA Filing fee: $ 605, receipt number NEW51696. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           42 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           43 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           44 NOTICE OF APPEAL by ACCUDATA INTEGRATED MARKETING, INC.,
                           ALUMNIFINDER, ASL MARKETING, INC., COLLEGE BOUND SELECTION
                           SERVICE, COMPACT INFORMATION SYSTEMS, LLC, DEEPSYNC LABS,
                           HOMEDATA, STUDENT RESEARCH GROUP. Filing fee $ 605. The Clerk's Office
                           hereby certifies the record and the docket sheet available through ECF to be the certified
                           list in lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   04/01/2025           45 USCA Case Number 25-1590 for 44 Notice of Appeal (USCA), filed by
                           ALUMNIFINDER, STUDENT RESEARCH GROUP, COMPACT INFORMATION
                           SYSTEMS, LLC, ACCUDATA INTEGRATED MARKETING, INC., HOMEDATA, ASL
                           MARKETING, INC., COLLEGE BOUND SELECTION SERVICE, DEEPSYNC LABS.
                           USCA Case Manager Laurie (Document Restricted - Court Only) (ca3gch) (Entered:
                           04/01/2025)
   04/02/2025           46 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           47 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/03/2025 14:44:08
                                    PACER                         Client
                                                     chuderem                     544877.010130
                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-08451-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
                                    Billable
                                                     9            Cost:           0.90
                                    Pages:




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                                                                         JA453
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4/3/25, 2:47 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

                                                                                                                                 APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-10600-HB


  ATLAS DATA PRIVACY CORPORATION et al v. DARKOWL,                                           Date Filed: 11/20/2024
  LLC et al                                                                                  Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                               Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-04609-HB                                                            Jurisdiction: Diversity
                 1:24-cv-04566-HB
                 1:24-cv-04664-HB
                 1:24-cv-04392-HB
                 1:24-cv-04390-HB
                 1:24-cv-04141-HB
                 1:24-cv-04389-HB
                 1:24-cv-04385-HB
                 1:24-cv-04383-HB
                 1:24-cv-04345-HB
                 1:24-cv-04380-HB
                 1:24-cv-04434-HB
                 1:24-cv-04292-HB
                 1:24-cv-04143-HB
                 1:24-cv-04176-HB
                 1:24-cv-04324-HB
                 1:24-cv-04261-HB
                 1:24-cv-04178-HB
                 1:24-cv-04160-HB
                 1:24-cv-04174-HB
                 1:24-cv-04037-HB
                 1:24-cv-04096-HB
                 1:24-cv-04098-HB
                 1:24-cv-04103-HB
                 1:24-cv-04075-HB
                 1:24-cv-04080-HB
                 1:24-cv-04041-HB
                 1:24-cv-04045-HB
                 1:24-cv-04949-HB
                 1:24-cv-05600-HB
                 1:24-cv-05656-HB
                 1:24-cv-05658-HB
                 1:24-cv-05775-HB
                 1:24-cv-07324-HB
                 1:24-cv-08075-HB
                 1:24-cv-08451-HB
                 1:25-cv-01535-HB
                 1:24-cv-11443-HB

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                                                                         JA454
                    Case: 25-1555               Document: 24               Page: 329              Date Filed: 04/14/2025
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                  1:24-cv-11023-HB
                  1:25-cv-01517-HB
                  1:25-cv-00237-HB
  Case in other court: Third Circuit, 25-01591
                      Superior Court of New Jersey, Essex County,
                      ESX-L-007210-24
  Cause: 28:1332 Diversity-Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by JESSICA A MEREJO
  CORPORATION                                                                           PEM LAW LLP
  as assignee for individuals who are Covered                                           1 BOLAND DRIVE
  Persons                                                                               STE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-577-5500
                                                                                        Email: jmerejo@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             PEM LAW LLP
                                                                                             1 BOLAND DRIVE
                                                                                             SUITE 101
                                                                                             WEST ORANGE, NJ 07052
                                                                                             973-585-5330
                                                                                             Email: rparikh@pemlawfirm.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             RAJIV D. PARIKH
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  V.

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?629731503774667-L_1_0-1                                                       2/7

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                    Case: 25-1555               Document: 24               Page: 330              Date Filed: 04/14/2025
4/3/25, 2:47 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

  Defendant
  DARKOWL, LLC                                                           represented by KORY ANN FERRO
                                                                                        GREENSPOON MARDER, LLP
                                                                                        1037 RAYMOND BLVD.
                                                                                        SUITE 900
                                                                                        NEWARK, NJ 07102
                                                                                        732-494-4800
                                                                                        Email: KoryAnn.Ferro@gmlaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             KELLY MAGNUS PURCARO
                                                                                             GREENSPOON MARDER
                                                                                             1037 RAYMOND BLVD
                                                                                             SUITE 900
                                                                                             NEWARK, NJ 07102
                                                                                             732-456-8734
                                                                                             Fax: 212-524-5050
                                                                                             Email: Kelly.Purcaro@gmlaw.com
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Intervenor
  ATTORNEY GENERAL OF NEW                                                represented by KASHIF TARAQ CHAND
  JERSEY                                                                                NEW JERSEY DIVISION OF LAW
                                                                                        124 HALSEY STREET
                                                                                        5TH FLOOR
                                                                                        NEWARK, NJ 07101
                                                                                        908-705-3958
                                                                                        Email: kashif.chand@law.njoag.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   11/20/2024             1 NOTICE OF REMOVAL by DARKOWL, LLC from Superior Court New Jersey, Essex
                            County, case number ESX-L-007210-24. ( Filing and Admin fee $ 405 receipt number
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?629731503774667-L_1_0-1                                                        3/7

                                                                         JA456
                    Case: 25-1555               Document: 24               Page: 331              Date Filed: 04/14/2025
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                              ANJDC-15820178), filed by DARKOWL, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit
                              B)(PURCARO, KELLY) (Entered: 11/20/2024)
   11/20/2024             2 Exhibit to 1 Notice of Removal, Civil Coversheet by DARKOWL, LLC. (PURCARO,
                            KELLY) (Entered: 11/20/2024)
   11/20/2024             3 Corporate Disclosure Statement by DARKOWL, LLC. (PURCARO, KELLY) (Entered:
                            11/20/2024)
   11/20/2024             4 Diversity Disclosure Statement by DARKOWL, LLC. (PURCARO, KELLY) (Main
                            Document 4 replaced on 11/20/2024) (mag). (Entered: 11/20/2024)
   11/20/2024             5 NOTICE of Appearance by KORY ANN FERRO on behalf of DARKOWL, LLC
                            (FERRO, KORY ANN) (Entered: 11/20/2024)
   11/20/2024                 CLERK'S QUALITY CONTROL MESSAGE - The Diversity Disclosure Statement 4 filed
                              by DARKOWL, LLC on 11/20/2024 was uploaded prior to being flattened. Before
                              uploading fillable forms to ECF you must flatten the file to prevent other users from
                              manipulating or editing the information. The easiest way to flatten a PDF form is by
                              selecting Print to PDF and saving the flattened form, other PDF software may differ. Please
                              visit our website under Flattening PDF Forms for guidance. Your document has been
                              corrected. This message is for informational purposes only. (mag) (Entered: 11/20/2024)
   11/20/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 11/20/2024)
   11/20/2024             6 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/24. (dmw) (Entered: 11/20/2024)
   11/21/2024             7 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 11/21/2024)
   11/26/2024             8 MEMORANDUM. Signed by Judge Harvey Bartle (EDPA), III on 11/26/2024. (lm, )
                            (Entered: 11/27/2024)
   11/26/2024             9 ORDER: the consolidated motion of defendants to dismiss these actions under Rule 12(b)
                            (6) of the Federal Rules of Civil Procedure on the ground that Daniel's Law is
                            unconstitutional on its face is DENIED. Signed by Judge Harvey Bartle (EDPA), III on
                            11/26/2024.(lm, ) (Entered: 11/27/2024)
   11/27/2024           10 Letter. (PURCARO, KELLY) (Entered: 11/27/2024)
   12/02/2024           11 ORDER pursuant to 28 U.S.C. § 1292(b), it is the opinion of the court that its Order dated
                           November 26, 2024 involves a controlling question of law as to which there is a substantial
                           ground for difference of opinion and that an immediate appeal from the order may
                           materially advance the ultimate termination of the litigation. Signed by Judge Harvey
                           Bartle (EDPA), III on 12/02/2024. (db, ) (Entered: 12/02/2024)
   12/02/2024           12 ORDER, ( Status Conference set for 12/10/2024 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                           12/02/2024. (db, ) (Entered: 12/02/2024)
   12/06/2024           13 NOTICE of Appearance by KASHIF TARAQ CHAND on behalf of ATTORNEY
                           GENERAL OF NEW JERSEY (CHAND, KASHIF) (Entered: 12/06/2024)
   12/10/2024           14 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 12/10/2024. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 12/10/2024)


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   12/10/2024           15 Corporate Disclosure Statement by ATLAS DATA PRIVACY CORPORATION, PATRICK
                           COLLIGAN, PETER ANDREYEV identifying Atlas Data Privacy Corporation as
                           Corporate Parent.. (PARIKH, RAJIV) (Entered: 12/10/2024)
   12/11/2024           16 MOTION for Leave to Appear Pro Hac Vice (Kiran Raj) by DARKOWL, LLC.
                           (Attachments: # 1 Text of Proposed Order Permitting Admission Pro Hac Vice, # 2
                           Statement As To Why No Brief Is Necessary, # 3 Certification Of Kelly Purcaro, # 4
                           Certification Of Kiran Raj)(PURCARO, KELLY) (Entered: 12/11/2024)
   12/11/2024           17 MOTION for Leave to Appear Pro Hac Vice (Ryan Scott Ferber) by DARKOWL, LLC.
                           (Attachments: # 1 Text of Proposed Order Permitting Admission Pro Hac Vice, # 2
                           Statement As To Why No Brief Is Necessary, # 3 Certification Of Kelly Purcaro, # 4
                           Certification Of Ryan Scott Ferber)(PURCARO, KELLY) (Entered: 12/11/2024)
   12/11/2024                 Set Deadlines as to 17 MOTION for Leave to Appear Pro Hac Vice (Ryan Scott Ferber)
                              and 16 MOTION for Leave to Appear Pro Hac Vice (Kiran Raj). Motions set for 1/6/2025
                              before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, these
                              motions will be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (js) (Entered: 12/12/2024)
   12/12/2024           18 ORDER STAYING CASE: Status Conference set for 1/14/2025 at 10:00 AM in Camden -
                           Courtroom 1 before Judge Harvey Bartle (EDPA) III. Signed by Judge Harvey Bartle
                           (EDPA), III on 12/12/2024. (lm) (Entered: 12/12/2024)
   12/12/2024           19 ORDER granting 17 Motion for Leave to Appear Pro Hac Vice as to Ryan Scott Ferber,
                           Esq.. Signed by Judge Harvey Bartle (EDPA), III on 12/12/2024. (aji, ) (Entered:
                           12/12/2024)
   12/12/2024           20 ORDER granting 16 Motion for Leave to Appear Pro Hac Vice as to Kiran Raj, Esq..
                           Signed by Judge Harvey Bartle (EDPA), III on 12/12/2024. (aji, ) (Entered: 12/12/2024)
   12/18/2024                 Pro Hac Vice fee: $500.00, receipt number NEW51240 as to RYAN SCOTT FERBER &
                              KIRAN RAJ. (ps) (Entered: 12/18/2024)
   12/18/2024           21 Notice of Request by Pro Hac Vice Kiran Raj to receive Notices of Electronic Filings.
                           (PURCARO, KELLY) (Entered: 12/18/2024)
   12/18/2024           22 Notice of Request by Pro Hac Vice Ryan Scott Ferber to receive Notices of Electronic
                           Filings. (PURCARO, KELLY) (Entered: 12/18/2024)
   12/19/2024                 Pro Hac Vice counsel, KIRAN RAJ and RYAN SCOTT FERBER, have been added to
                              receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are
                              entitled to sign and file papers, enter appearances and receive payments on judgments,
                              decrees or orders. (dmr) (Entered: 12/19/2024)
   01/09/2025           23 MOTION for Leave to Appear Pro Hac Vice Elliot C. Harvey Schatmeier, Esq. by ATLAS
                           DATA PRIVACY CORPORATION, PATRICK COLLIGAN, PETER ANDREYEV.
                           (Attachments: # 1 Text of Proposed Order Proposed Order, # 2 Certification Certification
                           of Elliot C. Harvey, # 3 Certification Certification of Jessica A. Merejo)(MEREJO,
                           JESSICA) (Entered: 01/09/2025)
   01/09/2025           24 MOTION for Leave to Appear Pro Hac Vice Ekwan E. Rhow by ATLAS DATA PRIVACY
                           CORPORATION, PATRICK COLLIGAN, PETER ANDREYEV. (Attachments: # 1
                           Certification Ekwan E. Rhow, # 2 Certification Jessica A. Merejo, # 3 Text of Proposed
                           Order)(MEREJO, JESSICA) (Entered: 01/09/2025)
   01/09/2025           25 MOTION for Leave to Appear Pro Hac Vice Bill L. Clawges by ATLAS DATA PRIVACY
                           CORPORATION, PATRICK COLLIGAN, PETER ANDREYEV. (Attachments: # 1 Text
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?629731503774667-L_1_0-1                                                      5/7

                                                                         JA458
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                              of Proposed Order, # 2 Certification Bill Clawges, # 3 Certification Jessica A. Merejo)
                              (MEREJO, JESSICA) (Entered: 01/09/2025)
   01/10/2025                 CLERK'S QUALITY CONTROL MESSAGE - The 23 , 24 and 25 Certifications of Elliot
                              C. Harvey, Ekwan E. Rhow, and Bill L. Clawges submitted by JESSICA A MEREJO on
                              1/9/2025 contains improper signatures. Only the filing user is permitted to sign
                              electronically filed documents with a s/. PLEASE RESUBMIT THE CERTIFICATIONS
                              ONLY WITH A SCANNED SIGNATURE, using the event *EXHIBIT (TO
                              DOCUMENT)* found under the *OTHER DOCUMENTS* menu. This submission will
                              remain on the docket unless otherwise ordered by the court. (sms2) (Entered: 01/10/2025)
   01/10/2025                 Set Deadlines as to 25 MOTION for Leave to Appear Pro Hac Vice Bill L. Clawges, 24
                              MOTION for Leave to Appear Pro Hac Vice Ekwan E. Rhow, 23 MOTION for Leave to
                              Appear Pro Hac Vice Elliot C. Harvey Schatmeier, Esq.. Motion set for 2/3/2025 before
                              Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will
                              be decided on the papers and no appearances are required. Note that this is an
                              automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (sms2) (Entered: 01/10/2025)
   01/14/2025           26 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (Attachments:
                           # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 01/14/2025)
   01/22/2025           27 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/19/2025           28 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                           Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                           (Entered: 02/19/2025)
   02/25/2025           29 Transcript of Status Conference held on 12/10/2024, before Judge Bartle, III. Court
                           Reporter/Transcriber Sharon Ricci (267-249-8780). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/18/2025. Redacted Transcript
                           Deadline set for 3/28/2025. Release of Transcript Restriction set for 5/27/2025. (js)
                           (Entered: 02/25/2025)

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   03/13/2025           30 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           31 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           32 Letter from Kelly Purcaro. (PURCARO, KELLY) (Entered: 03/18/2025)
   03/21/2025                 Filing fee: $605, receipt number NEW51689. (sms2) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals re Filing Fee Received. (sms2) (Entered: 03/21/2025)
   03/24/2025           33 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           34 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           35 NOTICE OF APPEAL by DARKOWL, LLC. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   04/01/2025           36 USCA Case Number 25-1591 for 35 Notice of Appeal (USCA), filed by DARKOWL,
                           LLC. USCA Case Manager Laurie (Document Restricted - Court Only) (ca3gch) (Entered:
                           04/01/2025)
   04/02/2025           37 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           38 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                                                     chuderem                     544877.010130
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                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
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                    Case: 25-1555               Document: 24               Page: 335              Date Filed: 04/14/2025
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                                                                                                                            APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-11023-HB


  ATLAS DATA PRIVACY CORPORATION v. SPY DIALER, INC. Date Filed: 12/10/2024
  Assigned to: Judge Harvey Bartle (EDPA), III       Jury Demand: None
  Related Cases: 1:24-cv-04609-HB                    Nature of Suit: 440 Civil Rights: Other
                 1:24-cv-04566-HB                    Jurisdiction: Diversity
                 1:24-cv-04664-HB
                 1:24-cv-04392-HB
                 1:24-cv-04390-HB
                 1:24-cv-04141-HB
                 1:24-cv-04389-HB
                 1:24-cv-04385-HB
                 1:24-cv-04383-HB
                 1:24-cv-04345-HB
                 1:24-cv-04380-HB
                 1:24-cv-04434-HB
                 1:24-cv-04269-HB
                 1:24-cv-04292-HB
                 1:24-cv-04143-HB
                 1:24-cv-04176-HB
                 1:24-cv-04324-HB
                 1:24-cv-04261-HB
                 1:24-cv-04178-HB
                 1:24-cv-04256-HB
                 1:24-cv-04160-HB
                 1:24-cv-04174-HB
                 1:24-cv-04037-HB
                 1:24-cv-04096-HB
                 1:24-cv-04098-HB
                 1:24-cv-04103-HB
                 1:24-cv-04075-HB
                 1:24-cv-04080-HB
                 1:24-cv-04041-HB
                 1:24-cv-04045-HB
                 1:24-cv-04949-HB
                 1:24-cv-05600-HB
                 1:24-cv-05656-HB
                 1:24-cv-05658-HB
                 1:24-cv-05775-HB
                 1:24-cv-07324-HB
                 1:24-cv-08075-HB
                 1:24-cv-08451-HB
                 1:24-cv-10600-HB

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                    Case: 25-1555               Document: 24               Page: 336              Date Filed: 04/14/2025
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                  1:24-cv-11443-HB
                  1:25-cv-01535-HB
                  1:25-cv-00237-HB
                  1:25-cv-01517-HB
  Case in other court: Third Circuit, 25-01592
                      SUPERIOR COURT OF NEW JERSEY,
                      MORRIS COUNTY, MRS L 000259 24
  Cause: 28:1332 Diversity-Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONADO

  Plaintiff
  JANE DOE-1
  a law enforcement officer

  Plaintiff
  JANE DOE-2
  a law enforcement officer

  Plaintiff
  SCOTT MALONEY

  Plaintiff
  JUSTYNA MALONEY


  V.
  Defendant
  SPY DIALER, INC.                                                       represented by CHRISTOPHER NUCIFORA
                                                                                        KAUFMAN DOLOWICH & VOLUCK,
                                                                                        LLP
                                                                                        MANAGING PARTNER, NEW JERSEY
                                                                                        25 MAIN STREET
                                                                                        COURT PLAZA NORTH
                                                                                        SUITE 500
                                                                                        HACKENSACK, NJ 07601
                                                                                        201-708-8207
                                                                                        Fax: 201-488-6652
                                                                                        Email: cnucifora@kdvlaw.com
                                                                                        LEAD ATTORNEY
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?458280692311771-L_1_0-1                                                      2/6

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                    Case: 25-1555               Document: 24               Page: 337              Date Filed: 04/14/2025
4/3/25, 2:48 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

                                                                                             ATTORNEY TO BE NOTICED

                                                                                             TIMOTHY MARK ORTOLANI
                                                                                             KAUFMAN DOLOWICH LLP
                                                                                             COURT PLAZA NORTH
                                                                                             25 MAIN STREET
                                                                                             STE 500
                                                                                             HACKENSACK, NJ 07601
                                                                                             201-708-8244
                                                                                             Fax: 201-488-6652
                                                                                             Email: tortolani@kaufmandolowich.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities


   Date Filed            #    Docket Text
   12/10/2024             1 NOTICE OF REMOVAL by Spy Dialer, Inc. from Superior Court of New Jersey, Morris
                            Vicinage, case number MRS-L-259-24. ( Filing and Admin fee $ 405 receipt number
                            ANJDC-15866925), filed by Spy Dialer, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                            # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H)
                            (ORTOLANI, TIMOTHY) (Entered: 12/10/2024)
   12/10/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 12/11/2024)
   12/10/2024             2 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (dmw) (Entered: 12/11/2024)
   12/11/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed did not
                              include a Civil Cover Sheet (JS-44), which is required to be submitted along with the
                              initial pleading, as indicated in the Attorney Case Opening Guide. Please complete and file
                              a Civil Cover Sheet using the event Exhibit (to Document) found under Civil/Other
                              Filings/Other Documents. Please refer to the Attorney Case Opening Guide for processing
                              electronically filed cases. (dmw, ) (Entered: 12/11/2024)
   12/11/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Caption; Parties should be
                              listed the exact way they appear on the complaint. Failure to do so will result in the caption
                              generating incorrectly. Cause of Action; Incorrect Cause of Action selected. Nature of Suit;
                              Incorrect Nature of Suit selected. Party Information; Parties listed in complaint were not
                              included on the docket. Party Information is to be entered in CAPITAL LETTERS. DO
                              NOT select a party if it is not in CAPITAL LETTERS or if it does not reflect the EXACT
                              name as is found in the pleading, create a new party. Parties should be listed the exact way
                              they appear on the complaint. Alias information should be entered in the alias field.
                              Removal-Other Court Information; Format of State Court case number should appear as
                              close to the original as possible. Be sure to include every digit, even the 0s. Do NOT
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?458280692311771-L_1_0-1                                                              3/6

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                    Case: 25-1555               Document: 24               Page: 338              Date Filed: 04/14/2025
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                              include the dashes. The Clerk's Office has made the appropriate changes. Please refer to
                              the Attorney Case Opening Guide for processing electronically filed cases. (sms2)
                              (Entered: 12/11/2024)
   12/11/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (sms2) (Entered: 12/11/2024)
   12/11/2024             3 Exhibit to 1 Notice of Removal, Civil Cover Sheet (Form JS-44) by SPY DIALER, INC..
                            (ORTOLANI, TIMOTHY) (Entered: 12/11/2024)
   12/11/2024             4 Diversity Disclosure Statement by SPY DIALER, INC.. (ORTOLANI, TIMOTHY)
                            (Entered: 12/11/2024)
   12/12/2024             5 NOTICE OF TELEPHONE CONFERENCE: Telephone Conference set for 12/17/2024 at
                            11:00 AM before Judge Harvey Bartle (EDPA) III. Plaintiffs' counsel is instructed to get all
                            counsel on the telephone and then call in to Chambers at 215-597-2693 to be connected
                            with the Judge promptly at the assigned time.(sms2) (Entered: 12/12/2024)
   12/17/2024             6 ORDER: Defendants shall promptly file any motion to dismiss on the ground that Daniel's
                            Law, N.J. Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1, is unconstitutional on its face.
                            Signed by Judge Harvey Bartle (EDPA), III on 12/17/2024. (lm) (Entered: 12/17/2024)
   12/20/2024             7 First MOTION to Dismiss by SPY DIALER, INC.. Responses due by 1/7/2025.
                            (ORTOLANI, TIMOTHY) (Entered: 12/20/2024)
   12/20/2024                 Set Deadlines as to 7 First MOTION to Dismiss . Motion set for 1/21/2025 before Judge
                              Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                              decided on the papers and no appearances are required. Note that this is an automatically
                              generated message from the Clerk`s Office and does not supersede any previous or
                              subsequent orders from the Court. (js) (Entered: 12/23/2024)
   01/03/2025             8 ORDER denying 7 Motion to Dismiss. Signed by Judge Harvey Bartle (EDPA), III on
                            1/3/2025. (lm) (Entered: 01/03/2025)
   01/03/2025             9 ORDER STAYING CASE: this action is stayed pending further order of the Court. Signed
                            by Judge Harvey Bartle (EDPA), III on 1/3/2025. (lm) (Entered: 01/03/2025)
   01/14/2025           11 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (lm) (Entered:
                           02/19/2025)
   01/22/2025           10 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)


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                    Case: 25-1555               Document: 24               Page: 339              Date Filed: 04/14/2025
4/3/25, 2:48 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

   02/19/2025           12 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript
                           Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                           (Entered: 02/19/2025)
   03/18/2025           13 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           14 Letter from Christoper Nucifora, Esq. Joining in Motion to Dismiss, Pursuant to FRCP
                           12(b)(6). (NUCIFORA, CHRISTOPHER) (Entered: 03/18/2025)
   03/18/2025           15 First MOTION to Dismiss for Lack of Jurisdiction by SPY DIALER, INC.. (Attachments:
                           # 1 Declaration of Christopher Nucifora, Esq., # 2 Exhibit A to Nucifora Decl., # 3
                           Declaration of Robert Scott, # 4 Certificate of Service)(NUCIFORA, CHRISTOPHER)
                           (Entered: 03/18/2025)
   03/21/2025                 USCA APPEAL Filing fee: $605, receipt number TRE143192. (sms2) Modified on
                              3/26/2025 (dmw, ). (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals re Filing Fee Received. (sms2) (Entered: 03/21/2025)
   03/24/2025           16 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           17 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           18 NOTICE OF APPEAL by SPY DIALER, INC.. Filing fee $ 605. The Clerk's Office hereby
                           certifies the record and the docket sheet available through ECF to be the certified list in
                           lieu of the record and/or the certified copy of the docket entries. (lm, ) (Entered:
                           03/28/2025)
   04/01/2025           19 USCA Case Number 25-1592 for 18 Notice of Appeal (USCA), filed by SPY DIALER,
                           INC.. USCA Case Manager Laurie (Document Restricted - Court Only) (ca3gch) (Entered:
                           04/01/2025)
   04/02/2025           20 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           21 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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                    Case: 25-1555               Document: 24               Page: 340              Date Filed: 04/14/2025
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                                    Login:                        Code:
                                                     Docket       Search          1:24-cv-11023-HB Start date:
                                    Description:
                                                     Report       Criteria:       1/1/1980 End date: 4/3/2025
                                    Billable
                                                     8            Cost:           0.80
                                    Pages:




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                    Case: 25-1555               Document: 24               Page: 341              Date Filed: 04/14/2025
4/3/25, 2:52 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

                                                                                                                            APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:24-cv-11443-HB


  ATLAS DATA PRIVACY CORPORATION et al v. LIGHTHOUSE Date Filed: 12/23/2024
  LIST COMPANY, LLC et al                            Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III       Nature of Suit: 440 Civil Rights: Other
  Related Cases: 1:24-cv-04609-HB                    Jurisdiction: Diversity
                 1:24-cv-04566-HB
                 1:24-cv-04664-HB
                 1:24-cv-04392-HB
                 1:24-cv-04390-HB
                 1:24-cv-04141-HB
                 1:24-cv-04389-HB
                 1:24-cv-04385-HB
                 1:24-cv-04383-HB
                 1:24-cv-04345-HB
                 1:24-cv-04380-HB
                 1:24-cv-04434-HB
                 1:24-cv-04292-HB
                 1:24-cv-04143-HB
                 1:24-cv-04176-HB
                 1:24-cv-04324-HB
                 1:24-cv-04261-HB
                 1:24-cv-04178-HB
                 1:24-cv-04160-HB
                 1:24-cv-04174-HB
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                 1:24-cv-04096-HB
                 1:24-cv-04098-HB
                 1:24-cv-04103-HB
                 1:24-cv-04075-HB
                 1:24-cv-04080-HB
                 1:24-cv-04041-HB
                 1:24-cv-04045-HB
                 1:24-cv-04949-HB
                 1:24-cv-05600-HB
                 1:24-cv-05656-HB
                 1:24-cv-05658-HB
                 1:24-cv-05775-HB
                 1:24-cv-07324-HB
                 1:24-cv-08075-HB
                 1:24-cv-08451-HB
                 1:24-cv-10600-HB
                 1:24-cv-11023-HB

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                    Case: 25-1555               Document: 24               Page: 342              Date Filed: 04/14/2025
4/3/25, 2:52 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

  Case in other court: Third Circuit, 25-01593
                      Superior Court of New Jersey, Middlesex
                      County, MID-L-001221-24
  Cause: 28:1441 Notice of Removal- Civil Rights Act
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by RAJIV D. PARIKH
  CORPORATION                                                                           PEM LAW LLP
  as an assignee of individuals who are                                                 1 BOLAND DRIVE
  Covered Persons                                                                       SUITE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-585-5330
                                                                                        Email: rparikh@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by RAJIV D. PARIKH
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1
  a law enforcement officer

  Plaintiff
  JANE DOE-2
  a law enforcement officer


  V.
  Defendant
  LIGHTHOUSE LIST COMPANY, LLC                                           represented by RONALD L. DAVISON
                                                                                        STARR, GERN, DAVISON & RUBIN, PC
                                                                                        105 EISENHOWER PARKWAY
                                                                                        ROSELAND, NJ 07068
                                                                                        (973) 403-9200
                                                                                        Email: rdavison@starrgern.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1-10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities

  Interested Party
  GENOVA BURNS, LLC
  494 Broad Street
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?122091408352878-L_1_0-1                                                      2/5

                                                                         JA468
                    Case: 25-1555               Document: 24               Page: 343              Date Filed: 04/14/2025
4/3/25, 2:52 PM                                          CM/ECF LIVE - U.S. District Court for the District of New Jersey

  Newark, NJ 07102
  9735357101


   Date Filed            #    Docket Text
   12/23/2024             1 NOTICE OF REMOVAL by LIGHTHOUSE LIST COMPANY, LLC from Superior Court
                            of New Jersey, Middlesex County, case number MID-L-1221-24. ( Filing and Admin fee $
                            405 receipt number ANJDC-15899862), filed by LIGHTHOUSE LIST COMPANY, LLC.
                            (Attachments: # 1 Civil Cover Sheet, # 2 Exhibit A - Amended Complaint, # 3 Exhibit B -
                            Joint Letter & Consent Order, # 4 Exhibit C - Second Amended Complaint, # 5 Exhibit D -
                            Declaration of Mark Traverso in Support of Notice of Removal)(DAVISON, RONALD)
                            (Entered: 12/23/2024)
   12/23/2024             2 Corporate Disclosure Statement by LIGHTHOUSE LIST COMPANY, LLC. (DAVISON,
                            RONALD) (Entered: 12/23/2024)
   12/23/2024                 Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 12/26/2024)
   12/23/2024             3 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/24. (dmw) (Entered: 12/26/2024)
   12/26/2024             4 Application and Proposed Order for Clerk's Order to extend time to answer. (DAVISON,
                            RONALD) (Entered: 12/26/2024)
   12/26/2024                 CLERK'S QUALITY CONTROL MESSAGE - The case you electronically filed has been
                              processed, however, the following deficiencies were found: Cause of Action: Incorrect
                              Cause of Action selected. Party Information: Parties listed in complaint were not included
                              on the docket; Parties should be listed the exact way they appear on the complaint. The
                              Clerk's Office has made the appropriate changes. Please refer to the Attorney Case
                              Opening Guide for processing electronically filed cases. (mag) (Entered: 12/26/2024)
   12/26/2024                 Clerk`s Text Order - The 4 Application for Clerk's Order Extending Time to Answer
                              submitted by LIGHTHOUSE LIST COMPANY, LLC on 12/26/2024 has been GRANTED.
                              The answer due date has been set for 1/13/2025. (mag) Modified date on 12/27/2024
                              (mag). (Entered: 12/26/2024)
   12/30/2024                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (mag) (Entered: 12/30/2024)
   01/02/2025             5 NOTICE OF TELEPHONE CONFERENCE: A TELEPHONE CONFERENCE in the
                            above matter has been scheduled for January 3, 2025 at 11:00 a.m. (EST) with the
                            Honorable Harvey Bartle III of the United States Courthouse, 601 Market Street,
                            Philadelphia, PA 19106. Plaintiffs' counsel is instructed to get all counsel on the telephone
                            and then call in to Chambers at 215-597-2693 to be connected with the Judge promptly at
                            the assigned time.(lm, ) (Entered: 01/02/2025)
   01/03/2025             6 ORDER STAYING CASE: It is hereby ORDERED that:(1) Defendants shall promptly file
                            any motion to dismiss on the ground that Daniel's Law, N.J. Stat. Ann. §§ 47:1A-1, et seq.,
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?122091408352878-L_1_0-1                                                         3/5

                                                                         JA469
                    Case: 25-1555               Document: 24               Page: 344              Date Filed: 04/14/2025
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                              and 56:8-166.1, is unconstitutional on its face; (2) Defendants may rely on the legal
                              arguments previously raised in related cases; and (3) Defendants are not deemed by filing
                              such motion to have waived any other ground for dismissal of the Complaint, including but
                              not limited to a challenge to the constitutionality of Daniel's Law as applied, personal
                              jurisdiction, venue, and arbitrability; and(4) Except as outlined herein, this action is stayed
                              pending further order of the Court. Signed by Judge Harvey Bartle (EDPA), III on
                              1/3/2025. (lm) (Entered: 01/03/2025)
   01/08/2025             7 MOTION to Dismiss Plaintiffs' Complaint by LIGHTHOUSE LIST COMPANY, LLC.
                            Responses due by 1/21/2025. (Attachments: # 1 Text of Proposed Order)(DAVISON,
                            RONALD) (Entered: 01/08/2025)
   01/08/2025             8 ORDER denying 7 Motion to Dismiss action under Rule 12(b)(6) of F.R.C.P. on the
                            ground that Daniel's Law is unconstitutional on its face. Signed by Judge Harvey Bartle
                            (EDPA), III on January 8, 2025. (bf, ) (Entered: 01/08/2025)
   01/13/2025             9 MOTION for Leave to Appear Pro Hac Vice of Jacob Sommer, Esq. by LIGHTHOUSE
                            LIST COMPANY, LLC. (Attachments: # 1 Declaration Declaration of J. Sommer, # 2 Text
                            of Proposed Order Proposed order)(DAVISON, RONALD) (Entered: 01/13/2025)
   01/13/2025           10 MOTION for Leave to Appear Pro Hac Vice of Sudhir Rao, Esq. by LIGHTHOUSE LIST
                           COMPANY, LLC. (Attachments: # 1 Declaration Declaration of Sudhir Rao, # 2 Text of
                           Proposed Order Proposed order)(DAVISON, RONALD) (Entered: 01/13/2025)
   01/13/2025                 Set Deadlines as to 9 MOTION for Leave to Appear Pro Hac Vice of Jacob Sommer, Esq.,
                              10 MOTION for Leave to Appear Pro Hac Vice of Sudhir Rao, Esq.. Motion set for
                              2/18/2025 before Judge Harvey Bartle (EDPA) III. Unless otherwise directed by the Court,
                              this motion will be decided on the papers and no appearances are required. Note that this is
                              an automatically generated message from the Clerk`s Office and does not supersede any
                              previous or subsequent orders from the Court. (dmr) (Entered: 01/13/2025)
   01/14/2025           13 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 1/14/2025. (Court Reporter, John Kurz (856-576-7094)) (lm) (Entered:
                           02/19/2025)
   01/21/2025           11 Diversity Disclosure Statement by LIGHTHOUSE LIST COMPANY, LLC. (DAVISON,
                           RONALD) (Entered: 01/21/2025)
   01/22/2025           12 ORDER: (1) All previous orders of this court staying these actions are vacated;(2)
                           Defendants in these actions shall file on or before March 18, 2025, an answer or any pre-
                           trial motions together with supporting briefs. No supporting brief in a single action or
                           consolidated brief in 9 or fewer actions shall exceed 30 pages. No consolidated brief in 10
                           or more actions shall exceed 60 pages; (3) After the filing of pretrial motions with
                           supporting briefs the court will schedule a status conference to discuss the next steps to be
                           taken; and(4) These actions are stayed pending further order of court, except as set forth in
                           this order. Signed by Judge Harvey Bartle (EDPA), III on 1/22/2025. (lm, ) (Entered:
                           01/22/2025)
   02/19/2025           14 Transcript of Status Conference held on 1/14/2025, before Judge Harvey Bartle, III. Court
                           Reporter/Transcriber John Kurz (856-576-7094). NOTICE REGARDING (1)
                           REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                           MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                           with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                           Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                           or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                           utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                           Court Reporter/Transcription Agency due, but not filed, by 3/12/2025. Redacted Transcript

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?122091408352878-L_1_0-1                                                          4/5

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                              Deadline set for 3/24/2025. Release of Transcript Restriction set for 5/20/2025. (mag)
                              (Entered: 02/19/2025)
   03/13/2025           15 NOTICE by GENOVA BURNS, LLC (BURNS, JAMES) (Entered: 03/13/2025)
   03/18/2025           16 ORDER of USCA granting Petition for Leave of Appeal (ca3pdb, ) (Entered: 03/18/2025)
   03/18/2025           17 MOTION to Dismiss (Pursuant to Doc. 12) by LIGHTHOUSE LIST COMPANY, LLC.
                           (Attachments: # 1 Brief Supplemental Brief in Support of Motion to Dismiss for Lack of
                           Personal Jurisdiction, # 2 Declaration of Mark Traverso)(DAVISON, RONALD) (Entered:
                           03/18/2025)
   03/20/2025                 USCA Filing fee: $ 605, receipt number NEW51675. (js) (Entered: 03/21/2025)
   03/21/2025                 Notice to Court of Appeals, Re: USCA Filing Fee Received. (js) (Entered: 03/21/2025)
   03/24/2025           18 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)
   03/27/2025           19 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   03/28/2025           20 NOTICE OF APPEAL by LIGHTHOUSE LIST COMPANY, LLC. Filing fee $ 605. The
                           Clerk's Office hereby certifies the record and the docket sheet available through ECF to be
                           the certified list in lieu of the record and/or the certified copy of the docket entries. (lm, )
                           (Entered: 03/28/2025)
   04/01/2025           21 USCA Case Number 25-1593 for 20 Notice of Appeal (USCA), filed by LIGHTHOUSE
                           LIST COMPANY, LLC. USCA Case Manager Laurie (Document Restricted - Court Only)
                           (ca3gch) (Entered: 04/01/2025)
   04/02/2025           22 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           23 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)



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4/9/25, 11:48 AM                                         CM/ECF LIVE - U.S. District Court for the District of New Jersey

                                                                                                                               APPEAL

                                                   U.S. District Court
                                       District of New Jersey [LIVE] (Camden)
                                   CIVIL DOCKET FOR CASE #: 1:25-cv-01480-HB


  ATLAS DATA PRIVACY CORPORATION et al v. FIRST                                             Date Filed: 02/25/2025
  DIRECT, INC. et al                                                                        Jury Demand: None
  Assigned to: Judge Harvey Bartle (EDPA), III                                              Nature of Suit: 890 Other Statutory Actions
  Case in other court: SUPERIOR COURT OF NEW JERSEY                                         Jurisdiction: Diversity
                      MERCER COUNTY, MER L 000328 24
  Cause: 28:1332 Diversity-Notice of Removal
  Plaintiff
  ATLAS DATA PRIVACY                                                     represented by JESSICA A MEREJO
  CORPORATION                                                                           PEM LAW LLP
  as assignee of individuals who are Covered                                            1 BOLAND DRIVE
  Persons                                                                               STE 101
                                                                                        WEST ORANGE, NJ 07052
                                                                                        973-577-5500
                                                                                        Email: jmerejo@pemlawfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            PEM LAW LLP
                                                                                            1 BOLAND DRIVE
                                                                                            SUITE 101
                                                                                            WEST ORANGE, NJ 07052
                                                                                            973-585-5330
                                                                                            Email: rparikh@pemlawfirm.com
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-1                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  JANE DOE-2                                                             represented by JESSICA A MEREJO
  a law enforcement officer                                                             (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  EDWIN MALDONATO                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?100776121871157-L_1_0-1                                                                    1/5

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4/9/25, 11:48 AM                                         CM/ECF LIVE - U.S. District Court for the District of New Jersey


                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT MALONEY                                                          represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  JUSTYNA MALONEY                                                        represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  PATRICK COLLIGAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  PETER ANDREYEV                                                         represented by JESSICA A MEREJO
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  WILLIAM SULLIVAN                                                       represented by JESSICA A MEREJO
                                                                                        (See above for address)
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?100776121871157-L_1_0-1                                                      2/5

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                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            RAJIV D. PARIKH
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED


  V.
  Defendant
  FIRST DIRECT, INC.                                                     represented by WILLIAM WENDELL CHENEY , III
                                                                                        FREEMAN MATHIS & GARY, LLP
                                                                                        3 EXECUTIVE CAMPUS
                                                                                        SUITE 350
                                                                                        CHERRY HILL, NJ 08002
                                                                                        484-678-4221
                                                                                        Email: WCheney@fmglaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            ANDREW W. SHEPPARD
                                                                                            Freeman Mathis & Gary, LLP
                                                                                            3 Executive Campus
                                                                                            Suite 350
                                                                                            Cherry Hill, NJ 08002
                                                                                            856-406-1262
                                                                                            Fax: 833-229-3538
                                                                                            Email: andrew.sheppard@fmglaw.com
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  RICHARD ROES 1- 10
  fictitious names of unknown individuals

  Defendant
  ABC COMPANIES 1-10
  fictitious names of unknown entities


   Date Filed            #    Docket Text
   02/25/2025             1 NOTICE OF REMOVAL by FIRST DIRECT, INC. from MERCER COUNTY
                            SUPERIOR COURT, case number MER-L-328-24. ( Filing and Admin fee $ 405 receipt
                            number ANJDC-16045230), filed by FIRST DIRECT, INC.. (Attachments: # 1 Exhibit A,
                            # 2 Exhibit B, # 3 Civil Cover Sheet)(SHEPPARD, ANDREW) (Entered: 02/25/2025)
   02/25/2025                 Judge Georgette Castner and Magistrate Judge Tonianne J. Bongiovanni added. (dmr3)
                              (Entered: 02/26/2025)
   02/26/2025             2 Corporate Disclosure Statement by FIRST DIRECT, INC. identifying First Direct, Inc. as
                            Corporate Parent.. (CHENEY, WILLIAM) (Entered: 02/26/2025)
   02/26/2025                 CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ.
                              P. 7.1(a)(2), unless the Court orders otherwise, in any action filed or removed to this Court,
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?100776121871157-L_1_0-1                                                          3/5

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                              in which jurisdiction is based upon diversity under 28 U.S.C. 1332(a), a party or intervenor
                              must file a disclosure statement naming and identifying the citizenship of every individual
                              or entity whose citizenship is attributed to that party or intervenor. A party, intervenor or
                              proposed intervenor must file the disclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the Court. Click here to complete
                              the Diversity Disclosure Statement, once complete, file it using the event Diversity
                              Disclosure Statement. (dmr3) (Entered: 02/26/2025)
   02/26/2025                 Notice of Judicial Preferences. Click here for the Judge's Individual Procedure
                              Requirements. (dmr3) (Entered: 02/26/2025)
   02/26/2025             3 Diversity Disclosure Statement by FIRST DIRECT, INC.. (CHENEY, WILLIAM)
                            (Entered: 02/26/2025)
   03/05/2025             4 Application and Proposed Order for Clerk's Order to extend time to answer as to
                            Defendant First Direct, Inc.. Attorney WILLIAM WENDELL CHENEY, III for FIRST
                            DIRECT, INC. added. (CHENEY, WILLIAM) (Entered: 03/05/2025)
   03/05/2025             5 ORDER SCHEDULING CONFERENCE: Scheduling Conference set for 4/16/2025 at
                            10:00 AM in Trenton - Courtroom 6E before Magistrate Judge Tonianne J. Bongiovanni.
                            Signed by Magistrate Judge Tonianne J. Bongiovanni on 3/05/2025. (jem) (Entered:
                            03/05/2025)
   03/06/2025                 Clerk`s Text Order - The document 4 Application for Clerk's Order to Ext
                              Answer/Proposed Order submitted by FIRST DIRECT, INC. has been DENIED. (jal, )
                              (Entered: 03/06/2025)
   03/06/2025             6 NOTICE of Appearance by JESSICA A MEREJO on behalf of All Plaintiffs (MEREJO,
                            JESSICA) (Entered: 03/06/2025)
   03/10/2025                 Judge Harvey Bartle (EDPA), III added. Magistrate Judge Tonianne J. Bongiovanni and
                              Judge Georgette Castner no longer assigned to case. (dmw) (Entered: 03/11/2025)
   03/10/2025             7 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                            DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                            for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                            Third Circuit) on 4/2/2024. (dmw) (Entered: 03/11/2025)
   03/11/2025             8 NOTICE of Telephone Conference to be held March 13, 2025 @ 11:30 AM. (EST) (bf, )
                            (Entered: 03/11/2025)
   03/13/2025             9 ORDER: Defendants shall promptly file any motion to dismiss on the ground that Daniel's
                            Law, N.J. Stat. Ann. §§ 47:1A-1, et seq., and 56:8-166.1, is unconstitutional on its face;
                            staying action pending further order of the court. Signed by Judge Harvey Bartle (EDPA),
                            III on 3/13/2025. (lm) (Entered: 03/13/2025)
   03/19/2025           10 MOTION to Dismiss by FIRST DIRECT, INC.. Responses due by 4/7/2025.
                           (Attachments: # 1 Text of Proposed Order)(CHENEY, WILLIAM) (Entered: 03/19/2025)
   03/20/2025           11 ORDER denying 10 Motion to Dismiss; and pursuant to 28 U.S.C. § 1292(b), it is the
                           opinion of the court that this Order involves a controlling question of law as to which there
                           is a substantial ground for difference of opinion and that an immediate appeal from the
                           order may materially advance the ultimate termination of the litigation. Signed by Judge
                           Harvey Bartle (EDPA), III on 3/20/2025. (lm) (Entered: 03/20/2025)
   03/24/2025           12 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                           before Judge Harvey Bartle (EDPA) III.) Signed by Judge Harvey Bartle (EDPA), III on
                           March 24, 2025. (bf, ) (Entered: 03/24/2025)

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   03/27/2025           13 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                           the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                           status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                           Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                           Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
   04/02/2025           14 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                           Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                           (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
   04/02/2025           15 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                           III on 4/2/2025. (lm, ) (Entered: 04/02/2025)
   04/04/2025           16 ORDER of USCA granting Petition for Leave of Appeal(lr) (Entered: 04/04/2025)
   04/07/2025           17 NOTICE OF APPEAL by FIRST DIRECT, INC. Filing fee $ 605, receipt number
                           TRE143392. The Clerk's Office hereby certifies the record and the docket sheet available
                           through ECF to be the certified list in lieu of the record and/or the certified copy of the
                           docket entries. (js) Modified on 4/7/2025 (js). (Entered: 04/07/2025)



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                                                                                                APPEAL

                                     U.S. District Court
                         District of New Jersey [LIVE] (Camden)
                     CIVIL DOCKET FOR CASE #: 1:25-cv-01517-HB


ATLAS DATA PRIVACY CORPORATION, et al v                     Date Filed: 02/27/2025
GREENFLIGHT VENTURE CORP.                                   Jury Demand: Defendant
Assigned to: Judge Harvey Bartle (EDPA), III                Nature of Suit: 440 Civil Rights: Other
Related Cases: 1:24-cv-04609-HB                             Jurisdiction: Diversity
               1:24-cv-04566-HB
               1:24-cv-04664-HB
               1:24-cv-04392-HB
               1:24-cv-04390-HB
               1:24-cv-04141-HB
               1:24-cv-04389-HB
               1:24-cv-04385-HB
               1:24-cv-04383-HB
               1:24-cv-04345-HB
               1:24-cv-04380-HB
               1:24-cv-04434-HB
               1:24-cv-04292-HB
               1:24-cv-04143-HB
               1:24-cv-04176-HB
               1:24-cv-04324-HB
               1:24-cv-04261-HB
               1:24-cv-04178-HB
               1:24-cv-04160-HB
               1:24-cv-04174-HB
               1:24-cv-04037-HB
               1:24-cv-04096-HB
               1:24-cv-04098-HB
               1:24-cv-04103-HB
               1:24-cv-04075-HB
               1:24-cv-04080-HB
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               1:24-cv-05600-HB
               1:24-cv-05656-HB
               1:24-cv-05658-HB
               1:24-cv-05775-HB
               1:24-cv-07324-HB
               1:24-cv-08075-HB
               1:24-cv-08451-HB
               1:24-cv-10600-HB
               1:24-cv-11023-HB
                                               JA477
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                1:25-cv-00237-HB
                1:25-cv-01535-HB
Case in other court: Bergen County Courthouse, BER-L-000811-
                    24
Cause: 28:1442 Notice of Removal
Plaintiff
ATLAS DATA PRIVACY                              represented by JESSICA A MEREJO
CORPORATION                                                    PEM LAW LLP
as assignee of individuals who are Covered                     1 BOLAND DRIVE
Persons                                                        STE 101
                                                               WEST ORANGE, NJ 07052
                                                               973-577-5500
                                                               Email: jmerejo@pemlawfirm.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                RAJIV D. PARIKH
                                                                PEM LAW LLP
                                                                1 BOLAND DRIVE
                                                                SUITE 101
                                                                WEST ORANGE, NJ 07052
                                                                973-585-5330
                                                                Email: rparikh@pemlawfirm.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
Plaintiff
JANE DOE-1                                      represented by JESSICA A MEREJO
a law enforcement officer                                      (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                RAJIV D. PARIKH
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Plaintiff
JANE DOE-2                                      represented by JESSICA A MEREJO
a law enforcement officer                                      (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                RAJIV D. PARIKH
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Plaintiff
PATRICK COLLIGAN                                represented by JESSICA A MEREJO
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                             JA478
                Case: 25-1555          Document: 24     Page: 353     Date Filed: 04/14/2025

                                                                    ATTORNEY TO BE NOTICED

                                                                    RAJIV D. PARIKH
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

Plaintiff
PETER ANDREYEV                                        represented by JESSICA A MEREJO
                                                                     (See above for address)
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                    RAJIV D. PARIKH
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED


V.
Defendant
GREENFLIGHT VENTURE CORP.                             represented by JARED WICHNOVITZ
                                                                     LAW OFFICES OF JARED M.
                                                                     WICHNOVITZ, P.C.
                                                                     50 HARRISON STREET, SUITE 206
                                                                     P.O. BOX 631
                                                                     HOBOKEN, NJ 07030
                                                                     732-765-2157
                                                                     Email: Jared@WichnovitzLaw.com
                                                                     ATTORNEY TO BE NOTICED

Defendant
RICHARD 1-10 ROES
fictitious names of unknown individuals

Defendant
ABC COMPANIES 1-10
fictitious names of unknown entities


Date Filed        #   Docket Text
02/27/2025        1 NOTICE OF REMOVAL by GREENFLIGHT VENTURE CORP. et. al. from Bergen
                    County Courthouse, case number BER-L-000811-24. ( Filing and Admin fee $ 405 receipt
                    number ANJDC-16050179), filed by GREENFLIGHT VENTURE CORP.
                    (WICHNOVITZ, JARED) (Entered: 02/27/2025)
02/27/2025            Judge Harvey Bartle (EDPA), III added. (dmw) (Entered: 02/27/2025)
02/27/2025        2 ORDER DESIGNATING A DISTRICT JUDGE FOR SERVICE IN ANOTHER
                    DISTRICT WITHIN THE CIRCUIT. Case assigned to Judge Harvey Bartle, III, (EDPA)
                    for all further proceedings. Signed by Chief Judge Michael A. Chagares (USCA for the
                    Third Circuit) on 4/2/2024.(dmw) (Entered: 02/27/2025)
                                                      JA479
             Case: 25-1555      Document: 24       Page: 354       Date Filed: 04/14/2025

02/28/2025    3 NOTICE of Telephone Conference scheduled for 3/4/2025 @ 11:30 a.m. (bf, ) (Entered:
                02/28/2025)
03/04/2025    4 ORDER directing defendants to promptly file any motion to dismiss on the ground that
                Daniel's Law is unconstitutional on its face. Signed by Judge Harvey Bartle (EDPA), III on
                March 4, 2025. (bf, ) (Entered: 03/04/2025)
03/17/2025    5 First MOTION to Dismiss by GREENFLIGHT VENTURE CORP.. (WICHNOVITZ,
                JARED) (Entered: 03/17/2025)
03/17/2025       Set Deadlines as to 5 First MOTION to Dismiss. Motion set for 4/21/2025 before Judge
                 Harvey Bartle (EDPA) III. Unless otherwise directed by the Court, this motion will be
                 decided on the papers and no appearances are required. Note that this is an automatically
                 generated message from the Clerk`s Office and does not supersede any previous or
                 subsequent orders from the Court. (mag) (Entered: 03/18/2025)
03/20/2025    6 ORDER denying 5 Motion to Dismiss; and, pursuant to 28 U.S.C. § 1292(b), it is the
                opinion of the court that paragraph (1) of this Order involves a controlling question of law
                as to which there is a substantial ground for difference of opinion and that an immediate
                appeal from the Order may materially advance the ultimate termination of the litigation.
                Signed by Judge Harvey Bartle (EDPA), III on 3/20/2025. (lm) (Entered: 03/20/2025)
03/24/2025    7 ORDER setting Status Conference for 4/2/2025 at 10:00 AM in Camden - Courtroom 1
                before Judge Harvey Bartle (EDPA) III.). Signed by Judge Harvey Bartle (EDPA), III on
                March 24, 2025. (bf, ) (Entered: 03/24/2025)
03/24/2025    8 First MOTION to Dismiss for Lack of Jurisdiction pursuant to Fed. R. 12(b)(2) by
                GREENFLIGHT VENTURE CORP.. Responses due by 4/7/2025. (Attachments: # 1
                Memorandum Supplemental Memorandum of Law, # 2 Affidavit Affidavit in Support, # 3
                Text of Proposed Order Proposed Order)(WICHNOVITZ, JARED) (Entered: 03/24/2025)
03/25/2025    9 NOTICE of Appearance by JESSICA A MEREJO on behalf of All Plaintiffs (MEREJO,
                JESSICA) (Entered: 03/25/2025)
03/25/2025   10 ORDER granting 8 Motion to to Join the Consolidated Motion to Dismiss. Signed by
                Judge Harvey Bartle (EDPA), III on 3/25/2025. (lm) (Entered: 03/25/2025)
03/27/2025   11 ORDER: the Order of this court dated March 24, 2025 scheduling a status conference in
                the above actions for "Tuesday, April 2, 2025" is VACATED; and(2) the Court will hold a
                status conference in the above actions on Wednesday, April 2, 2025 at 10:00 AM in
                Courtroom No. 1, in the United States Courthouse in Camden, New Jersey. Signed by
                Judge Harvey Bartle (EDPA), III on 3/27/2025. (lm, ) (Entered: 03/27/2025)
04/02/2025   12 Minute Entry for proceedings held before Judge Harvey Bartle (EDPA), III: Status
                Conference held on 4/2/2025. (Court Reporter, Sharon Ricci (267-249-8780))
                (Attachments: # 1 ATTORNEY SIGN-IN SHEET) (lm, ) (Entered: 04/02/2025)
04/02/2025   13 ORDER setting deadlines for remaining motions. Signed by Judge Harvey Bartle (EDPA),
                III on 4/2/2025. (lm, ) (Entered: 04/02/2025)
04/04/2025   14 ORDER of USCA granting Petition for Leave of Appeal (lr) (Entered: 04/04/2025)
04/08/2025       USCA Filing fee: $ 605.00, receipt number TRN143468 (dmw) (Entered: 04/08/2025)
04/08/2025       NOTICE OF APPEAL Per Order 14 by GREENFLIGHT VENTURE CORP.. The Clerk's
                 Office hereby certifies the record and the docket sheet available through ECF to be the
                 certified list in lieu of the record and/or the certified copy of the docket entries. (dmw)
                 (Entered: 04/08/2025)
                                                JA480
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                      Docket      Search      1:25-cv-01517-HB Start date:
       Description:
                      Report      Criteria:   1/1/1980 End date: 4/9/2025
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